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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


In re:
                                                       Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,1                     Chapter 11 (Jointly Administered)

                  Debtors.


       FIFTH INTERIM APPLICATION FOR ALLOWANCE AND PAYMENT OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES OF LANDAU
    GOTTFRIED & BERGER LLP AS COUNSEL TO THE OFFICIAL COMMITTEE OF
       EQUITY SECURITY HOLDERS OF RMS TITANIC, INC. FOR SERVICES
         RENDERED FROM JANUARY 1, 2018 THROUGH OCTOBER 31, 2018

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
         paper without further notice or hearing unless a party in interest files a response
         within twenty-one (21) days from the date set forth on the attached proof of service,
         plus an additional three days for service if any party was served by U.S. Mail.

         If you object to the relief requested in this paper, you must file a response with the
         Clerk of the Court at 300 North Hogan Street, Suite 3-150, Jacksonville, Florida
         32202 and serve a copy on the movant’s attorney, Peter J. Gurfein, Esq., Landau
         Gottfried & Berger LLP, 1801 Century Park East, Suite 700, Los Angeles, CA
         90067, and any other appropriate persons within the time allowed. If you file and
         serve a response within the time permitted, the Court will either schedule and notify
         you of a hearing, or consider the response and grant or deny the relief requested
         without a hearing.

         If you do not file a response within the time permitted, the Court will consider that
         you do not oppose the relief requested in the paper, will proceed to consider the
         paper without further notice or hearing, and may grant the relief requested.




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867), and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston
Court, Suite I, Peachtree Corners, Georgia 30071.
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           Name of Applicant:                                     Landau Gottfried & Berger LLP

           Services Provided to:                                  Official Committee of Equity Security Holders of
                                                                  Premier Exhibitions, Inc.

           Date of Retention:                                     August 31, 2016

           Period for this Application:                           January 1, 2018 to October 31, 2018

           Amount of Compensation Sought:                         $547,492.10

           Amount of Expense Reimbursement:                       $16,615.92

           Amount of Original Retainer:                           $0                          Current Balance: N/A

           Blended Hourly Rate this Application:                  $543.79                     Cumulative: $534.03

           This is a(n):       X        interim                     final application.

           Disclose the following for each prior application:

                                           Requested                              Approved                      Paid              Holdback
 Filed        Period         Fees        Hrs.      Rate        Exps.          Fees        Exps.          Fees        Exps.
12/16/16     8/31/16-     $189,901.00   376.00   $531.78     $4,302.37     $189,901.00 $4,302.37      $180,286.00 $5,269.44      $36,057.20
  Doc.       11/30/16
  383
6/02/17      12/1/16-     $334,802.00   661.40     $508.76   $12,652.33    $334,802.00   $12,652.33   $266,536.00   $12,652.33   $66,634.00
  Doc.       4/30/17
  610
9/26/17     05/01/17-     $205,259.00   372.10     $551.60   $6,507.89     $205,259.00   $6,507.89    $164,207.20   $6,507.89    $41,051.80
  Doc.      08/31/17
  760
2/16/18     09/01/17-     $177,616.00   326.00     $534.24   $5,933.52         $0           $0        $142,092.80   $5,933.52    $35,523.20
  Doc.      12/31/17
  949
                          $907,578.00   1,735.50   $531.60   $29,396.11    $729,962.00   $23,462.59   $753,122.00   $30,363.18   $179,266.20
 Total




                                                                       2
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               Fifth Interim Fee Application of Landau Gottfried & Berger LLP
    as Counsel to the Official Committee of Equity Security Holders of Premier Exhibitions,
                                              Inc.
                              (January 1, 2018 to October 31, 2018)

                                 Position;                                                     Total
       Name                    Experience;             Hourly Rate        Total Hours       Compensation
                              Concentration
                            Partner; admitted in
                            1976; Bankruptcy,
Peter J. Gurfein                                         $565.00                831.80       469,967.00
                             Restructuring and
                                 Litigation
                            Partner; admitted in
Jon L.R. Dalberg           1987; Bankruptcy and          $510.00                141.50        72,165.10
                                Committees

     Erik Meza                Legal Assistant            $160.00                33.50         5,360.00

                                                         2
      TOTAL                                                  543.79         1,006.80         547,492.10




2
    The blended rate excluding paraprofessionals is $557.00.


                                                     3
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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


In re:
                                                    Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,3                  Chapter 11 (Jointly Administered)

                Debtors.


       FIFTH INTERIM APPLICATION FOR ALLOWANCE AND PAYMENT OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES OF LANDAU
    GOTTFRIED & BERGER LLP AS COUNSEL TO THE OFFICIAL COMMITTEE OF
       EQUITY SECURITY HOLDERS OF RMS TITANIC, INC. FOR SERVICES
         RENDERED FROM JANUARY 1, 2018 THROUGH OCTOBER 31, 2018


         Landau Gottfried & Berger LLP (the “Applicant”), as counsel to the Official Committee

of Equity Security Holders (the “Equity Committee”) of Premier Exhibitions, Inc., pursuant to

Section 330 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy

Code”) and Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), hereby files its Fifth Interim Application for Allowance and Payment of Compensation

and Reimbursement of Expenses of Landau Gottfried & Berger LLP as Counsel to the Official

Committee of Equity Security Holders of RMS Titanic, Inc. For Services Rendered From

January 1, 2018 through October 31, 2018 (the “Fifth Interim Compensation Period”). In

support thereof, the Applicant states:

                                    I.      INTRODUCTION
         1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A). Venue is proper before

3
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867), and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston
Court, Suite I, Peachtree Corners, Georgia 30071.


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this Court pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief requested herein

are sections 328, 330, 331 and 503(b) of the Bankruptcy Code.

       2.      On June 14, 2016 (the “Petition Date”), the Debtors each filed a voluntary petition

in this Court for relief under chapter 11 of the Bankruptcy Code, commencing the above-

captioned case (the “Bankruptcy Case”).

       3.      On August 24, 2016, the Acting United States Trustee, Guy G. Gebhardt,

appointed the members of the Equity Committee.

       4.      On August 31, 2016, the Equity Committee selected Applicant as its general

bankruptcy counsel.

       5.      On October 14, 2016, the Court entered an order authorizing the Equity

Committee’s employment of Applicant as the Equity Committee’s general bankruptcy counsel

nunc pro tunc to August 31, 2016. [Docket No. 277]

       6.      This Application is Applicant’s fifth interim application for approval and

allowance of compensation and reimbursement of expenses. Applicant makes this interim

application pursuant to Sections 330 and 331 of the Bankruptcy Code. No prior application has

been made to this or any other court for the relief requested herein.

       7.      On or about July 15, 2016, the Debtors filed their Motion to Establish Procedures

to Permit Monthly Payment of Interim Fee Applications of Chapter 11 Professionals [Docket

No. 89] which was approved by the Court’s Order entered on August 17, 2016 [Docket No. 141]

(the “Compensation Order”). Under the Compensation Order, professionals retained with

authority of the Court may request monthly compensation of 80% of their fees and 100% of their

expenses. As of the date of this Application, Applicant has submitted twenty-six fee statements

and four interim fee requests.



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       8.      The First Interim Application for Compensation (the “First Fee App”) sought

compensation for services in the amount of $189,901.00 and reimbursement of expenses in the

amount of $4,302.37 for a total award of $194,203.37. The Second Interim Application for

Compensation (the “Second Fee App”) sought compensation for services in the amount of

$334,802.00 and reimbursement of expenses in the amount of $12,652.33 for a total award of

$347,454.33. The Third Interim Application for Compensation (the “Third Fee App”) sought

compensation for services in the amount of $205,259.00 and reimbursement of expenses in the

amount of $6,507.89 for a total award of $211,766.89. The Fourth Intrerim Application for

Compensation (the “Fourth Fee App”) sought compensation for services in the amount of

$177,616.00 and reimbursement of expenses in the amount of $5,933.52 for a total award of

$183,549.52. Fee statements one through twenty-six have sought a total amount of

$1,443,823.10 for compensation of services and a total amount of $46,979.10 for reimbursement

of expenses, for a combined total of $1,490,802.20. To date, the Debtors have made payments

totaling $1,009,451.28. There remains a balance of $481,350.92, comprised of $470,079.10 in

unpaid fees and $11,271.82 in unpaid costs.

                                     II.      CASE STATUS

       9.      On December 14, 2017, the Debtors filed the Joint Plan Under Chapter 11 of the

Bankruptcy Code (the "Plan") (Doc. 859).          Pursuant to the Plan, the Debtors anticipate

liquidating all of their assets. The Debtors did not file a disclosure statement with the Plan. On

January 25, 2018, the Court entered its Order Granting Debtors' Motion to Extend the Time For

Filing Disclosure Statement to Accompany Debtors' Joint Plan (the "Extension Order") (Doc.

939). Under the Extension Order, the Debtors have until February 14, 2018, to file a disclosure

statement to accompany their Joint Plan or the Joint Plan shall be withdrawn prior to that date.


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         10.   On February 13, 2018, the Debtors filed a Notice of Withdrawal of Debtors' Joint

Plan Under Chapter 11 of the Bankruptcy Code (Doc. 944).

         11.   On June 1, 2018, the Equity Committee filed a Disclosure Statement (Doc. 1044)

(the "Equity Committee's Disclosure Statement") and Chapter 11 Plan of Reorganization (Doc.

1045).

         12.   On June 15, 2018, the Debtors filed a Debtors’ Motion for an Order (A)

Approving Asset Purchase Agreement; (B) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances and Interests; (C) Authorizing the Assumption and

Assignment of Certain Executory Contracts and Leases in Connection Therewith; (D) Approving

Settlement with The PacBridge Parties; and (E) Granting Related Relief (Doc. 1055) (the "Sale

Motion").

         13.   On June 29, 2018, the Official Committee of Unsecured Creditors (the "Creditors'

Committee") filed a Disclosure Statement (Doc. 1084) and Joint Chapter 11 Plan of

Reorganization (Doc. 1085).

         14.   On July 11, 2018, Euclid Investments LP / Euclid Claims Recovery LLC filed an

Objection (Doc. 1109) to the Sale Motion.

         15.   On July 18, 2018, the Debtors filed an Objection (Doc. 1119) and the U.S.

Department of Commerce filed an Objection (Doc. 1120) to the Equity Committee's Disclosure

Statement.

         16.   On July 18, 2018, the Debtors filed an Objection (Doc. 1121) to the Creditors'

Committee Disclosure Statement.

         17.   On July 18, 2018, Lange Feng, PacBridge Capital Partners (HK) Ltd., Jihe Zhang,

Haiping Zou, Stockholder High Nature Holdings Limited (collectively, the "Investors") filed a



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Joinder (Doc. 1123) to the Debtors' Objection to the Equity Committee's Disclosure Statement

and a Joinder (Doc. 1124) to the Debtor's Objection to the Creditors' Committee's Disclosure

Statement.

         18.   On July 18, 2018, the Ad Hoc Equity Group filed a Joinder (Doc. 1126) to the

Debtors' Objection to the Creditors' Committee's Disclosure Statement and a Joinder (Doc. 1127)

to the Debtors' Objection to the Equity Committee's Disclosure Statement.

         19.   On August 24, 2018, the Creditors' Committee filed a Limited Objection (Doc.

1168) to the Sale Motion.

         20.   On August 27, 2018, the Equity Committee filed a Response in Opposition (Doc.

1170) to the Sale Motion.

         21.   On September 11, 2018, the Court entered the Order on Hearing to Consider

Debtor's Sale Motion and Disclosure Statements filed by The Equity Committee and The

Unsecured Creditors' Committee (Doc. 1199).

         22.   On September 13, 2018, the Court entered the Order (a) Approving Competitive

Bidding and Sale Procedures; (b) Approving Form and Manner of Notices; (c) Approving Form

of Asset Purchase Agreement; (d) Approving Break-Up Fee and Expense Reimbursement; (e)

Scheduling Auction and Hearing to Consider Final Approval of Sale, Including Rejection or

Assumption and Assignment of Related Executory Contracts and Unexpired Leases and

Settlement with the PacBridge Parties; (f) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests; and (g) Granting Related Relief (Doc.

1201).

         23.   On September 19, 2018, the Debtors filed a Notice of Sale and Auction Hearing

(Doc. 1204).



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       24.     On October 3, 2018, the Equity Committee filed a Motion to Establish Document

Retention Protocols (Doc. 1221).

       25.     On October 5, 2018, the Equity Committee filed a Reservation of Rights and

Limited Objection to Debtors' Motion for an Order (A) Approving Asset Purchase Agreement;

(B) Authorizing Sale of the Transferred Assets Free and Clear of All Liens, Claims,

Encumbrances and Interests; (C) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Leases in Connection Therewith; (D) Approving Settlement with The

PacBridge Parties; and (E) Granting Related Relief (Doc. 1225).

       26.     On October 8, 2018, the Debtors filed a Notice of Cancellation of Auction and

Intent to Seek Approval of the Sale of the Transferred Assets to the Stalking Horse Purchaser

(Doc. 1226).

       27.     On October 17, 2018, the Debtors filed an Objection to Motion of the Official

Committee of Equity Security Holders to Establish Document Retention Protocols (Doc. 1230).

       28.     On October 19, 2018, the Court entered the Order (A) Approving Asset Purchase

Agreement; (B) Authorizing Sale of the Transferred Assets Free and Clear af all Liens, Claims,

Encumbrances and Interests; (C) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Leases in Connection Therewith; (D) Approving Settlement With the

Pacbridge Parties; and (E) Granting Related Relief (Doc. 1232)4.




4
  On or about August 1, 2018, the Debtors filed in the Admiralty Court their Motion To Approve Asset
Purchase Agreement And Authorize The Sale Of 100% Of RMST's Stock To Premier Acquisition Holdings
LLCV Or Other Qualified Purchaser As Approved By The Bankruptcy Court (the “Sale Approval
Motion”) (Admiralty Court Docket 448). Thereafter, the Admiralty Court held two hearings to consider
the Sale Approval Motion. To date, the Admiralty Court has not ruled on the Sale Approval Motion. A
continued hearing on that motion is scheduled for December 17, 2018.


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         29.     On October 30, 2018, the Court entered the Agreed Order Granting Motion of the

Official Committee of Equity Security Holders to Establish Document Retention Protocols (Doc.

1247).

                                    III.     APPLICATION
         30.     The Applicant submits this Application, pursuant to Sections 328, 330, 331 and

503(b) of the Bankruptcy Code, Bankruptcy Rule 2016 and the Guidelines of the United States

Trustee (the “Guidelines”). The Applicant requests an interim award of legal fees incurred by

the Applicant for services rendered as counsel to the Equity Committee during the period

January 1, 2018 through and including October 31, 2018 (the “Fifth Interim Compensation

Period”), in the amount of $547,492.105 and reimbursement for the actual and necessary

expenses incurred by the Applicant during the Fifth Interim Compensation Period in the amount

of $16,615.92.

         31.     The fees sought by Application reflect an aggregate of 1,006.80 hours of attorney

and paraprofessional time spent and recorded in performing services for the Equity Committee

during the Fifth Interim Compensation Period, at a blended average hourly rate of $543.79 for

both professionals and paraprofessionals.

         32.     This request is the Applicant’s Fifth Interim Application to the Court for

compensation and reimbursement of expenses for services rendered as counsel to the Equity

Committee. No understanding exists between the Applicant and any other person for the sharing

of compensation sought by the Applicant, except among the partners and associates of the

Applicant.

         33.     Applicant maintains computerized records of the time expended in the rendering

5
  This sum is net of approxmiatley $70,000 in billable time that Applicant has voluntarily written off in
the exercise of billing discretion.


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of the professional services required by the Equity Committee. These records are maintained in

the ordinary course of Applicant’s business. For the convenience of the Court and parties in

interest, a billing summary for the Fifth Interim Compensation Period is attached as part of the

cover sheet, setting forth the name of each attorney and paraprofessional for whose work on this

case compensation is sought, each attorney’s year of bar admission, the aggregate amount of

time expended by each such attorney or paraprofessional, the hourly billing rate for each such

attorney or paraprofessional at Applicant’s current billing rates and an indication of the

individual amounts requested as part of the total amount of compensation requested. In addition,

set forth in the billing summary is additional information indicating whether each attorney is a

partner or associate, the number of years each attorney has held such position, and each

attorney’s area of concentration. The compensation requested by Applicant is based on the

customary compensation charged by comparably skilled practitioners in cases other than cases

under the Bankruptcy Code.

       34.     Attached hereto as Exhibit A are invoices from January 1, 2018 through October

31, 2018, broken down in tenths of an hour by project category, based on the Guidelines, setting

forth a detailed description of services performed by each attorney and paraprofessional as well

as a detailed list of expenses incurred in connection with the performance of professional

services on behalf of the Equity Committee for the Fifth Interim Compensation Period.

             IV.   SUMMARY OF PROFESSIONAL SERVICES RENDERED
       35.     To provide an orderly summary of the services rendered on behalf of the Equity

Committee by Applicant, and in accordance with the Guidelines, Applicant has established the

following separate project billing categories in connection with this case:




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       (a) 0055 – Asset Disposition

       (b) 0057 – Asset Analysis and Recovery

       (c) 0060 – Chapter 11 Plan

       (d) 0061 – Claims Administration & Objection

       (e) 0062 – Committee Communications

       (f) 0065 – Employment & Fee Application

       (g) 0069 – Leases & Executroy Contracts

       (h) 0070 – Litigation/Adversary Proceeding
       (i) 0081 – Case Administration

       (j) B151 – Communication with Equity Holders

       (k) 0455 – Travel


       36.     The following summary is intended to highlight a number of the services rendered

by Applicant in the separate project billing categories where Applicant has expended a

considerable number of hours on behalf of the Equity Committee, and it is not meant to be a

detailed description of all of the work performed. Detailed descriptions of the day-to-day

services provided by Applicant during the Fifth Interim Compensation Period and the time

expended performing such services in each project billing category are fully set forth in Exhibit

A hereto.

       (a) Asset Disposition
       37.    Applicant worked with the Equity Committee’s financial advisors to monitor the

sale process. Applicant continued to represent the interests of equity holders in the sale process

undertaken by the Debtors. Applicant reviewed letters of intent and other proposals submitted to

the Debtors. Applicant conferred with the Equity Committee’s financial advisors, with the

Debtors and the Debtors’ financial advisors, and with the Creditors Committee in the analysis of


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each proposal for the purchase of assets of the estate.

       38.     Applicant conferred with certain potential purchasers and relayed to the Debtor’s

concerns expressed by potential purchasers and by the Equity Committee with respect to the

manner in which the sale process was being conducted and especially in connection with access

to due diligence material. On several occasions, applicant interceded on behalf of potential

purchaser parties in that regard.

       39.     Applicant reviewed and commented on bid procedures proposed by the Debtors.

Upon receipt of purchase offers, applicant provided the debtors with Equity Committee

comments and suggestions for revision and improvement of the process. Upon selection of a

stalking horse bidder, Applicant conducted discovery on the issue of good faith and the bona

fides of the sale process. After conferring with the Equity Committee and its financial advisors,

Applicant filed opposition to the bid procedures and the sale motion and argued against the sale

to the stalking horse bidder, and in favor of the Equity Committee’s own Chapter 11 Plan. The

Court denied approval of the Equity Committee’s Disclosure Statement in support of the Equity

Committee’s Chapter 11 Plan and approved the Debtors’ Bid Procedures and the sale to the

stalking horse bidder.

       40.     Applicant reviewed an informal objection to the sale process submitted by a

potential bidder and negotiated with Debtors' counsel and Creditors Committee counsel revisions

to the sale process to accommodate the concerns raised by the potential bidder. Applicant also

reviewed the formal objection to the sale motion filed by an Ad Hoc Equity Group regarding

access issues and conferred with Debtors’ counsel respecting the Debtors’ response to those

objections. Applicant also reviewed and researched issues raised by a motion to withdraw the

reference of the sale motion. Applicant drafted responses to the sale motion objection and the



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withdrawal of reference. After the conclusion of the sale hearing in the Bankruptcy Court,

Applicant followed the process in the Admiralty Court where the Debtors sought approval of the

sale of RMST’s stock to the Purchasing Group and also continued to seek alternative

opportunities for the Debtors’ estate.

       (b) Asset Analysis and Recovery
       41.    During the Fifth Interim Compensation Period, Applicant concluded its analysis

of potential claims assertable by the estate against certain current and former officers and

directors of the Debtors (the “D&O Claims”). Applicant assisted the Committee in its analysis of

potential D&O claims and in the Committee’s selection of contingency fee counsel to prosecute

those claims. Applicant then reviewed and edited the draft complaint and the motion to grant the

Equity Committee derivative standing to prosecute the D&O claims. Throughout this process

applicant conferred with Creditors Committee counsel and with Debtor’s counsel in respect of

the D&O claims litigation.

       42.     Applicant drafted and issued a demand letter to the Debtors for prosecution of the

D&O claims. Upon the Debtors declining to prosecute the claims, applicant filed the motion with

the Bankruptcy Court for derivative standing to authorize the Equity Committee to prosecute the

claims. After approval by the Bankruptcy Court of derivative standing for the Equity Committee

to prosecute the D&O claims, Applicant conferred regularly with contingency fee counsel. In

connection with the approval of the sale of substantially all of the estate’s assets, Applicant

reviewed and revised a motion to establish a protocol by which documentary evidence would be

preserved after the sale.

       (c) Chapter 11 Plan
       43.   Early in the Fifth Interim Compensation Period, Applicant continued to work with

the Debtors toward a consensual Chapter 11 plan. At Equity Committee’s suggestion, the

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Debtors and the Creditors Committee agreed to participate in a mediation to seek a consensual

resolution for the Chapter 11 case. Applicant prepared for the mediation including drafting a

mediation statement, researching numerous issues to be addressed at the mediation, and

conferring closely with two Equity Committee members who attended the mediation in person.

In preparation for the Mediation, Applicant researched numerous issues relating to the Chapter

11 case, including tax concerns, issues relating to the Admiralty Court and to the Covenants &

Conditions relating to the Titanic artifacts, jurisdictional issues pertaining to the Admiralty

Court, and securities law issues.

       44.     In connection with the mediation, Applicant also conferred with potential plan

sponsors and prepared term sheets for presentation and discussion at the mediation. Applicant

also conferred with the Equity Committee’s financial advisors in the preparation of a liquidation

analysis under various scenarios for use at the mediation and in connection with preparation of a

consensual Chapter 11 plan.

       45.     After the mediation failed to reach a consensual resolution of the bankruptcy case,

Applicant prepared an Equity Committee Chapter 11 Plan and a Disclosure Statement. In

connection with the Equity Committee Plan, applicant negotiated with numerous parties and

negotiated resolution of numerous objections to the Equity Committee’s Disclosure Statement.

       46.     Applicant reported regularly to the Equity Committee and responded to inquiries

from Committee members respecting issues pertaining to drafting the plan, soliciting acceptances

to the plan, confirmation of the plan, and post-confirmation issues as well as securities law and

tax issues relating thereto. Applicant also drafted provisions for a liquidating trust to administer

post-confirmation matters.

       47.     Applicant also reviewed and assessed the Chapter 11 Plan and Disclosure



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Statement filed by the Creditors Committee with the National Maritime Museum and Running

Subways as Plan Sponsors. Applicant supported a motion filed in conjunction with the Creditors

Committee to put the Equity Committee Plan and the Creditors Committee Plan on the same

track as the Debtors Sale Motion and to establish coordination between the Bankruptcy Court

and the Admiralty Court approval processes (the “Protocol Motion”). Applicant attended the

hearings on the Protocol Motion and the Disclosure Statement and Bid Procedures hearing and

argued in favor of the Equity Committee Plan and against the sale process.

       (d) Claims Administration and Objections
       48.    Applicant reviewed and analyzed claims filed against the bankruptcy estate and

conferred with the Debtors with respect to claim objections. Applicant filed and prosecuted an

objection to the claim filed by PacBridge Capital Partners, which claim ultimately was allowed

as part of a settlement under the Sale Motion and Sale Order.

       (e) Committee Communications
       49.    Applicant continued to report regularly to the Equity Committee and its members

and to respond to inquiries from the Committee and its members respecting various aspects of

the bankruptcy case. Applicant issued regular case status update memos to the Committee

members. In addition, Applicant organized and attended regular committee meetings, organized

the agenda for each Committee meeting, distributed materials to be covered at each meeting,

conducted the meetings, and prepared minutes of each meeting.

       (f) Employment and Fee Application
       50.   Applicant prepared its Fifth Interim Fee Application for the months of January

through October 2018, and also submitted monthly fee requests under the Court’s Interim

Compensation Order for the the same time period. Counsel also reviewed and commented on the

fee applications and monthly interim compensation requests from the Committee’s other

                                               16
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professionals.

       (h) Litigation/Adversary Proceeding
       51.     After conclusion of the research and discovery relating to the potential D&O

claims, and the filing of the D&O Adversary Proceeding by AgentisLaw, Applicant continued to

work with contingency fee counsel in the prosecution of those claims. Among other things,

Applicant negotiated the contingency fee contract under which AgentisLaw undertook

prosecution of these claims. Applicant also reviewed and commented on the sale order entered in

conjunction with the sale to PAHL in order to assure that after the sale closed documentary

evidence necessary for the prosecution of the D&O claims would be preserved.

       (i) Case Administration
       52.    Applicant monitored all aspects of the bankruptcy cases on behalf of the Equity

Committee and represented equity holder’s interest in connection with the bankruptcy case. In

that capacity, Applicant maintained regular communication with the Debtors and their

professionals and with the counsel to the Creditors Committee. Applicant also maintained the

Committees’ website as required under Code §1102(b)(3) and this Court’s Order Granting The

Motion Of The Official Committee Of Equity Security Holders For An Order Clarifying Of The

Obligations Of The Committee Under 11 U.S.C. § 1102(B)(3) (Docket 272).

       53.       Applicant also continued to monitor the Debtors’ pending case in the Admiralty

Court. In that connection, and consistent with the Equity Committee’s prosecution of its Chapter

11 plan, applicant moved on behalf of the Equity Committee to intervene in the District Court

case in order to submit its proposed Chapter 11 Plan to the jurisdiction of the Admiralty Court.

Ultimately, the bankruptcy court denied approval of the Equity Committee’s Disclosure

Statement and Applicant withdrew the Equity Committee’s motion to intervene in the District

Court. Thereafter, Applicant continued to monitor the progress of the Debtors Sale Approval

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Motion in the District Court and conferred with interested parties in that litigation.

          54.      Applicant conferred with the Equity Committee’s financial advisors with respect

to the analysis and assessment of the Debtor’s operations and the Debtor’s sale process and

reported to the Committee on matters of concern. Applicant also reviewed and assed the Monthly

Operating Reports and the monthly interim fee requests and fee applications filed by

professionals compensated by the estate.

          (j) Communication with Equity Holders
          55.   Applicant received inquiries from time to time from equity security holders who

were among the Equity Committee’s constituency and responded to questions from equity

holders concerning the status of the chapter 11 case and the Equity Committee’s role in the case.

          56.      The professional fees rendered incurred by Applicant during the Fifth Interim

Compensation period by project billing categories are as follows:


Project Billing Category                                              Hours              Fees

0055 – Asset Disposition                                              197.70             $111,618.00

0057 – Asset Analysis and Recovery                                    27.30              $15,424.50

0060 – Chapter 11 Plan                                                484.60             $266,099.10

0061 – Claims Administration & Objection                              10.70              $6,045.50

0062 – Committee Communications                                       187.50             $105,937.50

0065 – Employment & Fee Application                                   15.20              $8,588.00

0069 – Leases & Executroy Contracts                                   1.30               $734.50

0070 – Litigation/Adversary Proceeding                                20.30              $11,469.50

0081 – Case Administration                                            61.80              $21,349.50

B151 – Communication with Equity Holders                              0.40               $226.00

0455 – Travel                                                         122.80             $69,382.006
6
    Travel time not billed to the estate.

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                       V.      ALLOWANCE OF COMPENSATION
        57.    The professional services rendered by Applicant have required a high degree of

professional competence and expertise to address, with skill and dispatch, the numerous issues

requiring evaluation and action by the Equity Committee. Applicant respectfully submits that

the services rendered to the Equity Committee were performed efficiently, effectively and

economically, and that the results obtained to-date have benefited the Equity Committee and the

Debtors’ estates generally.

        58.    The allowance of interim compensation for services rendered and reimbursement

of expenses in bankruptcy cases is expressly provided for in Section 331 of the Bankruptcy

Code:

        Any professional person . . . may apply to the court not more than once every 120 days
        after an order for relief in a case under this title, or more often if the court permits, for
        such compensation for services rendered . . . as is provided under Section 330 of this
        Title.

11 U.S.C. § 331.
       59.    With respect to the level of compensation, Section 330(a)(1)(A) of the

Bankruptcy Code provides, in pertinent part, that the Court may award to a professional person,

"reasonable compensation for actual, necessary services rendered." Section 330(a)(3)(A), in

turn, provides that:

        In determining the amount of reasonable compensation to be awarded, the court
        shall consider the nature, the extent, and the value of such services, taking into
        account all relevant factors, including –

               (A)     the time spent on such services;

               (B)     the rates charged for such services;

               (C)     whether the services were necessary to the administration of, or
                       beneficial at the time at which the service was rendered toward the
                       completion of, a case under this title;


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               (D)     whether the services were performed within a reasonable amount
                       of time commensurate with the complexity, importance, and nature
                       of the problem, issue, or task addressed; and

               (E)     whether the compensation is reasonable based on the customary
                       compensation charged by comparably skilled practitioners in cases
                       other than cases under this title.

11 U.S.C. § 330(a)(3)(A).
       60.    The congressional policy expressed above provides for adequate compensation in

order to continue to attract qualified and competent professionals to bankruptcy cases. Stroock &

Stroock & Lavan v. Hillsborough Holdings Corp. (In re Hillsborough Holdings Corp.), 127 F.3d

1398, 1403-04 (11th Cir. 1997) (“Congress determined, it appears, that on average the gain to the

estate of employing able, experienced, expert counsel would outweigh the expense to the estate

of doing so, and that unless the estate paid competitive (market) sums it could not retain such

counsel on a regular basis.”) (citations and quotations omitted).

       61.     The total time spent on behalf of the Equity Committee by Applicant’s attorneys

and paraprofessionals during the Fifth Interim Compensation Period was 1,006.80 hours, which

has a fair market value of $547,492.10. As shown by this Application and Exhibit A,

Applicant’s services were rendered economically and without unnecessary duplication of efforts.

In addition, the work involved, and thus the time expended, was carefully assigned in

consideration of the experience and expertise required for each particular task.


                        VI.     REIMBURSEMENT OF EXPENSES
       62.     Applicant has incurred a total of $16,615.92 in expenses in connection with

representing the Equity Committee during the Fifth Interim Compensation Period. Applicant

records all expenses incurred in connection with the performance of professional services.

       63.     In connection with the reimbursement of expenses, Applicant’s policy is to charge

its clients in all areas of practice for expenses, other than fixed and routine overhead expenses,

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incurred in connection with representing its clients. The expenses charged to Applicant’s clients

include, among other things, mail and express mail charges, special or hand delivery charges,

photocopying charges, computerized research and transcription costs.

       64.     Applicant has charged the Equity Committee for these expenses at rates consistent

with those charged to Applicant’s other bankruptcy clients, which rates are equal to or less than

the rates charged by Applicant to its non-bankruptcy clients. In providing or obtaining from

third parties services which are reimbursable by clients, Applicant does not include in such

reimbursable amount any costs of investment, equipment or capital outlay.

       65.     Throughout the Fifth Interim Compensation Period, Applicant has been keenly

aware of cost considerations and has tried to minimize the expenses charged to the estate.


                             VII. CONCLUSION
       WHEREFORE, Applicant respectfully requests the Court to enter an order, substantially

in the form attached hereto as Exhibit B, (a) allowing Applicant (i) interim compensation for

professional services rendered as counsel for the Equity Committee during the Fifth Interim

Compensation Period in the amount of $547,492.10 and (ii) reimbursement of expenses incurred

in connection with rendering such services in the aggregate amount of $16,615.92, for a total

award of $564,108.02; (b) authorizing and directing the Debtors to pay to Applicant

$547,492.10, which is an amount equal to the services rendered and expenses incurred during the

Fifth Compensation Period, and; (c) granting such further relief the Court deems just and

appropriate.




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Dated: December 7, 2018
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                                   (310) 557-0056 (Facsimile)
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                                   -and-

                                   AKERMAN LLP

                                   By: /s/ Jacob A. Brown
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                                   Security Holders of Premier Exhibitions, Inc.




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
filed with the Clerk of the Court using CM/ECF on December 7, 2018. I also certify that the
foregoing document is being served this day on the following counsel of record via transmission
of Electronic Filing generated by CM/ECF:

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                                             Attorneys for New York Dept. of Taxation
                                             and Finance

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Unsecured Creditors                          Attorneys for Official Committee of
                                             Unsecured Creditors

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Attorneys for Official Committee of Equity
Security Holders of Premier Exhibitions,
Inc.


Via U.S. Mail

A-1 Storage and Crane                        ABC Imaging
2482 197th Avenue                            1155 21st Street NW
Manchester, IA 52057                         Suite M400
                                             Washington, DC 20036

A.N. Deringer, Inc.                          ATS, Inc.
PO Box 11349                                 1900 W. Anaheim Street
Succursale Centre-Ville                      Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                               CBS Outdoor/Outfront Media
30 Rockefeller Plaza                         185 US Highway 48
54th Floor                                   Fairfield, NJ 07004
New York, NY 10112




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Dentons Canada LLP                   Enterprise Rent-A-Car Canada
250 Howe Street                      709 Miner Avenue
20th Floor                           Scarborough, ON M1B 6B6
Vancouver, BC V6C 3R8

Expedia, Inc.                        George Young Company
10190 Covington Cross Drive          509 Heron Drive
Las Vegas, NV 89144                  Swedesboro, NJ 08085

Gowling Lafleuer Henderson           Hoffen Global Ltd.
550-2300 Burrard Street              305 Crosstree Lane
Vancouver, BC V6C 2B5                Atlanta, GA 30328

Kirvin Doak Communications           MNP LLP
5230 W. Patrick Lane                 15303 - 31st Avenue
Las Vegas, NV 89118                  Suite 301
                                     Surrey, BC V3Z 6X2

Morris Visitor Publications          NASDAQ Stock Market, LLC
PO Box 1584                          805 King Farm Blvd.
Augusta, GA 30903                    Rockville, MD 20850

National Geographic Society          NYC Dept. of Finance
1145 - 17th Avenue NW                PO Box 3646
Washington, DC 20036                 New York, NY 10008

PacBridge Limited Partners           Pallet Rack Surplus, Inc.
22/F Fung House                      1981 Old Covington Cross Road NE
19-20 Connaught Road                 Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                       Screen Actors Guild
d/b/a Luxor Hotel and Casino         1900 Broadway
3900 Las Vegas Blvd. South           5th Floor
Las Vegas, NV 89119                  New York, NY 10023

Seaventures, Ltd.                    Sophrintendenza Archeologica
5603 Oxford Moor Blvd.               di Napoli e Pompei
Windemere, FL 34786                  Piazza Museo 19
                                     Naples, Italy 80135




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Syzygy3, Inc.                                Time Out New York
1350 6th Avenue                              475 Tenth Avenue
2nd Floor                                    12th Floor
New York, NY 10019                           New York, NY 10018

TPL                                          TSX Operating Co.
3340 Peachtree Road                          70 West 40th Street
Suite 2140                                   9th Floor
Atlanta, GA 30326                            New York, NY 10018

Verifone, Inc.                               Sam Weiser
300 S. Park Place Blvd.                      565 Willow Road
Clearwater, FL 33759                         Winnetka, IL 60093

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                                             Macon, GA 31208

TSX Operating Co., LLC                       Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                              c/o Ezra B. Jones
70 W. 40th Street                            305 Crosstree Lane
New York, NY 10018                           Atlanta, GA 30328
Creditor Committee                           Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee


                                            /s/ Jacob A. Brown
                                            Attorney




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                    EXHIBIT A
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          2/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 1/31/18                                      $70,802.50
         Travel Time (Not Charged to Estate)                                                          - $8,644.50

         Costs and Expenses Through 1/31/18                                                            $1,648.86
                                                              Total Amount of This Invoice            $63,806.86
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init.    Task              Description of Work Performed                Hours    Amount
                         Review mediation brief re: NY Landlord claim
                         objection (1); research case law cited in mediation
                         statement (.6); mark-up proposed revisions to               2.00    1,130.00
 1/2/18     PJG     0061
                         mediation statement (.3); email J. Brown re: NY
                         Landlord claim mediation (.1).

                         Confer with B. Miller re: pending depositions in
                                                                                     0.10     56.50
 1/3/18     PJG     0057 connection with D&O claims.


 1/3/18     PJG     0081 Confer with B. Murphy and B. Williams re: sale status.      0.20    113.00
                         Email exchange re: NY Landlord claim objection and
                         settlement discussions (.2); confer with J. Brown re:
                         mediation and mediator and settlement discussions
                                                                                     1.70    960.50
 1/3/18     PJG     0061 re: NY Landlord claim (.2); research re: lease issues
                         and landlord’s argument (1.1); review final mediation
                         statement (.2).

                            Memo to Committee re: case status, sale issues, and
                            background, legal issues, and proposed settlement        1.60    904.00
 1/3/18     PJG     0062
                            ranges with respect to NY Landlord claim mediation.

                         Conference with P. Gurfein regarding status of plan
                         process; Debtors' motion to extend exclusive period in      0.30    153.00
 1/4/18    JLRD     0060
                         which to file a disclosure statement; strategy regarding
                         same.
 1/4/18     PJG     0057 Confer with J. Lamet re: D&O claims discovery (.1).         0.10     56.50

                         Memo to Committee re: status of sale process and
                         plan process (1.2); memo to Special Litigation              1.70    960.50
 1/4/18     PJG     0062 Subcommittee of Equity Committee re: D&O claims
                         (.5).
                         Review e-mail from P. Gurfein summarizing current
                                                                                     0.20    102.00
 1/4/18    JLRD     0060 status of the plan process and issues and strategy
                         going forward.
                         Review Equity Group objection to motion to extend
                         time to file disclosure statement (.6); research case
                         law in objection and in motion to extend time to file
                                                                                     4.60    2,599.00
 1/4/18     PJG     0060 disclosure statement (2.4); confer with J. Brown re:
                         objection and response (.1); draft statement in
                         response and reservation of rights re: motion to
                         extend time to file disclosure statement (1.5).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18


  Date      Init.    Task              Description of Work Performed                 Hours   Amount
                         Confer with J. Brown re: status of mediation on NY
                         Landlord claim and responding to inquiries from
                         Debtors re: Equity Committee views on mediation (1);
                         email J. Henshall and Carr Riggs re: tax implications       1.50    847.50
 1/5/18     PJG     0061 of settlement with NY Landlord (.2); review mediator's
                         statement re: mediation resolution (.1); email and
                         telephone calls J. Brown approving mediation
                         settlement on behalf of Equity Committee (.2).

                         Conference with P. Gurfein and telephone conference
                         with P. Gurfein and J. Brown regarding Committee
                                                                                     0.60    306.00
 1/5/18    JLRD     0060 Statement regarding Debtors' motion to extend time in
                         which to file Disclosure Statement.

                         Email memos to Equity Committee re: status of
                         mediation of NY Landlord claims (.3); memo to
                         Committee re: recommended settlement of NY
                         landlord claim (.4); email exchanges Committee              1.00    565.00
 1/5/18     PJG     0062
                         members re: approval of mediated settlement of NY
                         Landlord claim and implication of settlement on claims
                         distribution (.3).

                         Review draft Statement and Reservation of Rights to
                         be filed with respect to the Debtors' motion to extend
                         the time in which Debtors may file a disclosure             0.70    357.00
 1/5/18    JLRD     0060
                         statement and related e-correspondence from P.
                         Gurfein and J. Brown.

                         Revise and finalize statement re: objection to motion
                         to extend time to file disclosure statement (1.5); confer
                         with J. Brown re: filing statement re: motion to extend
                         (.2); review research re: extension of time to file
                                                                                     3.90    2,203.50
 1/5/18     PJG     0060 disclosure statement and legislative history re:
                         exclusivity (1.8); confer with J. Dalberg re: statement
                         re: motion to extend (.2); telephone call J. Feldsher re:
                         motion to extend (.2).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18
  Date      Init     Task              Description of Work Performed                Hours   Amount
                            Memo to Committee re: analysis of Las Vegas lease
 1/8/18     PJG      0062                                                           1.10    621.50
                            and amendment and updated claims analysis.

                         Review and analysis of Debtors' updated claims
                         schedule reflecting disallowed and settled claims for
 1/8/18    PJG      0061                                                            1.00    565.00
                         all debtors (.7); email B. Williams and B. Murphy re:
                         updated claims schedule analysis (.3).

                          Telephone call J. Cavender re: proposed amendment
                          to las Vegas lease and long term negotiations (.2);
                          review Las Vegas lease and proposed amendment to
            PJG      0069 Las Vegas lease (.8); email B. Murphy and B. Williams     1.30    734.50
 1/8/18
                          re: Las Vegas lease amendment (.2); email J.
                          Cavender re: Las Vegas lease amendment (.1)

                         Non-working travel to Jacksonville for hearing on
                                                                                    6.80    3,842.00
1/10/18    PJG      0455 motion to extend time to file disclosure statement. (All
                         travel time written off)
                         Review pleadings and organize outline for
                         presentation to court re: motion to extend time to file
                                                                                    3.80    2,147.00
1/10/18    PJG      0081 disclosure statement (2.1); review case law from
                         objection and opposing briefs (1.7).

                         Confer with J. Feldsher re: status of Apollo/Alta review
                         of diligence material and related plan considerations
                         (1); meeting with J. Cavender, D. Blanks, J. Brown, J.
                         Chubak, and R. Heekin re: case status, plan status,
                                                                                    4.50    2,542.50
1/11/18     PJG     0060 general discussion of resolution of bankruptcy case
                         (2); prep for hearing re: extension of time to file
                         disclosure statement (.5); attend hearing re: motion to
                         extend time to file disclosure statement (1).

                         Review e-mail and memo from P. Gurfein regarding
                         proposal to mediate plan and consider strategic            0.30    153.00
1/11/18    JLRD     0060
                         impact of same.

                         Review e-mail chain between P. Gurfein and A.
                                                                                    0.10     51.00
1/11/18    JLRD     0060 Shapiro regarding plan mediation proposal.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init     Task              Description of Work Performed               Hours   Amount
                            Drafted December, 2017 Interim Fee Request.            4.00    640.00
1/11/18      EM     0081

                         Review memo from P. Gurfein regarding status of           0.20    102.00
1/11/18    JLRD     0060 case, analysis of mediation proposal.

                         Email J. Cavender, B. Wainger re: tourism at Titanic
                                                                                   0.10     56.50
1/11/18     PJG     0081 wreck site.

                         Memo to Committee re: case status update and
                         discussion with counsel to Debtors and to Creditor
                         Committee re: case resolution and potential for
                         mediation (1); email Committee re: results of hearing
                                                                                   2.00    1,130.00
1/11/18     PJG     0062 on motion to extend time to file disclosure statement
                         (.5); email exchanges Committee members re; follow-
                         up questions re: case status and potential mediation
                         of case resolution (.5).

                         Review and edit December invoice in connection with
                                                                                   0.50    282.50
1/11/18     PJG     0065 interim fee request.

                         Review e-memo from P. Gurfein regarding update on
                                                                                   0.10     51.00
1/12/18    JLRD     0060 mediation proposal.

                         Travel time from Jacksonville hearing. (All travel time   8.50    4,802.50
1/12/18     PJG     0455 written off)

                         Draft outline of issues to be addressed in connection
                                                                                   2.20    1,243.00
1/12/18     PJG     0060 with plan mediation and resolution of case.

                         Email exchange B. Wainger re: 3d party rights and
                         tourism at Titanic wreck site (.1); review case law re:   1.30    734.50
1/12/18     PJG     0081
                         scope of RMST salvage rights (1.2).

                         Email exchanges with Committee members re: further
                                                                                   0.30    169.50
1/12/18     PJG     0062 inquiries re: plan and case status.

                         Finalize December invoice in connection with interim
                         compensation request (.5); review and comment on          0.60    339.00
1/12/18     PJG     0065
                         Akerman and Teneo interim fee requests (.1).

                         Respond to emails from A. Shapiro re: Court hearings,
                         meetings with estate professionals, plan status, and      0.40    226.00
1/14/18     PJG     0062
                         sale issues.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init     Task             Description of Work Performed                Hours   Amount
                         Confer with B. Williams and B. Murphy re: long term
                                                                                   0.20    113.00
1/15/18     PJG     0060 case administration and plan issues (.2).

                         Review e-mail string between P. Gurfein, B. Murphy        0.10     51.00
1/15/18    JLRD     0060 and A. Shapiro regarding bid solicitation process.
                         Telephone call A. Shapiro re: long term case              0.40    226.00
1/15/18     PJG     0062 administration and plan issues (.4).
                         Draft outline and discussion draft re: long term case
                         administration and plan issues (.8); confer with B.
                         Murphy, B. Williams, J. Brown re: case administration,
                         sale, and plan issues (.7); telephone call with J.
1/16/18     PJG     0060 Cavender re: long term case administration and            2.10    1,186.50
                         resolution of bankruptcy case and potential mediation
                         (.4); confer with Lincoln International re: report from
                         Glass Ratner re: plan and sale process (.2).

                         Review interim fee requests of estate professionals
1/16/18     PJG     0081 (.2).                                                     0.20    113.00

                         Telephone call A. Shapiro re: long term case
                         administration and resolution and issues pertaining to
1/16/18     PJG     0062 mediation (.3); memo to Committee re: case status         1.50    847.50
                         update and mediation (1.2).
                         Telephone call J. Hess, equity holder, re: case status
1/16/18     PJG     B151 and respond to questions from Mr. Hess (.2).              0.20    113.00

                         Confer with A. Shapiro re: mediation proposal (.3);
                         email mediation proposal to Committee (.2); email
                         Committee re case status update (.3); memo to
1/17/18     PJG     0062 Committee re: plan negotiations and purpose of            2.50    1,412.50
                         mediation (1.4); respond to inquiries from Committee
                         members re: case status and mediation (.3).
                         Email exchanges J. Cavender and J. Chubak re:
                         mediation proposal and specifics (.2); confer with J.
                         Feldsher re: status of discussion with Debtors (.2);
                         confer with B. Murphy re: status update from Glass
1/17/18     PJG     0060 Ratner (.3); email J. Cavender re: Equity Committee       1.30    734.50
                         participation in mediation (.2); review and comment on
                         draft order extending time for Debtors to file
                         Disclosure Statement in connection with filed plan of
                         reorganization (.4).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date       Init    Task             Description of Work Performed                 Hours    Amount
                          Review e-memorandum from P. Gurfein regarding
                                                                                     0.10     51.00
1/17/18    JLRD      0060 status of dealings with the Debtors and plan
                          mediation.
                          Confer with A. Shapiro re: Committee meetings and
                          updating Committee on negotiations and proposed
                          mediation (.3); draft agenda for Committee meeting         1.20    678.00
1/18/18     PJG      0062
                          (.5); email committee re: meeting agenda and
                          mediation proposal (.4).
                          E-correspondence with P. Gurfein regarding effect on
                                                                                     0.40    204.00
1/17/18    JLRD      0060 equity committee if a chapter 11 trustee were
                          appointed in the case.
                          Telephone call J. Brown re: planned mediation and
                          issues to be addressed in mediation (.2); telephone
                          call J. Cavender re: plan process, mediation issues,
                          and scheduling of mediation (.3); telephone call J.
                          Chubak re: plan process, mediation issues, and
                          scheduling mediation (.2); Confer with B. Williams and
                                                                                     2.40    1,356.00
1/18/18    PJG       0062 B. Murphy re: status of discussions among potential
                          bidders and plan issues under consideration for
                          mediation (.4); email exchanges with B. Murphy re:
                          plan issues and mediation (.2); research financial
                          issues pertaining to potential acquirer of assets (1);
                          email J. Brown re: financial issues pertaining to
                          potential acquirer of assets (.1).
                          Prepare for call with Committee (.7); Committee
                                                                                     2.40    1,356.00
1/19/18    PJG       0062 meeting conference call (1.5); email exchanges with
                          Committee members re: sale and plan process (.2).
                          Telephone call J. Feldsher re: equity group issues and
                          potential for plan sponsorship (.2); confer with J.
                          Cavender re: plan and mediation issues (.2);               0.70    395.50
1/19/18    PJG       0060 telephone call B. Murphy re: status update on sale
                          and plan issues (.1); email exchanges B. Williams re:
                          sale and plan issues (.2).
                          Conference call among estate professionals re:
                          mediation of plan issues (.8); email exchanges J.          2.10    1,186.50
1/22/18     PJG      0060 Cavender, J. Chubak re: mediation (.2); draft issues
                          memo for inclusion in mediation statement (1.1).
                          Draft minutes re: January 19, 2018 Committee
                          meeting (1); draft minutes for December 14, 2017
                                                                                     3.80    2,147.00
1/22/18     PJG      0062 Committee meeting (.9); memo to Committee re:
                          update on case status, sale process, plan process,
                          and mediation (1.9).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date       Init    Task              Description of Work Performed                 Hours   Amount
                          Drafted and reviewed time for Fourth Interim Fee           2.00    320.00
1/22/18      EM      0081 Application for Compensation.
                          Review e-correspondence and related memorandum             0.20    102.00
1/22/18    JLRD      0060 from P. Gurfein.

                          Research bidders and financial capacity to fulfill sale
                                                                                     1.90    1,073.50
1/22/18     PJG      0055 terms (1.7); telephone call B. Murphy re: status update
                          on sale process (.2).
                          Email memo to Committee re: status of discussions
                                                                                     0.50    282.50
1/23/18     PJG      0062 re: plan and re: mediation.

                          Research re: district court rulings on salvage rights
                          and disposition of artifacts (2.7); telephone call B.
                          Wainger re: salvage rights issues (.2); telephone call
                          J. Chubak re: mediation issues and plan
                          considerations (.2); telephone call J. Feldsher re:
                                                                                     5.40    3,051.00
1/23/18     PJG      0060 status of discussions re: plan proposals and related
                          legal concerns (.2); confer with B. Murphy re: status of
                          plan and sale discussions (.2); confer with J.
                          Cavender re: plan and mediation concerns (.3); outline
                          mediation statement (1.6).

                          Email memo to Committee re: status of mediation
                          preparation and status of sale and plan proposals (.3);    0.50    282.50
1/24/18     PJG      0062 email exchanges with committee members re:
                          mediation (.2).
                          Work on mediation outline (1); research re: sale of
                          artifacts (2.3); email exchanges B. Wainger re: District
                          Court orders re: salvor-in-possession status and rights
                          (.2); telephone call J. Cavender re: status of
                                                                                     3.70    2,090.50
1/24/18     PJG      0060 discussions on plan proposals and mediation issues
                          (.1); confer with J. Brown re: mediation order in
                          Jacksonville Bankruptcy Court and selection of
                          mediator (.1).
                          Review e-memo from P. Gurfein regarding status and
                                                                                     0.20    102.00
1/24/18    JLRD      0600 plan mediation.

                          Review e-mail correspondence between P. Gurfein, J.
                                                                                     0.10     51.00
1/24/18    JLRD      0600 Heller an A. Shapiro regarding plan mediation issues.
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init     Task              Description of Work Performed                  Hours   Amount
                          Email memo to Committee re: case status, sale
                          process, plan issues, and mediation (1.2); email
                                                                                      1.50    847.50
1/25/18    PJG       0062 exchanges Committee members responding to
                          inquiries re: case status (.3).

                          Organize files re: plan alternatives (.7); call with S.
                          Wolf and J. Feldsher re: plan alternatives (.9); confer
                          with J. Cavender re: conversations with National            2.10    1,186.50
1/25/18     PJG      0060 Maritime Museum and with Equity Group re: case
                          resolution (.2); telephone call J. Feldsher re: mediation
                          concerns (.3).
                            Work on Fourth Interim Fee Application.                   1.10    621.50
1/25/18     PJG      0065
                          Confer with J. Cavender re: plan negotiations and
                          mediation proposal (.2); review research re: National
                          Maritime Museum (.8); confer with J. Feldsher re:           1.30    734.50
1/26/18     PJG      0060
                          Equity Group proposal and research factual issues
                          undertaken by Equity Group (.3).

                          Email to Committee members re: specifics of
                          proposed mediation (.7); confer with A. Shapiro, I.
                          Jacobs, and J. Heller re: attendance at mediation (.3);
                          email Committee re: status of discussions with Alta         2.50    1,412.50
1/26/18     PJG      0062
                          and Apollo (.4); memo to Committee re: case status
                          update, communications with potential bidders, and
                          plan negotiations (1.1).

                          Research fiduciary duties of ad hoc groups in
                          bankruptcy court (1); email exchanges J. Brown and J.
                          Dalberg re: research results (.2); telephone call B.
                          Murphy re: Apollo and Alta plan issues (.3); confer
                          with J. Feldsher re: status of equity group negotiations
                          (.3); confer with E. Moreno re: securities law research     5.10    2,881.50
1/26/18     PJG      0060
                          assignment (.5); research re: securities law issues (1);
                          confer with J. Chubak re: mediation timing (.2); confer
                          with J. Brown and J. Dalberg re: status (.5); email
                          exchanges J. Feldsher re: status of negotiations (.4);
                          email J. Cavender re: PSA and plan negotiations (.7).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init     Task              Description of Work Performed                  Hours    Amount
                          E-correspondence with P. Gurfein regarding update
                          on status of case and strategy regarding dealing with        0.20    102.00
1/28/18    JLRD      0060 plan proposed by ad hoc equity committee and
                          insiders.
                          Research on plan issues and strategy for dealing with
                                                                                       2.70    1,377.00
1/28/18    JLRD      0060 possible ad hoc equity committee/debtor plan.

                          Revised Fourth Interim Fee Application for
                                                                                       2.50    400.00
1/29/18      EM      0081 Compensation.

                          Telephone conference with P. Gurfein and J. Brown
                                                                                       0.60    306.00
1/29/18    JLRD      0060 regarding strategy with respect to Apollo and inside
                          equity group.
                          Conference with P. Gurfein regarding plan research,
                          including treatment of equity under 1129(a)(10) of           0.30    153.00
1/29/18    JLRD      0060 Bankruptcy Code.


                          E-correspondence with P. Gurfein regarding plan
                                                                                       0.20    102.00
1/29/18    JLRD      0060 research.

                          Research re plan issues relating to mediation
                          concerns and impaired class voting issues (3.1);
                          confer with K. Fackler re: research topic (.2); confer
1/29/18                                                                                3.90    2,203.50
            PJG      0060 with J. Brown re: research topic (.2); confer with J.
                          Dalberg re: research topic (.3); email E. Dobbs re:
                          mediator's conflict check (.1).

                          Telephone call with A. Shapiro re: status of plan
                                                                                       0.30    169.50
1/29/18     PJG      0062 discussions and mediation issues (.3).

                          Work on Fourth Interim Fee Application narrative
                          (2.8); review interim fee statement from Debtors'            3.00    1,695.00
1/29/18     PJG      0065
                          counsel (.2).

                          Review detailed e-memorandum from P. Gurfein
                          regarding status of dealings with debtor, counsel for
                                                                                       0.20    102.00
1/30/18    JLRD      0060 Apollo etc. regarding plan mediation; request by
                          Debtor and Apollo that same be rescheduled.
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 1/31/18

  Date      Init     Task              Description of Work Performed                   Hours     Amount
                          Finalize draft of Fourth Interim Fee Application (2.8);
                                                                                       2.90      1,638.50
1/30/18     PJG      0065 email fee application to J. Brown for review re: local
                          rules (.1).
                          Telephone call I. Jacobs re: status of negotiations and
                          plan mediation concerns (.3); telephone call A.
                                                                                       1.70      960.50
1/30/18     PJG      0062 Shapiro re: mediation concerns and status of plan
                          negotiations (.3); memo to Committee re: status of
                          plan and mediation discussions (1.1).
                          Telephone calls J. Feldsher re: status of negotiations
                          between equity group and debtors re: potential plan
                          proposal (.6); telephone call J. Brown re: plan
                          mediation topics (.2); telephone call B. Murphy re:
                          information requested by potential plan sponsor (.2);
                          telephone call K. Fackler re: plan research results (.2);
                          telephone calls J. Cavender re: follow diligence             2.50      1,412.50
1/30/18     PJG      0060 questions, mediation issues, and plan negotiations
                          (.4); telephone call J. Feldsher re: claims analysis (.1);
                          telephone call J. Chubak re: mediation scheduling (.2);
                          telephone call J. Cavender re: mediation scheduling
                          (.3); confer with E. Moreno re: research re: securities
                          law disclosure and reporting concerns in connection
                          with plan negotiations (.3).
1/30/18                   Conference with P. Gurfein regarding strategy.               0.40      204.00
           JLRD      0060
1/30/18                     E-correspondence from J. Brown regarding strategy.         0.10       51.00
           JLRD      0060
                          Review e-mail string between P. Gurfein and A.
1/30/18                   Shapiro regarding strategy with respect to                   0.10       51.00
           JLRD      0060
                          rescheduling of plan mediation, etc.

                          Review e-mail from P. Gurfein regarding status of his
                                                                                       0.10       51.00
1/31/18    JLRD      0060 dealings with counsel for Apollo.

                          Conference with P. Gurfein regarding status of               0.20      102.00
1/31/18    JLRD      0060 negotiations with Apollo.

                          Telephone conference with P. Gurfein and J. Brown            1.10      561.00
1/31/18    JLRD      0060 regarding strategy.
                          E-correspondence with P. Gurfein regarding his call          0.20      102.00
1/31/18    JLRD      0060 with counsel to Apollo; strategy.

                          Conference with P. Gurfein regarding strategy for            0.20      102.00
1/31/18    JLRD      0060 dealing with counsel for Debtors and Apollo.

                                                                         Totals        117.10   $62,158.00
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 1/31/18

 Initials              Name            Hours              Rate     Amount
  PJG                  Gurfein          98.40           565.00   $55,596.00
 JLRD                  Dalberg          10.20           510.00    $5,202.00
   EM                  Meza             8.50            160.00    $1,360.00
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 Premier Exhibitions, Inc.
 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 1/31/18

 Date         Description                                                       Amount


1/11/18       Travel: Airfare and Hotel – Jacksonville hearing re Disclosure
              Statement and meeting re plan of reorganization.                 $1,182.05

1/11/18       Transportation and Meals – Jacksonville hearing re Disclosure
              Statement and meeting re plan of reorganization.                  $175.73

1/31/18        JND Corporate Restructuring (Invoice No. 2304 – January          $291.08
               services).



                                                      Total Costs & Expenses: $1,648.86
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Premier Exhibitions, Inc.
RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 1/31/18

                                                                              Hours      Amount

           0055             Asset Disposition                                   1.90    1,073.50

           0057             Asset Analysis and Recovery                         0.20     113.00

                                                                                58.20   32,322.00
           0060             Chapter 11 Plan

           0061             Claims Administration and Objection                 6.20    3,503.00

           0062             Committee Communications                            26.90   15,198.50

           0065             Employment and Fee Application                      8.10    4576.50

           0069             Leases & Executory Contracts                        1.30     734.50

           0081             Case Administration                                 14.10   4,524.00

           0455             Travel                                              15.30   8,644.50

           B151             Communication With Equity Holders                   0.20      113
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          3/14/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 2/28/18                                      $94,174.00
         Travel Time (Not Charged to Estate)                                                          - $7,627.50

         Costs and Expenses Through 2/28/18                                                            $2,998.22
                                                              Total Amount of This Invoice            $89,544.72
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18

  Date      Init.    Task               Description of Work Performed                   Hours    Amount
                         E-correspondence with P. Gurfein and A. Shapiro
                                                                                         0.20    102.00
 2/1/18    JLRD     0060 regarding status of mediation.

                         Review e-memo from P. Gurfein analysing current
                         status of dealings with the Debtors in connection with          0.30    153.00
 2/1/18    JLRD     0060 proposed plan mediation.


                            Review and markup M. Little deposition testimony (.8).       0.80    452.00
 2/1/18     PJG     0057

                         Confer with A. Shapiro re: equity group submission of
                         proposal and scope of mediation issues (.3); email
                         Committee members re: status of mediation proposal
                         and discussion with equity group and debtors                    1.60    904.00
 2/1/18     PJG     0062
                         respecting plan issues and mediation (.2); memo to
                         Committee re: case status update, plan related issues,
                         and mediation (1.1).

                            Confer with J. Brown re: plan mediation (.2); email
                            exchange J. Feldsher re: equity group diligence
                            requests (.1); review diligence requests from Apollo         1.30    734.50
 2/1/18     PJG     0060
                            (.2); confer with B. Murphy re: responses to diligence
                            requests (.2); outline issues for mediation (.6).

                         Review e-mail from P. Gurfein and attached Transwest
                         Resort Properties opinion on confirmation issues --             0.50    255.00
 2/2/18    JLRD     0060
                         class acceptance of plan with multiple debtors.

                         Email memo to Committee re: plan mediation (.9);
                         confer with members of Committee re: participation in           1.30    734.50
 2/2/18     PJG     0062 mediation (.4).


                         Telephone call J. Chubak re: Plan and mediation issues
                         (.2); review E. Dobbs draft engagement letter (.4); email       0.70    395.50
 2/2/18     PJG     0060 J. Cavender and J. Chubak re: attendance at
                         mediation (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18


  Date      Init.    Task                Description of Work Performed                   Hours    Amount
                            Telephone call S. Fox re: plan and sale issues (.5).          0.50    282.50
            PJG     0060
 2/3/18
                            Review B. Miller report re: M. Little examination (.2).       0.20    113.00
 2/3/18     PJG     0057
                            Review periodic report filed in EDVA (.3).                    0.30    169.50
 2/6/18     PJG     0081

                         Telephone call A. Shapiro re: case status (.3); email
                         memo to committee re: case status and upcoming
                                                                                          1.70    960.50
 2/6/18     PJG     0062 Committee call (.4); memo to Committee re: plan status
                         and mediation (.8); email A. Shapiro re: mediation (.2).

                         Confer with B. Williams and B. Murphy re: Apollo
                         diligence (.2); telephone call J. Feldsher re plan status
                         (.2); telephone call J. Chubak re: plan status (.2); confer
                                                                                          0.90    508.50
 2/6/18     PJG     0060 with J. Cavender re: case and mediation (.2); email B.
                         Murphy re: Apollo diligence and meeting with
                         management (.1).

                         Work on Mediation Statement (5); emails B. Murphy, B.
                                                                                          5.40    3,051.00
 2/7/18     PJG     0060 Miller, J. Brown re: inserts to mediation statement (.4).

                         Confer with J. Heller, I. Jacobs, A. Shapiro re:
                         participation at mediation (.2); draft minutes from prior
                         Committee meeting (.5); draft agenda for February 8
                                                                                          3.00    1,695.00
 2/7/18     PJG     0062 meeting (.2); memo to Committee re: case status
                         update (1.9); email committee re: 2/8 Committee
                         conference call (.2).

                         Email J. Feldsher re: status of Apollo diligence (.1);
                         draft mediation description for insert to mediator's
                         engagement letter (.6); email exchanges J. Cavender
                                                                                          0.90    508.50
 2/7/18     PJG     0060 and J. Chubak re: insertion of description of mediation
                         into engagement letter (.1); email J. Cavender re:
                         mediation logistics (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18
  Date      Init     Task               Description of Work Performed                  Hours   Amount
                          Review financials for 2017 issued by Debtors (.4); email
                          exchange with B. Murphy re: inquiries relating to 2017
 2/7/18    PJG       0081 financials (.2); review Debtors' responses to Equity         1.30    734.50
                          Committee financial inquires (.7).
                         Emails J. Cavender re: mediation and re: SNL exhibit
 2/8/18    PJG      0060 (.2).                                                         0.20    113.00

                         Prepare for Committee call (.7); Committee meeting
 2/8/18    PJG      0062 conference call (1.5).                                        2.20    1,243.00

                         Review Debtor's report re: NOLs (.7); confer with W.
 2/8/18    PJG      0081 Sullivan re: NOL report (.3); review financial report (.8).   1.80    1,017.00

                         Work on LGB fee application (1.1); review and
 2/9/18    PJG      0065 comment on Akerman fee application (.2).                      1.30    734.50

                         Telephone calls A. Shapiro re plan issues and
 2/9/18    PJG           mediation (.4); confer with A. Shapiro and B. Murphy re:      0.50    282.50
                    0062
                         Apollo proposal (.1).

                         Email exchanges with S. Roach re: mediation logistics
                         (.1); confer with J. Brown re: mediation (.1); email
                         exchange J. Cavender re: defaults under PSA (.2);
 2/9/18    PJG      0060                                                               0.60    339.00
                         email J. Cavender and J. Chubak re: mediation
                         statement (.2).

                         Review e-mail chain of correspondence between P.
                         Gurfein, T. Kraus and J. Brown regarding proposal to          0.10     51.00
2/10/18    JLRD     0060
                         send plan negotiations to mediation.

                         Review exhibits for Mediation (3); research re:
                         Mediation (4); email J. Brown re: inserts to mediation        7.20    4,068.00
2/11/18    PJG      0060
                         statement (.2).

                         Review letters of intent in connection with plan
2/12/18    PJG                                                                         1.70    960.50
                    0060 analysis (1.7).
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  Date      Init     Task               Description of Work Performed                Hours   Amount
                         Telephone call A. Shapiro re: plan and sale issues
                                                                                      0.60    339.00
2/12/18    PJG      0062 (.4); email agenda for 12/13 committee call (.2).

                            Work on Committee Mediation Statement (4).                4.00   2,260.00
2/13/18    PJG      0060

                         Prepare for Committee call (.6); Committee meeting
                         conference call (1.5); email exchanges with
                         Committee members follow-up to Committee call (.4);
                                                                                      3.20   1,808.00
2/13/18    PJG      0062 confer with A. Shapiro re: plan and mediation (.2);
                         confer with B. Williams re: plan and mediation (.1);
                         email memo to Committee re: follow-up to Committee
                         call (.4).
                         Email exchange B. Murphy re: status of bidder due
                                                                                      0.30    169.50
2/13/18    PJG      0060 diligence and management meeting (.3).

                         Review detailed e-memo from P. Gurfein regarding his
                                                                                      0.20    102.00
2/14/18    JLRD     0060 discussions with proposed mediator of plan issues.

                         Review January invoice re: LGB interim fee request
2/14/18    PJG                                                                        0.50    282.50
                    0065 (.5).

                            Draft notice for website re: mediation (.3).              0.30    169.50
2/14/18    PJG      0081
                         Memo to Committee re: case status update (1); email
                         exchanges with Committee members re: case status             1.40    791.00
2/14/18    PJG      0062 (.2); confer with A. Shapiro re: mediation and website
                         notice (.2).
                         Work on Mediation Statement (3); telephone call E.
                         Dobbs re: plan mediation (1.3); follow-up email to E.
                                                                                      4.80   2,712.00
2/14/18    PJG      0060 Dobbs re: mediation (.2); review and comment on
                         revised draft mediation order (.2); email S. Roach re:
                         revised mediation order (.1).

2/15/18    PJG              Email exchange B. Miller re: D&O analysis (.2).           0.20    113.00
                    0057

2/15/18    PJG              Update Committee website re: mediation motion (.2).       0.20    113.00
                    0081

2/15/18    PJG      0065 Submit LGB interim fee request for January (.2).             0.20    113.00

2/15/18     EM      0081 Drafted January, 2018 Interim Fee Request.                   2.50    400.00
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18

  Date      Init     Task              Description of Work Performed                 Hours    Amount
                         Review mediation confidentiality agreement (.2);
                         review filed mediation motion (.1); email to E. Dobbs
                                                                                      3.90    2,203.50
2/15/18    PJG      0060 re: attendees at mediation (.1); work on Mediation
                         Statement (3.5).

                         Email Committee responding to inquiries re: Riverside
                         Group (.2); email exchanges with Committee
                         members re: mediation (.3); telephone call A. Shapiro        0.80    452.00
2/15/18    PJG      0062 re: case status (.2); email to Committee members
                         attendees at Mediation re: confidentiality agreement
                         (.1).
                         Conference with P. Gurfein regarding National
           JLRD     0060 Maritime Museum motion to withdraw the reference             0.30    153.00
2/16/18
                         and transfer venue to Florida District Court.
                            Research re: motion to withdraw the reference, etc.       1.50    765.00
2/16/18    JLRD     0060

                         Memo to Committee re: case status update and
                         mediation (.6); email exchanges with Committee               0.80    452.00
2/16/18    PJG      0062
                         members (.2).

                         Telephone call J. Cavender and J. Chubak re:
                         National Maritime Museum (.2); telephone S. Fox re:          0.80    452.00
2/16/18    PJG      0055 sale issues (.4); email J. Cavender and J. Chubak re:
                         status of sale (.2).
                         Work on Mediation Statement (5.8); prep for mediation
                         (1); emails J. Brown, B. Murphy, B. Williams, J.
           PJG      0060 Dalberg re: plan and mediation issues and alternative        7.80    4,407.00
2/17/18
                         plan scenarios (1).

                            Research re: motion to withdraw the reference, etc.
           JLRD     0060                                                              2.50    1,275.00
2/17/18

                         Research and draft re: withdraw the reference and            2.50    1,275.00
2/18/18    JLRD     0060 transfer (NMM).

                         E-correspondence with J. Brown and P. Gurfein                0.10     51.00
2/18/18    JLRD     0060 regarding mediation statement.

                         Work on Mediation Statement and organize exhibits to         7.00    3,955.00
2/18/18    PJG      0060 Mediation Statement (7).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18

  Date       Init    Task              Description of Work Performed                 Hours   Amount
                          Research and draft motion to withdraw the reference,
                                                                                     2.70    1,377.00
2/19/18    JLRD      0060 etc.

                         Confer with J. deKoe re: financial information
                         pertaining to plan and mediation issues (.6); review        4.70    2,655.50
2/19/18    PJG      0060 financials in connection with plan issues (1.1); work on
                         Mediation Statement and prep for mediation (3).
                          E-correspondence with P. Gurfein regarding
                                                                                     0.20    102.00
2/19/18    JLRD      0060 opposition to motion to withdraw the reference and
                          transfer.
                          E-correspondence with P. Gurfein, B. Williams              0.20    102.00
2/20/18    JLRD      0060 regarding possible spinoff of French artifacts.

                            Review draft mediation statement.                        0.50    255.00
2/20/18    JLRD      0060
                            Review draft plan term sheet received from P. Gurfein.   0.40    204.00
                     0060
2/20/18    JLRD
                          Review e-correspondence from P. Gurfein regarding
                                                                                     0.10     51.00
2/20/18    JLRD      0060 negotiations with counsel for unsecured creditors
                          committee.
                          Work on Mediation Statement (5); telephone call E.
                          Dobbs re: mediation (.1); email exchanges B. Murphy
                          and J. deKoe re: financials and valuation issues (1);      8.30    4,689.50
2/20/18     PJG      0060
                          work on plan and sale term sheet (2); email J. Brown
                          re: Mediation Statement (.2).

                          Review MORs and financial analysis of Teneo re:
                                                                                     0.80    452.00
2/21/18     PJG      0081 operational economics (.8).

                          Email Committee re draft Mediation Statement (.2);
                          telephone call A. Shapiro re: mediation (.2); email        2.50    1,412.50
2/21/18     PJG      0062
                          memo to Committee re: plan alternatives (2.1).

                          Review edits from J. Brown to Mediation Statement
                          (.4); revise Mediation Statement (1.1); telephone call     1.70    960.50
2/21/18    PJG       0060
                          S. Fox re: sale and plan (.2).
                          Analyze proposal term sheet from P. Gurfein for sale
2/21/18    JLRD                                                                      0.30    153.00
                     0060 of French exhibition artifacts.

                          Review e-correspondence from P. Gurfein and J.
2/21/18    JLRD      0060 Brown regarding comments to draft mediation                0.20    102.00
                          statement.
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                          Conference with P. Gurfein regarding plan term sheet        0.30   153.00
2/21/18    JLRD      0060 and draft mediation statement.

                          E-correspondence with P. Gurfein regarding revised
2/21/18    JLRD      0060 mediation statement and review redlined version of          0.30   153.00
                          same.
                          Telephone calls A. Shapiro re: plan issues (.3); email
                          committee re: plan issues and mediation statement           0.60   339.00
2/22/18    PJG       0062
                          (.3).

                          Review Committee comments and finalize Mediation
                          Statement (2.2); organize exhibits to Mediation
                                                                                      6.80   3,842.00
2/22/18    PJG       0060 Statement (2.2); email E. Dobbs re: Mediation
                          Statement (.1); draft alternative plan proposal (2.3).

                            Review and edit revised mediation statement.              0.50   255.00
2/22/18    JLRD      0060
                          Conference with P. Gurfein regarding mediation
2/22/18    JLRD      0060 statement and plan for sale of French artifacts;            0.80   408.00
                          comments to both and strategy for mediation.
                          E-correspondence with P. Gurfein and I. Jacobs
2/23/18    JLRD      0060 regarding equity committee's response to request from       0.10    51.00
                          NMM to participate in mediation.

                          Work on alternative plan term sheets (1.1); telephone
                          call J. Brown re: prep for mediation (.3); telephone call   2.60   1,469.00
2/23/18     PJG      0060
                          J. Cavender re: mediation (.2); prep for mediation (1).

                          Email exchanges with I. Jacobs re: mediation (.3);
                          email exchanges A. Shapiro, J. Heller, I. Jacobs re:        0.80   452.00
2/23/18     PJG      0062 mediation preparation (.5).


                          Email exchange with Committee members re:
                          mediation and KEIP (.3); email Committee re: Armada         0.90   508.50
2/24/18     PJG      0062
                          proposal and re: summary of Armada LOIs (.6).

                          Review Armada proposal/LOI (.6); confer with B.
                          Murphy and J. deKoe re: Armada proposal (.3); review        5.50   3,107.50
                          summary of Armada proposal and comparison with
2/24/18     PJG      0060 last proposal (.3); prepare for mediation (4); email J.
                          Cavender re: KEIP (.1); review financials re: 2107
                          EBITDA (.2).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 2/28/18

  Date       Init    Task              Description of Work Performed                Hours      Amount
                          Travel to Atlanta for plan mediation. (Time not
2/25/18     PJG      0455 charged to estate).                                        6.50     3,672.50

                            Confer with Committee members re: plan mediation.
2/25/18     PJG      0060                                                            1.50      847.50
                            Prepare for mediation.
2/25/18     PJG      0060                                                            3.50     1,977.50
                          Confer with I. Jacobs, A. Shapiro, J. Heller re:
2/26/18     PJG      0062 mediation and prep for further discussions (1).            1.00      565.00

                            Attend mediation.
2/26/18     PJG      0060                                                           10.50     5,932.50
                            Confer with Committee Members re Mediation.
2/26/18     PJG      0062                                                            1.50      847.50
                            Review draft equity committee plan term sheet.
2/26/18    JLRD      0060                                                            0.30      153.00
                          Review revised equity committee mediation term
2/27/18    JLRD      0060 sheet.                                                     0.10      51.00
                          Confer with Committee members re: mediation and
2/27/18     PJG      0062 status of plan and sale negotiations.                      2.10     1,186.50

                            Attend mediation.
                     0060
2/27/18    PJG                                                                      10.00     5,650.00
                          Travel from Atlanta for mediation. (Time not charged
2/28/18    PJG       0455 to estate).                                                7.00     3,955.00

                          Review notes re: plan and sale process (.5); confer
                                                                                     0.80      452.00
2/28/18    PJG       0060 with J. Dalberg re: plan and sale process (.3).

                          Conference with P. Gurfein regarding mediation
                                                                                     0.50      255.00
2/28/18    JLRD      0060 proceedings, emergence of joint bid by Apollo et al.,
                          strategy going forward.


                                                                        Totals      156.50   $86,546.50
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TIMEKEEPER TIME SUMMARY THROUGH 2/28/18

 Initials              Name            Hours              Rate     Amount
  PJG                  Gurfein         138.30           565.00   $78,139.50
 JLRD                  Dalberg          15.70           510.00    $8,007.00
   EM                  Meza             2.50            160.00      $400.00
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 Premier Exhibitions, Inc.
 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 2/28/18

 Date         Description                                                            Amount
2/1/18        Fed Ex shipment to: Akerman LLP.                                       $203.45

2/25/18       Travel: Airfare and Hotel (Gurfein) – Atlanta Mediation conference.   $1,448.97

2/25/18       Travel: Hotel (Shapiro) – Atlanta Mediation conference.                $475.26

2/25/18       Travel: Hotel (Heller) – Atlanta Mediation conference.                 $475.26

2/28/18       Transportation and Meals (Gurfein) – Atlanta Mediation conference.      $82.90

2/28/18       JND Corporate Restructuring (Invoice No. 2345 – February               $282.38
              services).

2/28/18        Court Call (ID No. 8798971).                                           $30.00



                                                          Total Costs & Expenses:   $2,998.22
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TIME SUMMARY BY PHASE AND TASK THROUGH 2/28/18

                                                                             Hours      Amount

           0055             Asset Disposition
                                                                               0.80     452.00
           0057             Asset Analysis and Recovery
                                                                               1.20     678.00
           0060             Chapter 11 Plan
                                                                              118.80   66,258.50
           0062             Committee Communications
                                                                              26.50    14,972.50
           0065             Employment and Fee Application
                                                                               2.00    1,130.00
           0081             Case Administration
                                                                               7.20    3,055.50
           0455             Travel
                                                                              13.50    7,627.50
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          4/13/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 3/31/18                                      $43,780.50

         Costs and Expenses Through 3/31/18                                                              $697.02
                                                              Total Amount of This Invoice            $44,479.52
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  Date      Init.    Task              Description of Work Performed                Hours   Amount
                         Attend hearing (telephonic) re: NY Tax claims (.5);
                         review settlement of NY Tax claim (.2); email H.
                                                                                    1.60    904.00
 3/1/18     PJG     0081 Winsberg re: status of claims (.1); draft amendment to
                         confidentiality agreement (.8).

                         Telephone call J. Chubak re: sale status (.2); confer
                         with B. Murphy and J. Brown re: sale issues (.5);          1.30    734.50
 3/1/18     PJG     0055
                         telephone call S. Fox re: sale process (.4); email H.
                         Winsberg re: sale issues (.2).
                         Email exchange E. Dobbs re: approval of mediator's
                         statement for filing with court (.1); review mediator's    0.30    169.50
 3/1/18     PJG     0060 statement (.1); email exchange A. Shapiro, J. Heller, I.
                         Jacobs re: draft mediator's statement (.1).
                         E-correspondence with P. Gurfein regarding status of
                                                                                    0.20    102.00
 3/2/18    JLRD     0060 case and sale/plan process and negotiations.

                         Telephone call A. Shapiro re: case status and plan and
                         sale update (.4); telephone call S. Roach re: plan and
                                                                                    1.00    565.00
 3/2/18     PJG     0060 sale issues (.2); confer with B. Murphy re: liquidation
                         analysis (.3); email B. Murphy re: sale update memo
                         from Glass Ratner (.1).
                         Memo to Committee re: case status and sale and plan
                                                                                    0.90    508.50
 3/2/18     PJG     0060 process (.9).

                         Email exchanges with Committee members re:
                                                                                    0.60    339.00
 3/2/18     PJG     0062 mediator's report, scheduling Committee meeting, and
                         status of sale process.
                         E-correspondence with P. Gurfein and J. Brown
                                                                                    0.10     51.00
 3/5/18    JLRD     0060 regarding sale and plan process and related discovery.

                         Telephone call with I. Jacobs re: mediation, sale
                         process, and plan process concerns (.5); email
                                                                                    1.80    1,017.00
 3/6/18     PJG     0062 exchanges with Committee members re: plan and sale
                         process concerns (1.1); email A. Shapiro re: Committee
                         concerns (.2).
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                         Conference call H. Winsberg re: follow-up to mediation
                         and status of sale and plan process and Committee
                         confidentiality Agreement (.5); email exchange H.           0.80   452.00
 3/6/18     PJG     0055 Winsberg re: concerns with sale process (.2); email B.
                         Murphy and B. Williams re: sale process follow-up and
                         assessment of offers (.1).
                         Research [sale process concerns re: collusive bidding]
                         (2.1); email K. Fackler re: research [on sale issues and
                         collusion] (.1); email H. Winsberg re: sale process (.1);   3.10   1,751.50
 3/7/18     PJG     0055
                         review proposal from National Maritime Museum (.6);
                         email B. Murphy re: issues with NMM proposal (.2).

                         Review Apollo/PacBridge proposal (.8); conference call
                         Akerman and Lincoln International re: assessment of         1.40   791.00
 3/9/18     PJG     0055
                         Apollo/PacBridge proposal (.6).

                         Prep for call with Committee (.6); conference call Equity
                         Committee re: plan and sale process and concerns with
                                                                                     2.10   1,186.50
 3/9/18     PJG     0062 case status (1.2); follow-up emails with estate
                         professionals re: Committee call (.3).

                         E-correspondence with P. Gurfein regarding
                                                                                     0.20   102.00
3/10/18    JLRD     0060 Alta/PacBridge/Apollo term sheet.

                         Review term sheet received from Debtors (PacBridge,
                         Alta and Apollo offer), and prepare analysis of same for    0.80   408.00
3/10/18    JLRD     0060
                         P. Gurfein.

                         Conference call with P. Gurfein, J. Brown and Lincoln
                                                                                     0.50   255.00
3/11/18    JLRD     0060 regarding Apollo/PacBridge/Alta term sheet: strategy
                         regarding same.
                         Conference with P. Gurfein regarding discovery;
                                                                                     0.30   153.00
3/12/18    JLRD     0060 strategy.

                                                                                     0.30   153.00
3/12/18    JLRD     0060 Review proposed discovery.

                         Confer with J. Brown re: status of D&O claims analysis
                                                                                     1.50   847.50
3/12/18     PJG     0057 and strategy for pursuit of claims (.2); review drafts of
                         discovery (1.1); email K. Fackler re: discovery (.2).
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                         Email Committee re: case status and update on sale
                                                                                    0.40   226.00
3/12/18     PJG     0062 process.

                         Email exchange A. Shapiro re: status of case (.3); email
                         Committee re: updated Armada proposal and financing        1.10   621.50
3/13/18     PJG     0062
                         issues (.3); telephone call F. Gerber re: case issues
                         (.5).
                         Confer with B. Williams, J. Brown, K. Fackler, J.
                         Dalberg re: case strategy and sale and plan process
                         (.6); telephone call J. Chubak re: sale process (.2);
                                                                                    2.30   1,299.50
3/13/18     PJG     0055 research [plan issues and equity interests] (1.1); email
                         M. Glade re: financial backup for Armada proposal (.2);
                         email J. Chubak re: Armada (.2).

                         Review liquidation analysis (.6); confer with B. Murphy    0.90   508.50
3/13/18     PJG     0060 re: liquidation analysis (.3).

                         Review stay relief motion re: Orlando lease (.1); confer
                                                                                    0.20   113.00
3/13/18     PJG     0081 with H. Winsberg, M. Brooks re: Orlando lease status
                         (.1).
                         E-correspondence with P. Gurfein regarding draft sale      0.20   102.00
3/13/18    JLRD     0060 process discovery.

                            Review LCIIG proposal/term sheet.                       0.20   102.00
3/14/18    JLRD     0060

                         Review NY Landlord lease settlement order (.1); update     0.80   452.00
3/14/18     PJG     0081 Committee website re: lease settlement order (.7).

                         Work on discovery issues (.9); confer with B. Murphy
                         re: potential buyers (.3); review purchase proposal from
                         Loongs (.5); review status update information from         2.00   1,130.00
3/14/18     PJG     0055 Glass Ratner re: sale process (.2); review Teneo
                         summary of Loongs proposal (.1).
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                         Email memo to Committee re: sale update (.5); email
                         exchange Committee members responding to inquiries
                                                                                    1.90   1,073.50
3/14/18     PJG     0062 re: sale process (.4); draft memo to Committee re:
                         overview of case status and direction and alternatives
                         (1).

                                                                                    3.00   480.00
3/14/18      EM     0081 Draft February 2018 interim fee request.

                         Draft memo to Committee re: case status update,
                         agenda for Committee call, and minutes of prior
                                                                                    2.40   1,356.00
3/15/18     PJG     0062 meeting (2.2); email to Committee re: upcoming
                         Committee call (.1); email I. Jacobs responding to
                         inquiries (.1).
                         Emails B. Murphy re: sale status (.2); review term sheet
                                                                                    0.50   282.50
3/15/18     PJG     0055 from Loongs (.2); review Armada follow-up funding
                         letter (.1).
                         Prep for Committee call (.6); participate in Equity
                                                                                    2.60   1,469.00
3/16/18     PJG     0062 Committee call (1.8); email exchanges Committee
                         members re: follow-up to Committee call (.2).
                         Memo to Committee re: case status, sale status, and
                                                                                    0.90   508.50
3/19/18     PJG     0062 analysis of term sheets.

                         Review Loongs term sheet (.2); research Loongs and
                         assessment of proposal (.4); telephone call J. Chubak
                                                                                    1.00   565.00
3/19/18     PJG     0055 re: sale and plan process (.2); telephone call H.
                         Winsberg re: sale process (.2).


                                                                                    1.00   565.00
3/19/18     PJG     0057 Review and revise D&O draft letter.

                         Review e-mails and attachments from P. Gurfein, T.
                                                                                    0.20   102.00
3/19/18    JLRD     0060 Kraus and A. Goodwin regarding update on sale
                         process and LCIIG term sheet.
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 3/31/18


  Date      Init.    Task               Description of Work Performed                    Hours   Amount

                            Email memo to Committee re: revised Armada                   0.20    113.00
3/20/18     PJG     0062
                            proposal.

                            Email M. Glade re: revised Armada proposal; review           0.30    169.50
3/20/18     PJG     0055
                            revised Armada proposal.

                            Review e-mail and attachment from P. Gurfein                 0.10     51.00
3/20/18    JLRD     0060
                            regarding update on sale process; Armada bid.

                            Email exchange with Financial Advisors re: status of
                            negotiations with various potential buyers (.2);             0.50    282.50
3/21/18     PJG     0055
                            telephone call J. Chubak re: Armada and sale issues
                            (.3).

                            Email exchange M. Brooks re: Orlando lease issues            0.20    113.00
3/21/18     PJG     0081
                            (.2).



                            Conference with P. Gurfein regarding status of sale          0.30    153.00
3/22/18    JLRD     0060
                            process and plan and disclosure statement issues.


                                                                                         2.10    1,071.00
3/22/18    JLRD     0060    Work on plan issues.



                            Email S. Roach re: execution of amendment to                 0.10     56.50
3/22/18     PJG     0081
                            confidentiality agreement.

                            Confer with B. Murphy and J. deKoe re: liquidation           0.40    226.00
3/22/18     PJG     0060    analysis (.2); letter to A. Ettinger re: sale of artifacts
                            (.2).

                            Telephone call A. Shapiro re: sale and plan process
                            and status (.3); email memo to Committee re: status
                            of sale and plan process (1); email I. Jacobs                1.60    904.00
3/22/18     PJG     0062
                            responding to inquiries re: sale and plan process (.1);
                            email Committee re: execution of amendment to
                            confidentiality agreement (.2).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 3/31/18
  Date      Init     Task                Description of Work Performed                   Hours    Amount

                          Email S. Roach re: executed confidentiality agreement
                                                                                          0.10     56.50
3/26/18     PJG      0081 between Equity Committee and Debtors (.1).


                         Telephone call S. Roach re: status of sale process (.1);
                         telephone call J. Chubak re: sale process (.3); email J.
                                                                                          0.70    395.50
3/26/18     PJG     0055 Brown, B. Murphy re: status of sale process and views
                         of Creditors Committee and of Debtors (.3).

                            Confer with A. Ettinger re: liquidation of assets (.3);
                            work on plan issues (1.1); confer with J. Dalberg re:
                            plan issues (.2); review and comment on draft                 2.10    1,186.50
3/26/18     PJG     0060
                            liquidation analysis (.3); confer with B. Murphy re:
                            liquidation analysis (.2).

                            Work on plan issues.                                          2.60    1,326.00
3/27/18    JLRD     0060

                         Conference with P. Gurfein regarding Equity Committee            0.30    153.00
3/27/18    JLRD     0060 plan concerns.

                         Telephone conference with P. Gurfein regarding plan
                                                                                          0.30    153.00
3/27/18    JLRD     0060 mediation, strategy going forward.

                         Review and revise draft letter re: status of D&O claim
                         and factors respecting litigation (.6); email J. Brown and       0.70    395.50
3/27/18     PJG     0057
                         B. Miller re: revisions to D&O status letter (.1).



                         Review liquidation of artifacts (.7); confer with B.
                         Murphy re: valuation of artifacts (.2); work on plan             2.00    1,130.00
3/27/18     PJG     0060
                         issues (1.1).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 3/31/18

  Date      Init     Task               Description of Work Performed                 Hours   Amount

                         E-correspondence with P. Gurfein regarding plan
                                                                                      0.20    102.00
3/28/18    JLRD     0060 issues.

                            Work on plan analysis.                                    4.20    2,142.00
3/28/18    JLRD     0060

                         Conference with P. Gurfein regarding liquidation of
                                                                                      0.30    153.00
3/28/18    JLRD     0060 assets.


                         Memo to Committee re: case status and sale process
                         (1.3); memo to Litigation Subcommittee of the Equity         1.50    847.50
3/28/18    PJG      0062
                         Committee re: D&O issues (.2).

                         Confer with J. Chubak re: status of sale process,
3/28/18    PJG           alternatives to sale process, and liquidation alternatives   0.80    452.00
                    0055
                         to whole company sale.

                         Memo re plan alternative to sale process (1.1); review
                                                                                      1.90    1,073.50
3/28/18    PJG      0060 plan alternatives (.8).



3/29/18                     Work on plan alternative issues.                          4.40    2,244.00
           JLRD     0060


                         E-correspondence with P. Gurfein regarding plan
3/29/18                                                                               0.10     51.00
           JLRD     0060 alternatives.


                            Revise draft Equity Committee liquidating plan.           0.90    459.00
3/29/18    JLRD     0060


                         Conference with P. Gurfein regarding plan and
3/29/18                                                                               0.30    153.00
           JLRD     0060 liquidation concerns.



                            Work on plan process and analysis.                        2.60    1,469.00
3/29/18     PJG     0060
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 3/31/18

  Date      Init     Task             Description of Work Performed             Hours     Amount

                         E-correspondence with P. Gurfein regarding plan         0.20      102.00
3/30/18    JLRD     0060 alternatives.


                                                                                 4.70     2,397.00
3/30/18    JLRD     0060 Work on plan alternatives.

                                                                                 3.70     1,887.00
3/30/18    JLRD     0060 Work on plan alternatives.

                                                                                 0.60      306.00
3/31/18    JLRD     0060 Work on plan alternatives.

                                                                                 1.10      561.00
3/31/18    JLRD     0060 Work on plan alternatives.


                                                                    Totals       82.50   $43,780.50




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RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 3/31/18

 Initials              Name            Hours              Rate     Amount
  PJG                  Gurfein          50.10           565.00   $28,306.50
 JLRD                  Dalberg          29.40           510.00   $14,994.00
   EM                  Meza             3.00            160.00      $480.00
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 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 3/31/18

 Date         Description                                                           Amount
3/1/18        Court Call with Judge Paul M. Glenn, Court Call (ID No.8798971).      $30.00

3/31/18       JND Corporate Restructuring (Invoice No. 2382 – March                 $667.02
              services).



                                                          Total Costs & Expenses:   $697.02
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TIME SUMMARY BY PHASE AND TASK THROUGH 3/31/18

                                                                             Hours      Amount
           0055             Asset Disposition                                   14.70    8,305.50

           0057             Asset Analysis and Recovery                          3.20    1,808.00

           0060             Chapter 11 Plan                                     41.50   21,830.50

           0062             Committee Communications                            17.10    9,661.50

           0081             Case Administration                                  6.00    2,175.00
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          5/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 4/30/18                                      $29,564.00

         Costs and Expenses Through 4/30/18                                                              $221.44
                                                              Total Amount of This Invoice            $29,785.44
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18

  Date      Init.    Task              Description of Work Performed                  Hours   Amount

                         E -correspondence with P. Gurfein, A. Shapiro, B.
 4/2/18     JLRD    0060 Murphy regarding liquidation analysis, Armada letter of      0.20    102.00
                         intent.


                            Review e-mail from A. Shapiro analyzing sale              0.20    102.00
 4/2/18     JLRD    0060
                            proposals.

                         Email memo to Committee re: Loongs proposal (.3);
                         email memo to Committee re: letters of intent and
 4/2/18     PJG     0062 liquidation issues (.4); confer with A. Shapiro re: equity   2.10    1,186.50
                         interests in Armada transaction (.2); email memo to
                         Committee re: sale process and alternatives (1.2).

                         Review revised proposal from Loongs (.6); email
                         question to M. Glade re: Loongs proposal (.1); email
                         Committee professionals re: summary of Loongs
                         proposal (.1); draft questions for follow up to Loongs
                         proposal (.3); email H. Winsberg re: issues with
 4/2/18     PJG     0055 Armada proposals (.4); telephone call H. Winsberg re:        1.90    1,073.50
                         issues with sale proposals (.2); email Committee
                         professionals re: questions about Armada proposal (.2).



                         Work on plan and disclosure statement issues (4.1);
                         review and revise proposed term sheet (.4); confer with
                         B. Murphy re: liquidation analysis (.2); email Committee
 4/2/18     PJG     0060 professionals re: plan and disclosure statement issues       4.90    2,768.50
                         (.2).


                         Memo to Committee re: status of sale process and
 4/4/18     PJG     0062 analysis of proposals and alternatives (1.4).                1.40    791.00
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18

  Date      Init.    Task              Description of Work Performed                  Hours   Amount

                         Review revised PacBridge proposal (.5); email J deKoe
                         re: summary of PacBridge proposal (.1); confer with
 4/4/18     PJG     0055 Committee's FA's re: valuing PacBridge proposal (.3);        1.00    565.00
                         confer with J. Brown re: PacBridge proposal and
                         response (.1).



                         Telephone call A. Shapiro re case status and pending
 4/5/18     PJG     0062 matters (.3); confer with I. Jacobs re pending matters       0.40    226.00
                         (.1).


                         Confer with potential contingency fee firm re: D&O
 4/5/18     PJG     0057 claims (.5); confer with J. Brown re: D&O claims (.2).       0.70    395.50


 4/5/18     PJG     0062 Telephone call A. Shapiro re: pending matters (.3).          0.30    169.50


                         E-correspondence with P. Gurfein, Committee
 4/6/18     JLRD    0060 members and I. Jacobs regarding analysis of Loongs           0.20    102.00
                         proposal and Committee call.



 4/6/18     JLRD    0060 E-correspondence with P. Gurfein regarding                   0.20    102.00
                         Loongs/Shangrila proposal and Committee meeting.


                         Review and revise discovery in connection with estate
 4/6/18     PJG     0057 causes of action (.6); email B. Miller re: D&O insurance     0.70    395.50
                         coverage issues (.1).


                         Email A. Shapiro re: communications from equity
 4/6/18     PJG     0062 holders (.1); email I. Jacobs re: sale process (.2); email   0.60    339.00
                         Committee re: subject matters for next Committee call
                         (.3).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18

  Date      Init.    Task              Description of Work Performed                  Hours   Amount

                         Review further revised term sheet from Loongs (.2);
 4/6/18     PJG     0055 review mark-up of term sheet with equity committee           1.20    678.00
                         comments and insert comments to letters of intent from
                         Committee (1).


 4/6/18     PJG     0060 Work on plan issues and review disclosure items (4.5).       4.50    2,542.50



 4/7/18     JLRD    0060 E-correspondence with P. Gurfein and A. Shapiro              0.10     51.00
                         regarding LCIIG proposal.

                            Mark up PacBridge proposal with Committee                 0.80    452.00
 4/8/18     PJG     0055
                            comments and questions.


                         Review further revised Loongs proposal (.6); Email H.
                         Winsberg re: Equity Committee comments and
 4/9/18     PJG     0055 questions for Loongs (.2); email M. Glade re: questions      1.00    565.00
                         re: Loongs revised proposal (.2).



                         Telephone call I. Jacobs re: case status (.4); email to
                         Committee re: Equity Committee comments to Loongs
                         proposal (.2); draft agenda for Committee call (.4); draft
 4/9/18     PJG     0062 minutes of 3/16 Committee call (.8); email memo to           3.00    1,695.00
                         Committee re: committee call and case status (1); email
                         Committee re: J. Henshall responses to financial
                         information questions (.2).



                            Review material re: D&O claims from Akerman (.2);         0.30    169.50
 4/9/18     PJG     0057
                            confer with J. Meehan re: D&O coverage (.1).


                         Review company's response to equity committee
 4/9/18     PJG     0081 questions re: financial information (.2); court              1.00    565.00
                         appearance (telephonic) re: Orlando lease stay relief
                         motion (.8).
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  Date      Init.    Task               Description of Work Performed              Hours   Amount

                            E-correspondence with P. Gurfein regarding markup of   0.30    153.00
4/10/18    JLRD     0060
                            Apollo/PacBridge term sheet and review same.


                         Email exchange E. Moreno re: securities law issues on
4/10/18     PJG     0060 sale proposals and in plan (.4); email exchange W.        0.80    452.00
                         Sullivan re: tax issues in sale process and plan (.4).

                         Review stay relief draft order and comment on same
4/10/18     PJG     0081 (.1).                                                     0.10    56.50

                         Send markup of PacBridge proposal to H. Winsberg
4/11/18     PJG     0057 and M. Glade with Equity Committee comments (.4);         0.50    282.50
                         confer with B. Murphy re: engaging with Debtors on
                         sale and plan issues (.1).


                         Email memo to Committee re: sale status and Loongs
4/12/18     PJG     0062 proposal and analysis of financial information (.6);      0.80    452.00
                         confer with Committee members re: follow up to
                         Loongs financial information (.2).


                         Review revised Loongs proposal and financial
4/12/18     PJG     0055 information (.5); confer with Committee financial         0.70    395.50
                         advisors re: assessment of Loongs financial information
                         (.2).

                         Finalize review and revisions to invoices in connection
                         with March interim fee request (.9); letter to UST re:    1.10    621.50
4/13/18     PJG     0065
                         March interim fee request (.1); email J. Chubak and H.
                         Winsberg re: interim fee request redactions (.1).


                         Telephone call A. Shapiro re: witnesses re: D&O claims    0.70    395.50
4/13/18     PJG     0062 (.2); confer with I. Jacobs re: case status and sale
                         issues (.5).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18

  Date      Init.    Task              Description of Work Performed                Hours   Amount

                         Telephone call J. Chubak re: sale issues (.2); telephone
4/13/18     PJG     0055 call H. Winsberg re: sale issues and Loongs financials     0.40    226.00
                         (.2).


4/13/18      EM     0081 Draft March 2018 interim fee request.                      3.00    480.00


                         Conference call J. Lamet and B. Miller re: D&O claims      1.20    678.00
4/13/18     PJG     0057 (1); confer with B. Miller re: potential witnesses in
                         connection with D&O claims (.2).


                         Telephone call J. Chubak re: Alta contacts with
                         Committee (.1); email A. Shapiro re: Committee issues      0.30    169.50
4/15/18     PJG     0055
                         and Alta contacts (.1); email H. Winsberg re:
                         Committee contacts and Alta (.1).


                            E-correspondence with W. Sullivan, tax counsel,         0.10    51.00
4/17/18    JLRD     0060
                            regarding his comments to disclosure statement.


                            Review comments of tax counsel to disclosure            0.50    255.00
4/17/18    JLRD     0060
                            statement.


                         Review e-mails from P. Gurfein, I. Jacobs, F. Gerber,
4/17/18    JLRD     0060 A. Shapiro regarding sale process; actions of Apollo &     0.20    102.00
                         PacBridge and strategies in response to same.

                         Review e-memorandum from P. Gurfein regarding
                         update on sale process, including efforts of Apollo and    0.10    51.00
4/17/18    JLRD     0060
                         PacBridge to solicit unsecured Committee support.


                         Review email memo and mark-up input from W.
4/17/18     PJG     0060 Sullivan re: tax consequences of sale and plan issues      0.80    452.00
                         (.8).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18
  Date      Init     Task                Description of Work Performed                    Hours   Amount

                         Memo to Committee re: case status and sale process               1.90    1,073.50
4/17/18     PJG     0062 updates (1.4); telephone call A. Shapiro re: status (.2);
                         telephone call I. Jacobs re: status (.3).

                          Telephone calls J. Chubak re: sale process (.2);                0.40    226.00
4/17/18     PJG      0055 telephone call H. Winsberg re: Alta contacts with
                          Committees (.2).

                         Email memo to Committee re: analysis of bids received
                         by Debtors (.9); email to Committee re: assessment of
4/18/18     PJG     0062 financial information received from Loongs (.1); email           1.20    678.00
                         exchanges with Committee members re: financial
                         information from bidders (.2).


                            Review revised PacBridge offer (.4); confer with
                            committee’s Financial Advisors re analysis of
                            PacBridge offer (.2); research issues pertaining to
                            chilling the bid at auction (1.2); research issues re Atty.
                            client privilege (.6); email M. Glade re Loongs Financial
4/18/18     PJG     0055    information (.1); review summary analysis of pending          4.00    2,260.00
                            offers prepared by committee's Financial Advisors (.4);
                            telephone call with J. Chubak re bid issues (.1); confer
                            with Financial Advisors re Loongs Financial information
                            (.2); mark up the PacBridge offer with equity committee
                            comments (.7); email to H. Winsberg and M. Glade re
                            equity committee markup and comments to PacBridge
                            April 18 term sheet (.1).

                         Review email memo form R. Charboneau re: D&O
4/19/18     PJG     0057 claims (.3); email J. Brown, B. Miller re: assessment of         0.80    452.00
                         D&O claims (.1); review memo re: analysis of D&O
                         claims (.4).


                         Confer with B. Murphy re: liquidation analysis (.2);
4/19/18     PJG     0055 confer with A. Ettinger re: analysis of liquidation value        0.30    169.50
                         (.1).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 4/30/18

  Date      Init     Task              Description of Work Performed                  Hours     Amount
                         Review report re: venue revenue (.2); confer with B.
4/19/18    PJG      0081 Murphy re: venue revenue report (.1); review March            0.40     226.00
                         hour detail for Teneo (.1).

                         Review Premier March financials and email FA's re:
4/20/18    PJG      0081 same (.1); work on liquidation analysis from sale             1.30     734.50
                         process (1); email J. Brown, B. Miller re: retention of
                         counsel (.2).
                         E-correspondence with P. Gurfein and T. Kraus
4/23/18    JLRD     0060 regarding sale process, Debtor's decision not to              0.20     102.00
                         designate as stalking horse bidder and latest Armada
                         offer.

                         Memo to Committee re summaries of sale proposals
4/23/18    PJG      0062 and responding to inquiries re: sale proposals (.8).          0.80     452.00

                         Email Committee re: sale proposals analysis (.5); email
                         memo to Committee re: Armada proposal and
                         financials (.4); email Committee re: Museum revised           1.90    1,073.50
4/23/18    PJG      0062
                         proposal (.2); Committee memo re: derivative standing
                         (.8).

                         Email exchange B. Murphy re: PacBridge proposal and
                         board direction (.2); telephone call H. Winsberg re:
                         Loongs proposal (.2); review Armada revised proposal
                         and financial info (.7); confer with Committee's FAs re:
4/23/18    PJG      0055 Armada 10-k (.2); email FAs re: cash flow budget (.1);        2.00    1,130.00
                         review revised proposal from National Maritime
                         Museum (.4); confer with A. Ettinger re: liquidation
                         values (.2).


4/26/18     PJG     0055 Email exchange I. Jacobs re: sale process questions;          0.10      56.50
                         email J. Feldsher re: Apollo confidentiality agreement.

4/26/18     PJG     0055 Telephone call S. Roach re: sale process (.3).                0.30     169.50

4/27/18     PJG     0057 Review and revise draft demand letter re: D&O claims          0.80     452.00
                         and derivative standing.

                                                                         Totals        54.70   $29,564.00
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RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 4/30/18

 Initials              Name            Hours              Rate     Amount
  PJG                  Gurfein          49.40           565.00   $27,911.00
 JLRD                  Dalberg          2.30            510.00    $1,173.00
   EM                  Meza             3.00            160.00      $480.00
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 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 4/30/18

 Date         Description                                                            Amount
4/9/18        Court Call with Judge Paul M. Glenn, Court Call (ID No. 8958341).      $37.00

4/30/18       JND Corporate Restructuring (Invoice No. 2420 – April                  $184.44
              services).



                                                           Total Costs & Expenses:   $221.44
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Premier Exhibitions, Inc.
RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 4/30/18

                                                                             Hours     Amount
           0055             Asset Disposition                                  14.40   $8,136.00

           0057             Asset Analysis and Recovery                        5.00    $2,825.00

           0060             Chapter 11 Plan                                    13.30   $7,388.00

           0062             Committee Communications                           15.10   $8,531.50

           0065             Employment and Fee Application                     1.10         621.50

           0081             Case Administration                                5.80    $2,062.00
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          6/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 5/31/18                                      $43,810.50

         Costs and Expenses Through 5/31/18                                                              $216.66
                                                              Total Amount of This Invoice            $44,027.16
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init.    Task              Description of Work Performed                   Hours   Amount


 5/1/18     PJG     0081 Review article re: Titanic exploration and email to B.        0.10     56.50
                         Wainger and H. Winsberg re: same (.1).



 5/1/18     PJG     0062 Memo to Committee re: sale process, case status               0.90    508.50
                         update, and derivative standing demand.

                         Review draft letter to H. Winsberg re: D&O claims and
                         derivative standing and revise same (1.1); confer with
                         J. Brown re: revisions to D&O demand letter (.2);
                         incorporate further revisions to D&O demand letter re:
                                                                                       2.20    1,243.00
 5/1/18     PJG     0057 derivative standing (.6); email H. Winsberg re:
                         derivative standing demand letter (.1); telephone call (v-
                         mail) H. Winsberg re: derivative standing letter (.1);
                         telephone call J. Chubak re: derivative standing
                         demand letter (.1).




 5/1/18     PJG     0055 Telephone call H. Winsberg re: sale process and case          0.50    282.50
                         status (.2); email Lincoln International re: sale process
                         (.2); telephone call J. Brown re: sale process, case
                         status, and D&O recoveries (.1).




 5/2/18     PJG     0057 Review and revise draft motion re: derivative standing.       1.30    734.50



 5/2/18     PJG     0060 Review declaration from A. Ettinger re: Guernsey's            0.60    339.00
                         retention (.4); confer with J. Brown re: plan structure
                         (.2).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init.    Task             Description of Work Performed               Hours   Amount


 5/4/18     PJG     0062 Email memo to Committee re: NMM offer and status of      0.90    508.50
                         sale process.



                                                                                  1.40    791.00
 5/4/18     PJG     0057 Review and revise draft motion for derivative standing
                         to pursue D&O claims (1.4).



                         Email memo to Committee re: status of NMM offer and
                         sale status in general (.7); review proposals with A.    1.30    734.50
 5/4/18     PJG     0062 Shapiro from Loongs and NMM (.4); email Lincoln re:
                         issues raised by Committee re: Loongs proposal (.2).

                         Review revised proposal from NMM (.6); email B
                         Murphy re: sale status and proposal from NMM (.1);
 5/4/18     PJG     0055 email Debtors' professionals re: proposal from NMM       1.70    960.50
                         (.2); email H. Winsberg re: response to Loongs
                         proposal and review same (.6); email Committee's FAs
                         re: Loongs proposal (.2).




 5/7/18     PJG     0062 Email exchanges with members of Committee re: sale       0.30    169.50
                         proposals under consideration.



 5/7/18     PJG     0060 Review tax issues memo from W. Sullivan re: tax          0.50    282.50
                         issues in plan and disclosure statement (.5).


                         Memo to Committee re: sale status and case status
 5/8/18     PJG     0062 (1.4); email exchanges with Committee members re:        1.50    847.50
                         status of sale process and case (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date       Init.   Task               Description of Work Performed                  Hours   Amount
 5/8/18      PJG     0055 Telephone call H. Winsberg re: sale process status.          0.10     56.50


 5/8/18      PJG     0057 Confer with J. Brown re: derivative standing motion (.2).    0.20    113.00



                          Telephone conference with P. Gurfein regarding plan,
 5/9/18     JLRD     0060 conference call with Equity Committee and                    0.10     51.00
                          professionals.



 5/9/18     JLRD     0060 E-correspondence with P. Gurfein and J. Heller and           0.10     51.00
                          conference with P. Gurfein regarding Equity Committee
                          conference call on plan status.


                          Draft minutes from 4/18/18 Committee call (.6); draft
                          agenda for Committee call 5/10/18 (.4); email memo to
 5/9/18      PJG     0062 Committee re: 5/9/18 Committee call (.3); email Special
                                                                                       2.00    1,130.00
                          Litigation Subcommittee of the Equity Committee re:
                          contingency fee counsel (.4); email exchanges with
                          Special Committee members re: contingency fee
                          counsel contract (.1); confer with B. Murphy re: financial
                          report to Committee (.2).
 5/10/18    JLRD     0060 Attend telephonic meeting of Equity Committee and
                          professionals regarding status of case, Equity               1.10    561.00
                          Committee Plan and related matters.


 5/10/18     PJG     0055 Email and v-mail H. Winsberg re: sale status (.1); v-mail
                          T. Skillman re: inquiry respecting sale process (.1);        0.30    169.50
                          email B. Murphy re: sale status issues (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init.    Task               Description of Work Performed                 Hours   Amount

                            Review Debtors' written responses to inquiries re:        0.30    169.50
5/10/18     PJG     0081
                            Debtors' finances (.3).



                         Review email response from H. Winsberg to demand
                         for D&O standing including analysis of case law (.8);
                         email J. Brown, B. Miller, J. Lamet re: assessment of
                         response to derivative standing demand from H.
5/10/18     PJG     0057 Winsberg (.2); confer with K. Fackler re: analysis of        2.30    1,299.50
                         case law re: derivative standing (.1); further review and
                         revision to derivative standing motion (1); confer with K.
                         Fackler and R. Charbonneau re: retention for D&O
                         litigation (.2).


                         Prep for Committee call (.8); attend Committee call
5/10/18     PJG     0062 (1.2); email A. Shapiro re: inquiries with Daoping Bao       2.10    1,186.50
                         re: Loongs proposal (.1).



5/11/18     PJG     0062 Email Committee re: derivative standing motion and           0.80    452.00
                         status of sale negotiations and sale process.



                         Email exchange R. Charbonneau re: retention
                         agreement and filing of application to retain Agentis        1.60    904.00
5/11/18     PJG     0057
                         (.2); review and revise draft motion for derivative
                         standing (1.4).


                         Telephone call T. Skillman re: status of sale process
5/11/18     PJG     0055 (.2); email H. Winsberg re: status of sale process and       0.30    169.50
                         conversation with T. Skillman (.1).


                         Review e-memorandum from P. Gurfein summarizing
                                                                                      0.10     51.00
5/11/18    JLRD     0060 status of sale process.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init.    Task              Description of Work Performed                   Hours   Amount

5/14/18      EM     0081 Draft April 2018 interim fee request.                         2.50    400.00

                         Email exchanges with Committee members re: terms of           0.30    169.50
5/14/18     PJG     0062 retention of Agentic as contingency fee counsel.


                         Confer with J. Brown re: contingency fee counsel (.4);
                         review and finalize retention application and certification   1.20    678.00
5/14/18     PJG     0057 of necessity and email same to J. Brown for final review
                         (.7); telephone call (v-mail) H. Winsberg re: filing
                         application for retention of contingency fee counsel (.1).

5/14/18     PJG     0060 Email J. Brown, B. Murphy, re: plan and disclosure
                         statement outline (.4); work on outline of plan and           2.60    1,469.00
                         disclosure issues (2.2).

                         Work on litigating trust agreement (1.7); email
5/15/18     PJG     0060 exchange E. Moreno and W. Sullivan re: tax and                2.00    1,130.00
                         securities law issues re: chapter 11 plan (.3).
                         Review draft pleadings and assessment of legal issues
5/15/18     PJG     0057 re: derivative standing (1); conference call J. Chubak, J.
                         Brown re: retention of contingency fee counsel (.1).          1.10    621.50



5/16/18     PJG     0062 Telephone call A. Shapiro re: case status (.2); email
                         exchanges with Committee members re: case status              0.40    226.00
                         (.2).
                            Review Debtor's termsheet for Pacbridge/Alta/Apollo        0.30    153.00
5/16/18    JLRD     0060
                            sale.



5/16/18    JLRD     0060 E-correspondence with P. Gurfein regarding Debtor's           0.20    102.00
                         term sheet for Pacbridge/Apollo/Alta deal.




                         Review e-correspondence from P. Gurfein and J.
5/16/18    JLRD     0060 Brown regarding markup of Equity Committee plan and           0.40    204.00
                         disclosure statement and review same.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18
  Date      Init     Task              Description of Work Performed                  Hours   Amount

                            Email S. Roach re: sale issues (.1); review revised
5/16/18     PJG     0055
                            Pacbridge term sheet (.2); confer with financial          0.50    282.50
                            advisors re: term sheet (.2).

                            Confer with J. Brown re: plan and case status (.1);
                            review markup of plan from W. Sullivan re: tax issues
                            (.4); review disclosure statement mark-up re: tax
                            issues (.4); review Teneo distribution analysis (.2);     5.10    2,881.50
5/16/18     PJG      0060   confer with J. deKoe re: distribution analysis (.2);
                            work on Plan draft (1.6); work on Disclosure
                            Statement draft (2.1); email J. Brown re: further
                            issues re: Plan and Disclosure Statement (.1).

                            Email exchanges with Committee members re:
5/17/18     PJG     0062    derivative standing motion, summary of PacBridge          0.30    169.50
                            Group terms, and case status.

                            Work on plan draft (2.8); research plan issues (.9);
                            work on disclosure statement draft (3.1); review case
                            history and financing issues for disclosure statement     8.30    4,689.50
5/17/18     PJG     0060    (.6); review revised tax discussion for disclosure
                            statement (.2); research voting issues under plan (.4);
                            confer with J. Brown re: plan procedural issues (.3).

                            Telephone call J. Brown re: plan issues (.2); review J.
                            Henshall claims analysis in connection with plan
                            issues (.3); email B. Murphy re: J. Henshall claims
5/18/18     PJG     0060    analysis (.1); confer with W. Sullivan re: plan tax       1.90    1,073.50
                            issues (.3); review tax provisions of plan and conform
                            to issues discussed with W. Sullivan (.8); confer with
                            Committee's FAs re: cash flow issues (.2).


                            Conference with P. Gurfein regarding plan.                0.30    153.00
5/18/18    JLRD     0060



5/21/18    JLRD     0060    E-correspondence with P. Gurfein regarding                0.50    255.00
                            treatment of secured claims in Equity Committee plan
                            and review plan provisions regarding same.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init     Task              Description of Work Performed                  Hours    Amount

5/21/18    PJG      0081 Draft limited opposition to Euclid Trustee Motion (.8).       0.80    452.00

                         Review opposition of Creditors Committee to Derivative        1.80    1,017.00
5/21/18    PJG      0057 Standing motion (.4); email R. Charbonneau re:
                         Creditors Committee opposition (.1); review Debtors'
                         opposition to derivative standing motion (.6); email R.
                         Charbonneau re: Debtors' opposition to derivative
                         standing motion (.1); confer with J. Brown re: opposition
                         to derivative standing motion (.2); confer with B. Miller
                         to opposition to Derivate Standing Motion (.2); confer
                         with R. Charbonneau re: response to opposition to
                         Derivative Standing motion (.2).

                         Work on Plan draft (1.5); work on disclosure statement
5/21/18    PJG      0060 draft (1.6); confer with B. Murphy re: revisions to           3.30    1,864.50
                         liquidation analysis (.2).

                         Telephone call J. Brown and R. Charbonneau re:
                         derivative standing motion settlement (.4); conference
                         call M. Brooks, S. Roach, R. Charbonneau, J. Brown
                         re: consensual resolution of the derivative standing
                         motion (.8); telephone call J. Chubak re: derivative
5/22/18    PJG      0062 standing motion (.1); review and revise draft form of         2.80    1,582.00
                         order settling derivative standing motion (.3); confer
                         with S. Roach, M. Brooks, J. Chubak, R. Charbonneau
                         re: resolution of derivative standing motion (.4); prepare
                         outline of argument for hearing re: derivative standing
                         motion (.8).


                         Email Committee re: results of derivative standing            0.20    113.00
5/23/18    PJG      0062 motion (.2).


5/23/18    PJG      0081 Review analysis of Monthly Operating reports (.4);            0.60    339.00
                         confer with Lincoln re: DIP requirements per MORs (.2).

                         Review revised derivative standing hearing argument
                         outline (.3); confer with J. Brown re: derivative standing
                         hearing (.2); email exchanges re: draft complaint (.3);
5/23/18     PJG     0057 attend hearing (telephonic) re: derivative standing           2.20    1,243.00
                         motion (1.2); confer with J. Brown re: final form of order
                         (.2).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init     Task               Description of Work Performed                Hours   Amount
                         Review and comment on Debtors and Creditors
                         Committee markup of proposed form of order re:
                         derivative standing (.2); email exchanges with Debtors
5/24/18    PJG      0057 re: form of Derivative Standing order (.2); conference      1.70    960.50
                         call Creditors Committee, Equity Committee and
                         Debtors’ counsel negotiating form of derivative standing
                         order (.5); review draft email to chambers re: competing
                         orders re: derivative standing (.3); email exchange M.
                         Brooks re: avoidance actions (.1); telephone call J.
                         Chubak re: avoidance actions (.1); final draft of form of
                         order and email to chambers re: derivative standing
                         order (.3).


                         Email memo to Committee re: entry of derivative             0.20    113.00
5/25/18    PJG      0062 standing order (.1); upload entry to Committee website
                         re: entry derivative standing order (.1).

                         Email to H. Winsberg re: derivative standing motion         0.70    395.50
5/25/18    PJG      0057 meet and confer re: order (.1); conference call M.
                         Brooks, S. Roach, J. Chubak re: Derivative Sanding
                         Order (.5); review entered order re: derivative standing
                         (.1).


                         Review revised Liquidation Analysis (.2); revise            0.70    395.50
5/25/18    PJG      0070 Disclosure Statement re: financial information (.5).


                         Draft Notice to District Court of filing of Equity
5/26/18    PJG      0062 Committee plan and disclosure statement.                    1.90    1,073.50


                         Confer with J. Brown re: filing of Plan and Disclosure
                         Statement (.2); review markup of District Court Notice
                         (.2); review and markup revised Disclosure Statement        3.00    1,695.00
5/30/18    PJG      0081 (.8); review proposal for CRO and Liquidating Trustee
                         (.4); email Committee financial advisors re: liquidation
                         analysis and CRO issues (.2); review plan (1.1); confer
                         with J. Brown re: filing of plan and disclosure statement
                         (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 5/31/18

  Date      Init     Task              Description of Work Performed                   Hours    Amount
5/30/18    JLRD     0060 Review e-correspondence between P. Gurfein and J.             0.10      51.00
                         Brown regarding motion to intervene in District Court.


5/30/18    JLRD     0060 Conference with P. Gurfein regarding motion to                0.10      51.00
                         intervene in district court; strategy with respect to same.


5/31/18    JLRD     0060 Conference with P. Gurfein regarding comments to              0.20     102.00
                         plan.


5/31/18    JLRD     0060 E-mail to P. Gurfein regarding comments to Equity             0.10      51.00
                         Committee plan.


5/31/18    JLRD     0060 Review current drafts of Equity Committee's plan and          1.20     612.00
                         disclosure statement.



                         Email exchange K. Fackler re: exhibits to Plan (.3);
                         telephone call A. Ettinger re: execution of declaration
5/31/18    PJG      0060 re: retention of Guernsey's (.1); final preparation of Plan   5.70    3,220.50
                         (1.1); final preparation of disclosure statement (2.1);
                         conference call J. Brown, K. Fackler finalizing plan (.6)
                         and disclosure statement (.8); work on Notice to District
                         Court of filing of plan and disclosure statement (.3);
                         confer with A. Shapiro re: retention of Guernsey’s and
                         filing of plan (.1); retention agreement exhibit to
                         declaration of A. Ettinger (.2); review engagement letter
                         from Guernsey's (.1).



                                                                         Totals        79.80   $43,810.50
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Premier Exhibitions, Inc.                               LLP
RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 5/31/18

 Initials              Name            Hours              Rate     Amount
   PJG                 Gurfein          72.50           565.00   $40,962.50
  JLRD                 Dalberg          4.80            510.00    $2,448.00
   EM                   Meza            2.50            160.00      $400.00
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                                                                    LLP
 Premier Exhibitions, Inc.
 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 5/31/18

 Date         Description                                                          Amount
5/31/18       JND Corporate Restructuring (Invoice No. 2458 – May                  $216.66
              services).



                                                         Total Costs & Expenses:   $216.66
         Case 3:16-bk-02230-PMG               Doc 1275    Filed 12/07/18   Page 90 of 159


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                                                                    LLP
Premier Exhibitions, Inc.
RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 5/31/18

                                                                             Hours     Amount
           0055             Asset Disposition                                  3.40     1,921.00

           0057             Asset Analysis and Recovery                        17.70   10,000.50

           0060             Chapter 11 Plan                                    38.50   21,488.50

           0062             Committee Communications                           14.00    7,910.00

           0070             Litigation/Adversary Proceeding                    1.90     1,073.50

           0081             Case Administration                                4.30     1,417.00

                                                                                             00
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          7/16/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 6/30/18                                       $60,339.00

         Travel Time (Not Charged to Estate)                                                          -$11,582.50

         Costs and Expenses Through 6/30/18                                                             $1,894.61
                                                              Total Amount of This Invoice             $50,651.11
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                                                                         LLP



Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18

  Date      Init.    Task               Description of Work Performed                     Hours   Amount

 6/1/18     JLRD    0060    Conference with P. Gurfein regarding plan termsheet.          0.20    102.00


                            E-correspondence with P. Gurfein, J. Brown and A.             0.50    255.00
 6/1/18     JLRD    0060    Shapiro regarding plan term sheet.


 6/1/18     PJG     0070    Work on limited opposition to Euclid trustee Motion.          1.00    565.00


                            Email Committee re: filing of plan and disclosure
                            statement (.4); confer with A. Shapiro re: filing of plan     0.50    282.50
 6/1/18     PJG     0062
                            and disclosure statement (.1).


                            Work on final revisions to Equity Committee Chapter
                            11 Plan (3.4); work on finalizing Equity Committee
                            Disclosure Statement (2.8); work on issues pertaining
                            to noticing District Court of plan and disclosure
                            statement (.5); telephone call (v-mail) and email H.
                            Winsberg re: filing of Equity Committee plan (.1);
                            telephone call J. Chubak re: filing of Equity Committee
                            Chapter 11 plan (.2); telephone call M. Brooks re: filing
                            of Equity Committee Chapter 11 plan (.1); telephone
                            call B. Wainger re: filing of Equity Committee Chapter
 6/1/18     PJG     0060    11 plan and notice to District Court (.3); telephone call     9.10    5,141.50
                            H. Siegel re: filing of Equity Committee plan (.1); email
                            exchange Guernsey's re: auction issues in plan and
                            filing of plan (.2); conference call J. Brown, B. Williams,
                            B. Murphy re: plan and liquidating trust (.6); letter to B.
                            Wainger re: filing of plan and disclosure statement and
                            agreement re: notice to District Court Judge Smith (.8).




 6/3/18     PJG     0060    Telephone call H. Siegel re: Equity Committee plan            0.40    226.00
                            and Euclid Trustee Motion.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18

  Date      Init.    Task               Description of Work Performed                  Hours   Amount
 6/4/18     PJG     0062    Email A. Shapiro re: status of plan filing (.2); email     1.00    565.00
                            Committee memo re: case update and plan filing (.8).

                            Notice to Committee website re: filing of plan and         0.90    508.50
 6/4/18     PJG     0060    disclosure statement (.8); telephone call and email A.
                            Ettinger re: filing of Equity Committee plan and
                            disclosure statement (.1).
                            Conference with P. Gurfein regarding District Court        0.20    102.00
 6/5/18     JLRD    0060    strategy.

                            Review e-mail and attachment from P. Gurfein               0.20    102.00
 6/5/18     JLRD    0060    regarding District Court, strategy with respect to
                            Debtors' proposed sale.


 6/5/18     PJG     0455    Travel to Florida for hearing re: Euclid Trustee Motion.   7.50    4,237.50


                            Organize files for Euclid trustee motion argument and      1.40    791.00
 6/5/18     PJG     0070    prepare argument (1.4).


                            Review filed complaint re: D&O claims (.6); draft
                                                                                       0.90    508.50
 6/5/18     PJG     0070    update for website on filing of D&O adversary
                            proceeding (.3).

                         Email Committee re: filing of D&O adversary
                         proceeding (.5); telephone call I. Jacobs re: case status
 6/5/18     PJG     0062 update (.2); confer with A. Shapiro re: case status and       0.90    508.50
                         equity holder issues (.2).

                         Email A. Shapiro re: website updates and
                         communications with equity holders (.3); email
 6/6/18     PJG     0062 Committee re: Debtors’ opposition to Trustee motion           1.00    565.00
                         and term sheet for sale of company to PacBridge
                         Group (.7).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18

  Date      Init.    Task               Description of Work Performed                Hours   Amount
                         Review Debtors’ opposition and arguments re:
                         appointment of Trustee including PacBridge term sheet
                         exhibit to opposition and review legal arguments and
                         research same (4.6); prep for argument re: Trustee
 6/6/18     PJG     0070 motion (.6); confer with J. Brown re: trustee motion and    5.70    3,220.50
                         arguments (.2); confer with H. Siegel re: trustee motion
                         (.3).


 6/6/18     PJG     0455 Travel to Jacksonville for hearing re: Euclid Trustee       3.00    1,695.00
                         Motion.

                         Review e- correspondence from P. Gurfein regarding          0.20    102.00
 6/7/18     JLRD    0060 hearing on Euclid Trustee motion.


                         Telephone call K. Jorrie re: AEG treatment under            0.30    169.50
 6/7/18     PJG     0060 Equity Committee plan.

                            Travel: Jacksonville to Los Angeles returning from       10.00   5,650.00
 6/7/18     PJG     0455
                            hearing re: Euclid Trustee Motion.


                         Memo to Committee re: hearing on Euclid Trustee
                         motion, Debtors' sale motion, and case update (2.1);
 6/7/18     PJG     0062 email A. Shapiro re: equity holder inquiries re: sale       2.30    1,299.50
                         motion and Trustee motion (.2).



                         Finalize argument re: Euclid Trustee Motion (1); confer     3.90    2,203.50
 6/7/18     PJG     0081 with J. Brown re Euclid Trustee motion argument (.3);
                         attend Court hearing re: Euclid Trustee motion (2.6).


 6/8/18     PJG     0081 Email M. Brooks and R. Charbonneau re: stay of              0.10     56.50
                         adversary proceeding.

 6/8/18     PJG     0062 Email exchange A. Shapiro re: equity inquiries and          0.10     56.50
                         financing issues (.1).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18

  Date       Init.   Task               Description of Work Performed                    Hours   Amount
                            Conference call B. Murphy, B. Williams, J. Brown re:
                            plan and disclosure statement issues (.6); email
                            exchange B. Murphy re: financing under Equity
                            Committee plan (.2); telephone call H. Siegel re: Equity
 6/8/18     PJG      0060   Committee plan issues (.4); email exchange B.                1.80    1,017.00
                            Wainger re: insert to periodic report re: Equity
                            Committee plan (.4); telephone call B. Sheehy re:
                            financing plan issues (.2).


6/10/18     PJG      0060   Email exchanges B. Sheehy re: financing alternatives.        0.10     56.50
                            Email Glass Ratner and Debtors re: access to data
                            room for potential funding sources (.2); emails and
                            telephone call B. Sheehy re: due diligence and access
                            to data room (.3); confer with J. Chubak re: plan and
6/11/18     PJG      0060   case status (.5); email and v-mails H. Winsberg re:          1.80    1,017.00
                            access to data room for potential funding sources (.2);
                            telephone call J. Brown re: case update (.2); confer
                            with B. Wainger re: inserts to periodic report (.4).


                            Telephone call J. Heller re: case status (.2); memo to       0.90    508.50
6/12/18     PJG      0062
                            Committee re: case status update (.7).

                            Email and v-mail H. Winsberg re: access to data room         1.60    904.00
                            for potential funding sources (.1); telephone call with H.
                            Winsberg re: NDA for access to data room by potential
6/12/18     PJG      0060   funding source (.1); confer with J. Brown re: plan
                            issues (.1); email exchange W. Sullivan and E. Moreno
                            re: liquidating trust certificates (.2)., research re:
                            liquidating trust certificates (1.1).


                            Review and revise subpoenas re: document production          1.00    565.00
6/13/18     PJG      0055
                            relating to sale process.

                            Email exchange with potential funding source re: exit
                            financing (.2); emails M. Glade, H. Winsberg, McCaleb
6/13/18     PJG      0060   re: NDAs for funding sources (.3); email exchange B.         0.70    395.50
                            Murphy and B. Williams re: CRO and liquidating
                            trustee (.2).
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  Date      Init.    Task               Description of Work Performed                    Hours   Amount

                            E-correspondence and conference with P. Gurfein              0.30    153.00
6/13/18    JLRD     0060
                            regarding Equity Committee plan.


6/14/18      EM     0081 Draft May 2018 interim fee request.                             2.50    400.00

                         E-correspondence with P. Gurfein and E. Moreno
                         regarding certificates of interest in liquidating trust to be   0.10     51.00
6/14/18    JLRD     0060
                         established under Equity Committee Plan.

6/14/18    JLRD     0060 Review agenda for Equity Committee conference call              0.20    102.00
                         received from P. Gurfein and comments regarding
                         same from Committee chair.

                         Draft minutes for May 10 Committee meeting (.8); draft
                         agenda for June 15 Committee meeting (.4); email                3.30    1,864.50
6/14/18     PJG     0062
                         Committee re: case status update including sale motion
                         and plan issues (2.1).

                         Review Orlando lease settlement (.3); review summary            0.40    226.00
6/14/18     PJG     0081 of Orlando lease settlement from Teneo (.1).

6/14/18     PJG     0055 Research issues re: Debtors' sale motion and prior              3.20    1,808.00
                         efforts at sales.


                            Review and analysis of Debtors' sale motion, asset           3.20    1,808.00
6/15/18     PJG     0055
                            purchase agreement, and related filings.

                         Prep for Committee call (.6); Committee call (1.4);
                         telephone call A. Shapiro re: follow-up to Committee
6/15/18     PJG     0062                                                                 3.40    1,921.00
                         meeting (.1); email memo to Committee re: Debtors'
                         sale motion (1.3).

                         Confer with E. Moreno re: liquidating trust and trust
6/15/18     PJG     0060 certificates (.2); email E. Moreno re: securities law           0.40    226.00
                         issues (.2).

6/15/18    JLRD     0060 Review Debtors' sale motion.                                    0.40    204.00

6/19/18     PJG     0061 Finalize objection to PacBridge claim.                          1.00    565.00
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18
  Date      Init     Task              Description of Work Performed               Hours   Amount
                         Review and revise draft document production
                         requests (1); research bidding and sale issues re:
                         Debtors' sale motion (1.3); telephone call J. Chubak      2.70    1,525.50
6/19/18     PJG     0055 re: sale issues and plan issues related to sale (.3);
                         email B. Murphy re: Pentwater and Parquet interests
                         in assets (.1).

6/20/18     PJG     0062 Email memo to Committee re: sale and plan update          0.60    339.00
                         and status.

                          Confer with K. Fackler re: shorten time for discovery
6/20/18     PJG      0055 re: sale motion (.2); email H. Winsberg re: Sellers'     0.30    169.50
                          Disclosure Letter (.1).

                          Review e-memo from P. Gurfein regarding status of
                          Equity Committee's plan and disclosure statement -       0.20    102.00
6/20/18    JLRD      0060 court has set hearing on same; status of Debtors' sale
                          motion and status of anticipated Creditors Committee
                          plan.

                         Confer with K. Fackler and J. Meehan re: finalizing
                         document requests re: sale motion (1); outline issues
6/22/18     PJG     0055 for review of Glass Ratner sale efforts (.5); email J.    1.70    960.50
                         Chubak re: Committee sale issues and plan issues
                         (.2).


                            Email memo to Committee re: sale and plan updates      0.60    339.00
6/22/18     PJG     0062
                            and Committee meeting issues.


                         Confer with H. Siegel re: plan issues and sale motion
                         (.6); confer with J. Brown re: response to sale motion
                         (.2); outline response to sale motion (1.3); email
6/25/18     PJG     0060 exchange M. Brooks re: discovery (.1); research sale      5.30    2,994.50
                         related issues and plan concerns (2.6); prep for call
                         with Debtors and stalking horse counsel re: discovery
                         (.4).
6/25/18    JLRD     0060 Conference with P. Gurfein regarding status of case       0.30    153.00
                         and Equity Committee's opposition to the Debtors'
                         sale motion.
6/25/18    JLRD     0060 Research regarding opposition of Equity Committee to      1.30    663.00
                         Debtors' sale motion.
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 6/30/18

  Date      Init     Task             Description of Work Performed                 Hours    Amount
                         Conference call to Debtors, Stalking Horse
6/26/18    PJG      0055 purchasers, Secured Creditors, and Equity Committee         1.90    1,073.50
                         counsel re: discovery requests (.8); confer with J.
                         Brown re: responding to discovery objections (.1);
                         work on revisions to subpoenas (1).

6/26/18    JLRD     0060 E-correspondence with P. Gurfein regarding opposition       0.20    102.00
                         to Debtor's sale motion.

6/27/18    JLRD     0060 Research regarding opposition to Debtors' sale motion.      1.80    918.00

6/27/18    PJG      0055 Further revisions to document requests (.7); email          1.10    621.50
                         exchange M. Brooks re: discovery (.1): confer with J.
                         Brown re: revised document requests (.1); email M.
                         Brooks, H. Winsberg, S. Grossman, J. Feldsher re:
                         revised subpoenas and document requests (.2).


6/27/18     PJG     0060 Research sale motion issues pertaining to sale              2.30    1,299.50
                         through plan (2.2); email B. Williams and B. Murphy
                         re: financing issues (.1).

                         Draft minutes of June 15 Committee meeting (.9); draft      2.30    1,299.50
6/28/18    PJG      0062 agenda for June 29 Committee call (.5); email memo to
                         Committee re: case status update (.9).

                         Conference call B. Murphy, B. Williams, J. Brown re:
6/28/18    PJG      0060 disclosure statement and plan updates and additional        0.70    395.50
                         revisions (.5); telephone call J. Chubak re: plan and
                         sale issues (.2).

                         Review e-mail from P. Gurfein regarding anticipated         0.10     51.00
6/28/18    JLRD     0060 Creditors Committee plan and related issues.

6/29/18    PJG      0081 Review court ruling re: Euclid trustee motion.              0.10     56.50

6/29/18    PJG      0061 Review Debtors' omnibus claims objection (.2).              0.20    113.00

6/29/18    PJG      0060 Telephone call A. Ettinger re: sale of artifacts (.2);
                         analysis of PEM and AEG interests re: plan treatment        0.90    508.50
                         (.5); email Committee re: UCC Plan (.2).

                         Confer with A. Shapiro re: responding to inquiries from
6/29/18     PJG     0062 equity holders re: plan and sale (.2); prep for             2.00    1,130.00
                         Committee call (.4); attend Committee call (1.4).
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  Date      Init     Task            Description of Work Performed              Hours     Amount
                         E-correspondence from P. Gurfein regarding court's
6/29/18    JLRD     0060 order on Euclid Trustee motion.                         0.10      51.00

                         Memo to Committee re: analysis of UCC plan and
6/30/18    PJG      0062 disclosure statement.                                   1.80    1,017.00


6/30/18    PJG      0060 Review and analysis of UCC plan and disclosure          3.10    1,751.50
                         statement.



                                                                    Totals       88.70   $48,756.50
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TIMEKEEPER TIME SUMMARY THROUGH 6/30/18

 Initials              Name          Hours             Rate      Amount
   PJG                 Gurfein       79.90            565.00    $45,143.50
  JLRD                 Dalberg        6.30            510.00     $3,213.00
   EM                   Meza          2.50            160.00      $400.00
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 FOR COSTS AND EXPENSES INCURRED THROUGH 6/30/18

 Date       Description                                                                  Amount
6/5/18      Travel: Airfare and Hotel – Jacksonville hearing re Motion to               $1,171.07
            Appoint Trustee.

6/7/18      Transportation and Meals – Jacksonville hearing re Motion to                  $254.34
            Appoint Trustee.

6/30/18     JND Corporate Restructuring (Invoice No. 2502 – June services).               $469.20



                                                            Total Costs & Expenses:     $1,894.61
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RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 6/30/18

                                                                             Hours    Amount
           0055             Asset Disposition                                 15.10    8,531.50

           0060             Chapter 11 Plan                                   35.70   19,824.00

           0061             Claims Administration & Objection                  1.20     678.00

           0062             Committee Communications                          20.70   11,695.50

           0070             Litigation/Adversary Proceeding                    9.00    5,085.00

           0081             Case Administration                                7.00    2,942.50

           0455             Travel                                            20.50   11,582.50
                                                                                             00
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          8/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 7/31/18                                       $84,251.00

         Travel Time (Not Charged to Estate)                                                          -$10,452.50

         Costs and Expenses Through 7/31/18                                                             $2,096.79
                                                              Total Amount of This Invoice             $75,895.29
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  Date      Init.    Task               Description of Work Performed                    Hours   Amount



 7/2/18     JLRD    0060    E-correspondence with P. Gurfein and J. Brown                0.10     51.00
                            regarding equity committee and creditors committee
                            plans.


 7/2/18     PJG     0055    Confer with J. Brown re: status of discovery efforts (.1);   0.90    508.50
                            revise document production requests (.8).



 7/2/18     PJG     0060    Research insider issues and plan proponents (1.1);           2.60    1,469.00
                            research bid protections (1.1); review research re: sale
                            of substantially all assets outside of plan (.4).


                            Telephone call J. Chubak re: moratorium on
                            professional fees; email to estate professionals re:
 7/2/18     PJG     0081    moratorium on payment of professional fees; email            0.10     56.50
                            from B. Wainger re: moratorium on fees; email
                            exchange H. Winsberg re: moratorium on professional
                            fee payments.

                            E-correspondence with B. Murphy regarding plan exit
 7/3/18     JLRD    0060    financing.                                                   0.10     51.00

                         Review research re: opposition to sale motion (2);
                         research insider issues pertaining to sale motion (.6);
 7/3/18     PJG     0055 review research re: sale motion objection (.3); email A.        3.00    1,695.00
                         Ettinger re: Guernsey’s proposal (.1).

                         Confer with J. Brown re: moratorium on fees and re:
                         discovery (.3); email exchange H. Winsberg re:
 7/3/18     PJG     0081 moratorium on payment of fees (.1); review fee                  0.80    452.00
                         applications filed by Debtors’ professionals (.4).
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  Date      Init.    Task              Description of Work Performed                   Hours   Amount
 7/4/18     JLRD    0060    E-correspondence with P. Gurfein and J. Brown              0.20    102.00
                            regarding equity committee plan; potential plan
                            sponsor.

 7/4/18     PJG     0060    Email J. Brown re: open plan confirmation issues (.3);     1.20    678.00
                            review research re: insider and voting rights (.9).



                            E-correspondence with P. Gurfein regarding proposal
 7/5/18     JLRD    0060    to put equity and creditors committees' plans and          0.20    102.00
                            debtors' sale motion on same track.

                            Email memo to Committee re: case status update and         0.80    452.00
 7/5/18     PJG     0062    Creditors Committee stay motion (.6); email A. Shapiro
                            re: plan analysis and open issues (.2).

                            Telephone H. Siegel re: financing issues (.1);
                            telephone call J. Chubak re: Creditors Committee
 7/5/18     PJG     0060    motion to stay sale and plan and set status conference     0.30    169.50
                            (.2).

                            Telephone call J. Brown re: status of discussions re:
                            discovery dispute resolution (.3); conference call
                            meet and confer with Debtors’ and Stalking Horse
 7/5/18     PJG     0055    counsel re: discovery dispute (1); research re:            5.60    3,164.00
                            collusive bidding (.8); bid protections (.9); good faith
                            (1); and insider purchasers (1.2); confer with J. Brown
                            re: response to Debtors’ discovery disputes (.4).


 7/6/18     JLRD    0060    E-correspondence with P. Gurfein regarding update on       0.20    102.00
                            status of committee and equity committee plans.

                            Emails J. Brown, B. Murphy, B. Williams re: sale
                            process issues (.3); review M. Brooks response to
                            discovery requests (.3); review correspondence
                            relating to sale process (.8); confer with J. Brown re:    4.40    2,486.00
 7/6/18     PJG     0055
                            discovery responses (.6); assess M. Brooks response
                            to discovery (.3); review District Court docket and
                            pleadings filed in District Court by Debtors relating to
                            sale (2.1).
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  Date      Init.    Task                   Description of Work Performed                  Hours   Amount
                                Telephone call S. Fox re: plan issues (.8); review
                                Debtors’ discovery requests (.2); confer with Lincoln
 7/6/18     PJG     0060        International re: response to discovery requests (.2).     1.20    678.00


 7/6/18     PJG     0062        Memo to Committee re: plan alternatives (.6).              0.60    339.00


 7/7/18     JLRD    0060        Review e-mail from P. Gurfein regarding his Plan           0.20    102.00
                                negotiations.

 7/8/18     JLRD    0060        Review National Maritime Museum motion and e-mail          0.70    357.00
                                from P. Gurfein regarding same.

                                Review and analysis of Creditors Committee's motion
                                to establish a protocol for consideration of various
 7/8/18     PJG     0060        liquidation plans (1.8); outline response to Protocol      5.00    2,825.00
                                Motion (.8); draft responsive pleading re: Creditors
                                Committee Protocol Motion (1.4); confer with potential
                                plan sponsor re: participation in Equity Committee plan
                                (1).


 7/9/18     JLRD    0060        Review e-memo of P. Gurfein to equity committee            0.50    255.00
                                regarding joinder in protocol motion filed by creditors
                                committee.

                                Email exchange H. Siegel re: plan procedural issues
                                (.1); review proposed exit facility terms sheet and
 7/9/18     PJG     0060        comment on same (.3); confer with J. Brown re:             1.60    904.00
                                creditor treatment under Equity Committee plan (.2);
                                draft treatment for creditors claims insert to plan (1).


 7/9/18     PJG     0062        Memo to Committee re: Creditors Committee Protocol         1.90    1,073.50
                                Motion, sale and plan issues, and Equity Committee
                                plan sponsors (1.8); email A. Shapiro re: District Court
                                admiralty law issues (.1).

                             
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  Date       Init.   Task               Description of Work Performed                 Hours   Amount
                          Review Seller's Disclosure Letter under Asset
 7/9/18     PJG      0055 Purchase Agreement (1); email memo to B. Murphy re:         1.30     734.50
                          issues raised by Disclosure Letter (.3).

                            E-correspondence with P. Gurfein regarding revised
7/10/18     JLRD     0060   limited joinder in committee's protocol motion.           0.10     51.00

                          Revise limited joinder in creditors committee's protocol    0.90     459.00
7/10/18     JLRD     0060 motion.


                            Conference with P. Gurfein regarding limited joinder in   0.50     255.00
7/10/18     JLRD     0060
                            creditors committee's protocol motion.

                            Review e-correspondence from equity committee
7/10/18     JLRD     0060   members with comments to limited joinder in creditors     0.20     102.00
                            committee protocol motion.

7/10/18     PJG      0081 Review fee statements of estate professionals (.4).         0.40     226.00

                          E-mail exchanges with committee members re protocol
                          motion (.6); memorandum to committee re: case status
                          update (1.4); confer with equity committee re contents
7/10/18     PJG      0062 of data room (.2); email Committee re: protocol motion      2.80    1,582.00
                          and National Maritime Museum pleading (.6).


 7/11/18    PJG      0061 Confer with J Brown re: objection to PacBridge claim        0.20    113.00
                          (.2).

 7/11/18    PJG      0055 Emails J. Brown re: assessment of discovery                 2.60    1,469.00
                          negotiations (.2); telephone call S. Fox re: Cedar Bay
                          sale issues (.3); email exchanges Debtors' counsel and
                          J. Brown re: resolution of discovery disputes (1.4);
                          review sale motion objection filed by Euclid (.6);
                          telephone call H. Siegel re: Euclid sale motion objection
                          (.1).
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  Date      Init.    Task              Description of Work Performed                   Hours   Amount
                            Email exchange H. Siegel re: sale motion (.2); confer
                            with J. Brown re: filing objections to sale motion (.1);
                            telephone call A. Ettinger re: sale and auction
                            strategy (.3); email J. Brown and Debtors' counsel re:
7/12/18     PJG     0055    resolution of discovery dispute (.8); research issues      4.20    2,373.00
                            raised by District Court approval motion filed by
                            Debtors (2); review objections to discovery filed by
                            Debtors (.8).

7/13/18      EM     0081    Draft June 2018 interim fee request.                       2.50    400.00

7/13/18    JLRD     0060    Review E-mail from P. Gurfein and Judge Glenn's            0.10     51.00
                            order scheduling status conference.
7/13/18    PJG      0062    Telephone call A. Shapiro re case status update (.2);      1.00    565.00
                            email memo to Committee re: Court’s order abating
                            hearings and scheduling status conference (.8).

                            Review court’s order abating the July 25 hearings
                            and scheduling status conference (.1); Confer with J.
                            Brown re status conference (.1); e-mail to Harris
                            Winsberg and Matt Brooks re Case status discussion
                            (.1); e-mail J. Chubak re case status discussion (.1);
                            email H. Siegel re case status discussion (.1);
                            telephone call S. Fox re plan and sale issues (.6);
7/13/18     PJG     0055    Review Sellers Disclosure Letter issued in connection      4.30    2,429.50
                            with the Asset Purchase Agreement (1.6); draft
                            outline of follow-up questions concerning the Sellers
                            Disclosure Letter (.6); Email exchange J. Feldsher re
                            discovery responses (.1); review discovery responses
                            from PacBridge, Secured Lenders, and from Alta and
                            Apollo (.9).


                            Conference call S. Fox, J. Joslyn, R. Frandeau re:
                            Equity Committee plan (.6); email memo to J. Brown,
7/15/18     PJG     0060                                                               0.90    508.50
                            B. Murphy, B. Williams re: Equity Committee plan
                            issues (.3).
7/16/18    JLRD     0060    E-correspondence and conference with P. Gurfein            0.10     51.00
                            regarding revised Opposition to Debtors' motion for
                            reconsideration.

7/16/18    JLRD     0060    Proof and edit revised Equity Committee's opposition       0.20    102.00
                            to Debtors' Motion for reconsideration.
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 7/31/18
  Date      Init     Task              Description of Work Performed                 Hours   Amount
                            E-correspondence with P. Gurfein regarding draft
                                                                                     0.10     51.00
7/16/18    JLRD     0060    response to Debtors' motion for reconsideration.

                            Conference with P. Gurfein regarding draft response
                                                                                     0.20    102.00
7/16/18    JLRD     0060    to Debtors' motion for reconsideration and status of
                            case generally.

7/16/18    JLRD     0060    Review NOAA's response to Debtors' motion to             0.20    102.00
                            approve APA filed in the District Court.

                            Review debtors' motion to reconsider and                 0.30    153.00
7/16/18    JLRD     0060
                            accompanying e-mail from P. Gurfein.

                            Review Kaleo Legal and Troutman Sanders interim
7/16/18    PJG      0081                                                             0.40    226.00
                            fee invoices for June.

                            Memo to committee re Plan and Sale process update        0.90    508.50
7/16/18    PJG      0062
                            (.9).

                            E-mail exchanges J. Brown and R. Charbonneau re
7/16/18    PJG      0070    issues pertaining to insurance coverage issues and       0.50    282.50
                            correspondence with debtors.
7/16/18    PJG      0055    Review Debtors’ motion to reconsider order abating       2.60    1,469.00
                            the hearings and scheduling status conference (1.2);
                            outline response and objection to debtors’ motion to
                            reconsider (1.2); confer with B. Murphy re memo to
                            committee re sale issues (.2).

7/17/18    JLRD     0060    Review and edit draft response of Equity Committee       0.20    102.00
                            to Debtors' motion to reconsider.

7/17/18    PJG      0055    Draft opposition to motion to reconsider order abating   2.60    1,469.00
                            sale and plan hearings.
7/17/18    PJG      0081    Telephone call J. Brown re: negotiation of exit          0.40    226.00
                            financing (.2); telephone call F. Gerber re potential
                            plan sponsor (.2).
7/17/18    PJG      0081    Confer with B. Murphy re: J. Henschel objection to       0.20    113.00
                            Lincoln International interim fee request.
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  Date      Init     Task              Description of Work Performed                   Hours   Amount
                            Review memo from P. Gurfein regarding update on
                                                                                       0.20    102.00
7/18/18    JLRD     0060    plan and sale process.

7/18/18    JLRD     0060    E-correspondence with P. Gurfein regarding                 0.20    102.00
                            opposition to Debtors' motion for reconsideration.

7/18/18    PJG      0062    Case status update memo to committee.                      1.70    960.50

7/18/18    PJG      0060    Review issues relating to landlord and plan concerns       4.10    2,316.50
                            (.5); conference call J. Burnett and A. Edwards re
                            plan and sale issues (.8); telephone call A. Ettinger re
                            auction process (.1); email J. Burnett and A. Edwards
                            re: Guernsey’s auction house (.2); review objection to
                            Disclosure Statement filed by Debtors (1.6); review
                            objection to Disclosure Statement filed by DOJ (.8);
                            email exchange M. Troy re: DOJ objection to
                            Disclosure Statement (.1).

                            Finalize opposition to Debtors’ reconsideration
                            motion re court order abating sale and plan hearings
                            (2.2); confer with J. Meehan and J. Brown re
7/18/18     PJG     0055    finalizing and filing opposition to debtors’               2.50    1,412.50
                            reconsideration motion (.1); review document
                            production from debtors relating to sale process (.2).
                            Review debtors’ reply to U.S. response to DOJ
7/19/18    PJG      0055    statement respecting Sale Approval Motion (.4);            4.30    2,429.50
                            review research re: bid procedure objections (1.1);
                            outline objection to sale motion and bid procedures
                            (2.8).

                            Telephone conference with J. Burnett A. Edwards
7/19/18    PJG      0055    and A. Ettinger re auction process (1.2); telephone        2.50    1,412.50
                            call with C. Brown and D. Smith re potential exit
                            financing (1); email J. Brown re exit financing (.1);
                            telephone call B. Murphy re: potential plan sponsor
                            and exit financing (.1); email exchange H. Siegel re
                            exit financing (.1).

                         Email exchange with committee members re plan and
7/19/18    PJG      0062 sale issues.                                                  0.30    169.50

                         Review e-correspondence from P. Gurfein outlining
7/20/18    JLRD     0060 status of plan/sale issues and process.                       0.20    102.00
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  Date      Init     Task             Description of Work Performed                Hours   Amount
                         Memo to committee re case status update (1.4); email
                                                                                   3.80    2,147.00
7/20/18    PJG      0062 exchange committee members re follow-up questions
                         pertaining to sale and plan issues (.3); confer with R.
                         Charbonneau re status of the adversary proceeding
                         for report to Committee (.2); draft agenda for
                         committee meeting (.8); draft committee minutes (1.1).

                         Conference call S. Cummings, F. Gerber, and B.
                         Murphy re potential plan sponsor (1); Review draft
7/20/18    PJG      0060 response to US DOJ objection to equity committee          1.80    1,017.00
                         disclosure statement (.6); Telephone call M. Troy re
                         resolution of DOJ objection to disclosure statement
                         (.2).
7/20/18    PJG      0055 Email S. Fox re virtual data room (.1); review recent     0.50    282.50
                         pleadings filed in district court litigation (.4).

7/22/18    PJG      0455 Travel from Los Angeles to Jacksonville for Status        8.00    4,520.00
                         Conference on plan and sale process.
7/23/18    JLRD     0060 E-correspondence with P. Gurfein regarding revisions      0.20    102.00
                         to NOAA insert to disclosure statement.

7/23/18    JLRD     0060 Revise insert to disclosure statement to accompany        0.60    306.00
                         Equity Committee plan regarding NOAA, Covenants
                         and District/Admiralty Court jurisdiction over American
                         Artifacts.
7/23/18    JLRD     0060 Conference with P. Gurfein regarding disclosure           0.20    102.00
                         statement to accompany Equity Committee plan:
                         Insert regarding NOAA and Covenants.
7/23/18    PJG      0062 Email A. Shapiro re: status of plan and sale issues       1.20    678.00
                         (.2); memo to Committee re: case status update (1).

7/23/18    PJG      0061 Review response filed by PacBridge to Equity              2.90    1,638.50
                         Committee’s objection to PacBridge claim (1);
                         research issues raised by PacBridge in opposition to
                         claim objection (.9); confer with J. Brown and K.
                         Fackler re: response to PacBridge opposition (.2);
                         review and assess research re: response to
                         PacBridge opposition to claim objection (.8).
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  Date      Init     Task              Description of Work Performed                 Hours   Amount
                         Research sale motion issues (1.1); work on outline of
                                                                                     2.50    1,412.50
7/23/18    PJG      0055 opposition to sale motion (1.4).

                         Email R. Charbonneau re: D&O insurance coverage
                         letter and open issues re: settlements (.1); outline
7/23/18    PJG      0070 argument re: court order granting standing to Equity        0.30    169.50
                         Committee to prosecute and settle D&O claims (.2).
7/23/18    PJG      0060 Confer with J. Brown re: plan and sale issues (.2);         4.40    2,486.00
                         outline protocol issues for discussion with Creditors
                         Committee (.5); conference call J. Weiner and J.
                         Chubak re: Creditors Committee and Equity
                         Committee relative positions re: protocol motion (.8);
                         review French Artifact inventory re: sale and plan
                         issues (.8); email J. Burnett re: plan issues (.3); draft
                         insert and revisions to Disclosure Statement
                         responding to NOAA objections (1.4); email M. Troy
                         re: response to NOAA Disclosure Statement
                         Objections (.1); review final term sheet for exit
                         financing (.3).

7/23/18    PJG      0062 Prep for Committee call (.8); attend Equity Committee       3.50    1,977.50
                         call (1.2); confer with A. Shapiro re: protocol motion
                         and status conference (.2); case status update memo
                         to Committee (1.2); email A. Shapiro re: plan issues
                         (.1).

7/24/18    PJG      0060 Telephone call M. Davis re: post-confirmation plan          7.60    4,294.00
                         management (.1); telephone call H. Siegel re: exit
                         financing (.1); telephone call J. Burnett re: plan and
                         sale issues (.2); telephone call F. Gerber and S.
                         Cummings re: plan and sale proposal (.1); review S.
                         Cummings letter re: plan and sale proposal (.5);
                         outline presentation re: protocol motion hearing (1);
                         review pleadings relevant to status conference (1.4);
                         review pleadings filed in District Court re: plan and
                         sale issues (1.2); email H. Siegel re: plan financing
                         alternatives (.1); review and analysis of recovery
                         estimates for plan and sale recoveries (.3); confer with
                         J deKoe re: recovery analysis under plans and sale
                         (.2); telephone call J. Guso and B. Rich re: Glass
                         Ratner discovery responses (.3); email A. Shapiro re:
                         execution of term sheet for exit financing (.1); confer
                         with A. Shapiro re: response to equity holder inquiries
                         (.3); work on revisions to Disclosure Statement in
                         response to comments and objections (1.7).
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  Date      Init     Task              Description of Work Performed                 Hours   Amount
                         E-correspondence with P. Gurfein and A. Shapiro             0.20    102.00
7/25/18    JLRD     0060 regarding status conference in bankruptcy case.

7/25/18    PJG      0455 Travel from Jacksonville to Los Angeles.                    10.50   5,932.50

7/25/18    PJG      0062 Memo to Committee re: status conference on plan and         1.20    678.00
                         sale issues and case status update.

7/25/18    PJG      0061 Email S. Grossman re: continuance of objection to           0.20    113.00
                         PacBridge claim (.1); attend hearing re: PacBridge
                         claim objection (.1).

                         Telephone call M. Davis re: post-confirmation
                         management (.1); telephone call S. Fox re: plan
                         issues and post-confirmation management (.3);
                         telephone call J. Chubak re: plan financing issues (.1);
                         review case law re: Disclosure Statement objections
                         (1.1); confer with M. Troy re: resolution of NOAA           5.30    2,994.50
7/25/18     PJG     0060
                         objection to Disclosure Statement (.1); Outline
                         argument for status conference on Plan and sale
                         issues (1); attend status conference re: plan and sale
                         issues (2.5); telephone call A. Ettinger re: status
                         conference and plan timing (.1).

                         Confer with K. Goodman re: management of Debtors            0.90    508.50
7/26/18    PJG      0060 post-confirmation (.8); confer with B. Murphy re: post
                         confirmation management (.1).

7/26/18    PJG      0062 Memo to Committee re: follow-up to July 25 hearing.         0.80    452.00

7/27/18    PJG      0062 Memo to Committee re: case status update (1.1).             1.10    621.50

7/27/18    PJG      0070 Confer with R. Charbonneau re: D&O insurance                1.00    565.00
                         coverage (.3); letter to H. Winsberg and B. Wainger
                         re: D&O insurance coverage (.7).

7/27/18    PJG      0060 Review minute order of court re: status conference          1.30    734.50
                         (.1); email J. Brown re: scheduling issues (.1); confer
                         with B. Murphy re: post confirmation management (.2);
                         work on distribution analysis for classes of claims (.9).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 7/31/18

  Date      Init     Task              Description of Work Performed                Hours    Amount
                         Review bidding issues and evidence from sale               4.20     2,373.00
7/30/18    PJG      0055 process (2.6); analysis of sale procedures in sale
                         motion (1.6).

7/30/18    PJG      0070 Email exchange B. Wainger re: D&O insurance                0.20     113.00
                         coverage and discussions with insurance carriers (.1);
                         confer with R. Charbonneau re: D&O coverage
                         communications with carriers (.1).

7/30/18    PJG      0060 Review transcript of July 25 status conference (.8).       0.80     452.00

7/31/18    PJG      0062 Telephone call A. Shapiro re: sale and plan issues         1.50     847.50
                         (.2); memo to Committee re: case status update (1.3).



7/31/18     PJG     0055 Review pleadings filed in District Court pertaining to     1.00     565.00
                         Debtors' sale process (1).

7/31/18    PJG      0070 Review email of correspondence between Debtors             1.00     565.00
                         and carriers re: D&O coverage (.8); telephone call B.
                         Wainger re: correspondence with carriers and
                         privilege (.1); confer with R. Charbonneau re: D&O
                         correspondence (.1).




                                                                        Totals      133.10   $73,798.50
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RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 7/31/18

 Initials              Name          Hours              Rate      Amount
   PJG                 Gurfein       123.50            565.00    $69,777.50
  JLRD                 Dalberg        7.10             510.00     $3,621.00
   EM                   Meza          2.50             160.00      $400.00
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 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 7/31/18

 Date       Description                                                                  Amount
7/01/18     Fed Ex Charges (June)                                                         $99.78

7/22/18     Travel: Airfare and Hotel – Jacksonville hearing re Debtors’ Sale Motion.   $1,318.20

7/25/18     Travel: Transportation and Meals – Jacksonville hearing re                   $139.77
            Debtors’ Sale Motion.

7/30/18     FedEx Charges (July)                                                         $117.18

7/31/18     JND Corporate Restructuring (Invoice No. 2535 – July services).              $421.86



                                                            Total Costs & Expenses:     $2,096.79
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TIME SUMMARY BY PHASE AND TASK THROUGH 7/31/18

                                                                             Hours    Amount
           0055             Asset Disposition                                 50.30   28,419.50

           0060             Chapter 11 Plan                                   48.60   27,068.50

           0061             Claims Administration & Objection                  3.30    1,864.50

           0062             Committee Communications                          23.10   13,051.50

           0070             Litigation/Adversary Proceeding                    3.00    1,695.00

           0081             Case Administration                                4.80    1,699.50

           0455             Travel                                            18.50   10,452.50
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                          9/18/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 8/31/18                                      $136,429.10

         Travel Time (Not Charged to Estate)                                                           -$31,075.00

         Costs and Expenses Through 8/31/18                                                              $4,744.64
                                                              Total Amount of This Invoice             $110,098.74
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  Date      Init.    Task              Description of Work Performed                   Hours    Amount
 8/1/18     PJG     0060    Confer with J. Neary and J. Brown re August 10              0.20    113.00
                            hearing, E.D. VA.

 8/1/18     PJG     0065    Work on interim fee application.                            2.20   1,243.00

                            Email to committee re confidentiality agreement
 8/1/18     PJG     0062    extension.                                                  0.10     56.50



                            Email exchange M. Brooks re committee confidentiality
 8/1/18     PJG     0081    agreement extension.                                        0.10     56.50


                            E-correspondence with P. Gurfein and equity
                            committee members regarding proceedings at
 8/2/18     JLRD    0060    bankruptcy court status conference, including               0.30    153.00
                            admissions by Alta et al., and impact on plan.



 8/2/18     JLRD    0060    Review court's Status conference and Scheduling             0.20    102.00
                            Order.

                            E-correspondence and conference with P. Gurfein
                            regarding scheduling of hearing to consider bid
 8/2/18     JLRD    0060    procedures motion and opposition thereto.                   0.20    102.00


                            Finalize confidentiality extension and agree with M.        0.20    113.00
 8/2/18     PJG     0081    Brooks re: same.

                            Review order for scheduling a hearing on plan and
                            disclosure statement and sale motions (.3); review sale
                            documentation with reference to response to debtors’
                            sale motion and bid procedures motion (1.8); e-mail J.
 8/2/18     PJG     0055    Neary re E.D. VA motions and appearances before             3.20   1,808.00
                            Judge Smith (.2);confer with J. Brown re prep for
                            August 30 hearing (.4); review transcript of July 25
                            hearing (.5).
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  Date      Init.    Task              Description of Work Performed                   Hours   Amount
                            Email committee members re execution of extension
                            of confidentiality agreement (.1); memo to committee
                            re Judge Glenn scheduling order and plan and sale          2.00    1,130.00
 8/2/18     PJG     0062    motion hearings and status of negotiations with
                            interested parties (1.4); memo to committee re July 25
                            hearing and transcript (.3); memo to committee re E.D.
                            VA litigation (.2).


 8/3/18     PJG     0060    Confer with J. Brown re district court hearing (.2);       0.90    508.50
                            telephone call J. Neary re appearance in district court
                            (.1); research standing re district court issues (.6).


                            Email exchange committee members re district court
                            proceeding and bankruptcy court proceeding (.3);           1.30    734.50
 8/3/18     PJG     0062    memo re Virginia District court proceeding process
                            and pleadings (1).

                            Review seller’s disclosure letter (1.3); e-mail H.         1.60    904.00
 8/4/18     PJG     0055    Winsberg re Equity Committee questions from the
                            Sellers disclosure letter (.3).

                            Email H. Winsberg re debtors filing of 8K and Darryl       0.10     56.50
 8/4/18     PJG     0081    Davis employment issues (.1).



 8/5/18     PJG     0060    Work on response to disclosure statement objections        2.00    1,130.00
                            by DOJ/NOAA and by Debtors.

                            Telephone call T. Graulich re national maritime
 8/6/18     PJG     0060    museum plan and sale issues (.4).                          4.00    2,260.00


                            Confer with Lincoln International re debtors’ financial
                            reports (.3); email M Brooks re executed confidentiality
                            agreement (.1); Email exchange H Winsberg re
                            debtor’s case administration (.1); telephone call H        0.60    339.00
 8/6/18     PJG     0081    Winsberg re case administration (.1).
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RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 8/31/18

  Date      Init.    Task              Description of Work Performed                  Hours   Amount
                         Telephone call J. Brown re discovery and response to
                         sale motions (.3); confer with Lincoln International re
 8/6/18     PJG     0055 debtors’ financial reports (.3); outline issues re auction   2.00    1,130.00
                         sale of French artifacts (1.4).

                         Prepare for committee call (.8); attend an equity
                         committee call (1.1); issue corrected July 23 meeting
 8/6/18     PJG     0062 minutes (.2); draft minutes for August 6 committee call      3.00    1,695.00
                         (.8); circulate amendment to confidentiality agreement
                         to committee members for execution (.1).


 8/7/18     JLRD    0060 Conference with P. Gurfein regarding reply to Debtors'       0.20    102.00
                         Objection to Equity Committee Disclosure Statement.


 8/7/18     JLRD    0060 Research regarding response to Debtors' objection to         1.10    561.00
                         Equity Committee Disclosure Statement --
                         unconfirmable plan as basis for denying approval.


                         Telephone call B. Wainger re District Court appearance
                         (.1); review and revise notice of appearance for E.D.
                         VA (.1); e-mail J. Chubak and T. Graulich re district
                                                                                      1.50    847.50
 8/7/18     PJG     0060 court appearance (.1); e-mail H. Winsberg, M. Brooks,
                         B. Wainger re District Court appearance (.1); telephone
                         call J. Chubak re court hearings and plan and sale
                         issues (.3); review and revise E.D. VA notice of
                         appearance (.2); e-mail J. Neary re notice of
                         appearance (.1); review periodic report filed in Eastern
                         District of Virginia by the debtors re plan issues (.5).

 8/8/18     JLRD    0060 E-correspondence with P. Gurfein and review status of        0.20    102.00
                         memorandum.

                         Telephone call A. Ettinger re August 30 hearing and
                         further Guernsey declaration (.6); review District Court
 8/8/18     PJG     0060 order re notices of appearance (.1); e-mail B. Wainger       0.80    452.00
                         re District Court order re notices of appearance (.1).
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  Date       Init.   Task               Description of Work Performed                 Hours   Amount
                          Telephone call B. Rich and J. Gusso re Glass Ratner
                          discovery (.3); e-mail B. Rich re follow-up to
                          conference call re Glass Ratner deposition (.2); confer
                          with J. Brown re Glass Ratner deposition and
                          document production (.2); telephone call S. Fox re sale     2.90    1,638.50
 8/8/18     PJG      0055
                          and plan issues (.3); review Cedar Bay term sheet (.6);
                          confer with Financial Advisors re plan and sale issues
                          (.5); draft analysis and assessment of Cedar Bay term
                          sheet (.8).

                          Memo to committee re case status update (.7); e-mail
                          exchanges with committee members re follow-up to
 8/8/18     PJG      0062 committee memo (.3); telephone call F. Gerber re            2.50    1,412.50
                          committee issues (.2); memo to equity committee re
                          plan and sale issues and District Court hearing (1.3).


 8/9/18     JLRD     0060   Review and analyze Debtors' objection to Equity           1.00     510.00
                            Committee Disclosure Statement.

                            Work on objection to sale motion and bidder               2.10    1,186.50
 8/9/18     PJG      0055
                            protections (2.1).

                          Email exchange A. Shapiro re Cedar Bay term sheet
                          (.3); confer with J. Dalberg re disclosure statement
                          objections (.6); telephone call J. Brown re case status
 8/9/18     PJG      0060 and upcoming hearings (.3); telephone call T. Graulich      2.10    1,186.50
                          re District Court and plan issues (.3); work on motion to
                          intervene (.6).

                          Research and draft reply to Debtors' objection to Equity
8/10/18     JLRD     0060 Committee's Disclosure Statement.                           1.50     765.00


                            Conference with P. Gurfein regarding treatment of
8/10/18     JLRD     0060   administrative claims in plan and Effective Date          0.20     102.00
                            issues.

 8/10/18    PJG      0060 Review discovery submitted by debtors and Daoping           2.90    1,638.50
                          Bao (2.4); draft search terms for Glass Ratner
                          discovery (.5).
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  Date      Init.    Task             Description of Work Performed                Hours   Amount
                         Review artifact inventory and plan and sale issues
                         respecting number of artifacts to be sold (.9); confer
                         with J. Dalberg re revisions to disclosure statement
                         and plan (.6); research intervention (1); e-mail J.
8/10/18     PJG     0060 Neary and J. Brown re revisions to intervention motion    3.60    2,034.00
                         (.2); telephone calls S. Fox re plan issues (.4); Email
                         S. Fox re follow-up to discussion of plan issues (.3);
                         telephone call A. Ettinger re revisions to plan (.2).
                         E-correspondence with P. Gurfein regarding research
                         re: [designation of insider votes in connection with
8/11/18    JLRD     0060 plan confirmation and review authority he forwarded to    0.50    255.00
                         me regarding same.]


                         Email T. Graulich re E.D. VA hearing and meeting (.2);
8/13/18     PJG     0060 memo to committee re the Cedar Bay proposal (.7);         1.20    678.00
                         telephone call S. Fox re Cedar Bay proposal (.3).

8/13/18    PJG      0060 E-mail J. Gusso and B. Rich re: search terms to           0.20    113.00
                         narrow document production for Glass Ratner
                         discovery and scheduling of Marshall glade deposition
                         (.2).

                         Research and draft reply to Debtors' objection to
8/14/18    JLRD     0060 Equity Committee disclosure statement.                    5.20    2,652.00


                         Draft insert in response to DOJ objection to disclosure
8/14/18     PJG     0060 statement (1.2).                                          1.20    678.00


                         Telephone call H. Siegel re plan and sale issues and
                         potential financing proposal (.2); telephone call J.      2.90    1,638.50
8/14/18     PJG     0055
                         Brown re upcoming hearings (.3); e-mail B. Rich and
                         J. Gusso re Glass Ratner deposition and document
                         production (.3); review documents produced for a sale
                         hearing (2.1).

8/14/18     PJG     0062 Telephone call A. Shapiro re status of discussions re     0.30    169.50
                         plan and sale issues (.3).

8/14/18      EM     0081 Draft July 2018 interim fee request.                      2.50    400.00
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  Date      Init     Task              Description of Work Performed                  Hours   Amount
                         Research and draft reply to Debtors' objection to Equity
                                                                                      3.10    1,581.00
8/15/18    JLRD     0060 Committee disclosure statement.

                         E-correspondence with P. Gurfein and J. deKoe
8/15/18    JLRD     0060 regarding administrative claims to be paid under             0.20    102.00
                         proposed Equity Committee Plan.
                         Conference with P. Gurfein regarding reply to Debtors'
8/15/18    JLRD     0060 objection to Equity Committee's disclosure statement.        0.20    102.00
                         E-correspondence with P. Gurfein regarding disclosure
                                                                                      0.40    204.00
8/15/18    JLRD     0060 agreed to by NOAA regarding sale of artifacts for
                         inclusion in amended disclosure statement and review
                         same.
                         Review and revise subpoena and notice of deposition
                         for Glass Ratner (.2) draft outline for sale opposition      4.40    2,486.00
8/15/18    PJG      0055 (1.1); review documents produced by debtor in
                         connection with sale hearing (3.1).

                         Telephone call S. Fox re Cedar Bay and plan issues
                         (.3); draft insert to response to objections to disclosure
                         statement re insider issues (2.1); confer with J. Dalberg
8/15/18    PJG      0060 re response to objections to disclosure statement (.5);      4.60    2,599.00
                         telephone call A. Ettinger re potential declaration in
                         support of plan (.3); review artifact auction schedule
                         (.2); telephone call S. Fox re follow-up to plan
                         discussions (.2); work on motion to intervene (1).

8/16/18    JLRD     0060 Draft reply to Debtors' objection to Equity Committee's      5.90    3,009.00
                         disclosure statement.

8/16/18    JLRD     0060 E-correspondence with J. deKoe regarding projections,        0.10     51.00
                         estimate of administrative claims.

8/16/18    PJG      0055 Telephone call J. Chubak re case administration and          6.30    3,559.50
                         sale issues (.3); research bidder protections re sale
                         opposition (2.1); review document production from
                         debtors and Bao (2.4); email exchange S. Grossman re
                         variances and bid procedures (.3); work on analysis of
                         insider status of participants in asset purchase
                         agreement (1.2).
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  Date      Init     Task              Description of Work Performed                Hours   Amount
                         E-correspondence with P. Gurfein regarding reply to
                                                                                    0.10     51.00
8/17/18    JLRD     0060 Debtors' objection to Equity Committee's disclosure
                         statement.
8/17/18    JLRD     0060 Research and draft reply to Debtors' objection to Equity   5.50    2,805.00
                         Committee's disclosure statement.

8/18/18    PJG      0060 Draft response to objections to disclosure statement.      1.80    1,017.00

8/18/18    PJG      0055 Draft objection to sale motion bid procedures (1.8); e-    2.00    1,130.00
                         mail J. Brown re case and hearing status (.2).


8/19/18    JLRD     0060 E-correspondence with P. Gurfein regarding reply to        0.20    102.00
                         Debtors' objection to disclosure statement and review
                         his comments with respect to same.

8/19/18    PJG      0062 Memo to committee re case status (1.4).                    1.40    791.00

8/19/18    PJG      0055 Draft opposition to bid procedures (1.4).                  1.40    791.00

                         Telephone call with A. Ettinger re auction issues (.3);
8/19/18    PJG      0060 draft response to objection to disclosure statement        2.40    1,356.00
                         (2.1).
                         E-correspondence with P. Gurfein and J. Brown
8/20/18    JLRD     0060 regarding objections to Debtors' bid procedures motion.    0.10     51.00

8/20/18    JLRD     0060 Review status memo from P. Gurfein in connection with      0.20    102.00
                         reply to Debtors' objection to disclosure statement and
                         amendments to plan.
8/20/18    JLRD     0060 E-correspondence with J. Brown and P. Gurfein              0.10     51.00
                         regarding opposition to bid procedures motion.

8/20/18    JLRD     0060 Research regarding Equity Committee's objection to bid     0.70    357.00
                         procedures motion, draft insert in connection with
                         same.

8/20/18    PJG      0062 Memo to committee re case status (1.3).                    1.30    734.50
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  Date      Init     Task              Description of Work Performed                  Hours   Amount
                         Review recent pleadings and periodic reports filed in
                                                                                      1.50    847.50
8/20/18    PJG      0060 Norfolk district court (.9); prep for hearing before judge
                         Smith on status conference (.6).
8/20/18    PJG      0455 Travel to Norfolk for District Court Status Conference       10.50   5,932.50
                         (10.5) (N/C).

                         E-correspondence with P. Gurfein and J. Brown
                         regarding reply to Debtors' objection to disclosure
8/21/18    JLRD     0060 statement, objection to Debtors' bid procedures motion,      0.20    102.00
                         revisions to plan and disclosure statement.
8/21/18    JLRD     0060 Review edits to draft reply to Debtors' objection to         0.50    255.00
                         Equity Committee's disclosure statement and e-
                         correspondence with J. Brown and P. Gurfein regarding
                         same.

8/21/18    JLRD     0060 Draft Amended Plan.                                          2.10    1,071.00

8/21/18    JLRD     0060 Draft Amended Disclosure Statement.                          4.10    2,091.00

8/21/18    PJG      0060 Attend status conference hearing before Judge Smith in       3.00    1,695.00
                         Eastern District of Virginia (1.7); confer with National
                         Maritime Museum counsel and Dr. K. Fewster re plan
                         and sale issues (1.3).

8/21/18    PJG      0455 Travel time from Norfolk (11.5) (N/C).                       11.50   6,497.50

8/21/18    PJG      0055 Review documents produced by GlassRatner re sale             2.70    1,525.00
                         and bid protections (2.7).

8/22/18    JLRD     0060 E-correspondence with P. Gurfein and J. Brown                0.20    102.00
                         regarding revisions to Amended Plan and Disclosure
                         Statement, etc.

8/22/18    JLRD     0060 Revise reply to objection to Equity Committee                0.30    153.00
                         disclosure statement to conform with amended plan
                         and amended disclosure statement.

8/22/18    JLRD     0060 Revise Amended Disclosure Statement to conform with          0.30    153.00
                         Amended Plan.

8/22/18    JLRD     0060 Revise Amended Plan.                                         0.20    102.00
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  Date      Init    Task             Description of Work Performed                  Hours   Amount
                         Review e-mail from P. Gurfein regarding status of          0.10     51.10
8/22/18    JLRD     0060 negotiations with Committee, landlord.

                         Review e-mail from P. Gurfein regarding response to
                         discovery requests: GlassRatner's role in formation of
8/22/18    JLRD     0060 Alta/PacBridge stalking horse bid group.                   0.10     51.10


8/22/18    JLRD     0060 Review P. Gurfein's comments to reply to objection to      0.20     102.00
                         Equity Committee's disclosure statement.

8/22/18    JLRD     0060 Review comments from P. Gurfein to Amended                 0.20     102.00
                         Disclosure Statement.

8/22/18    JLRD     0060 Review P. Gurfein's comments to bid procedures             0.30     153.00
                         opposition.

8/22/18    JLRD     0060 Telephone conference with P. Gurfein and J. Brown          0.60     306.00
                         regarding amended plan and disclosure statement,
                         reply to Debtors' objection to disclosure statement and
                         opposition to bid procedures motion.

8/22/18    JLRD     0060 E-correspondence with J. Brown regarding comments          0.30     153.00
                         to opposition to Debtors' bid procedures motion.

8/22/18    JLRD     0060 Review revised objection to Debtors' bid procedures        0.50     255.00
                         motion and edit same.

8/22/18    JLRD     0060 E-correspondence with J. Brown regarding edits to          0.10     51.00
                         reply to Debtors' objection to disclosure statement.

8/22/18    JLRD     0060 Review revised objection to Debtors' bid procedures        0.40     204.00
                         motion.
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  Date      Init     Task              Description of Work Performed                Hours   Amount
                         Review and revise amended plan (1.1); review and           4.60    2,599.00
8/22/18    PJG      0060 revise amended disclosure statement (1.1); further draft
                         of response to objection to disclosure statement (1);
                         confer with J. Brown and J. Dalberg re plan and
                         disclosure statement responses (.2); telephone call H.
                         Siegel re upcoming hearing (.1); telephone call A.
                         Ettinger re the further declaration (.6); e-mail
                         exchanges with J. deKoe, B. Murphy re disclosure
                         statement and liquidation analysis (.5).

8/22/18    PJG      0055 Prepare for Marshall Glade deposition (2.8); organize      6.00    3,390.00
                         files and documents for use at deposition (1.4); email
                         M. Brooks re seller’s disclosure letter (.2); review and
                         revise opposition to sale (1.6).
8/23/18    JLRD     0060 Review e-mail memo from A. Shapiro regarding plan          0.20    102.00
                         negotiations and strategy.

8/23/18    JLRD     0060 Review e-mail on case status from P. Gurfein and           0.20    102.00
                         responses thereto from Equity Committee members.

                         Memo to committee re Norfolk hearing and upcoming
                         deposition and sale and plan issues (1.2); telephone
                         call J. Brown re upcoming hearings (.1); email             3.60    2,034.00
8/23/18     PJG     0055 exchange with J. Gusso and B. Rich re GlassRatner
                         deposition (.2); prepare for GlassRatner deposition
                         (2.1).

8/23/18     PJG     0455 Travel time to Atlanta (10) (N/C).                         10.00   5,650.00


8/24/18    PJG      0055 Prep for deposition of Marshall Glade (2); depose
                         Marshall Glade (4.5), telephone call J. Brown re recap     6.70    3,785.50
                         of Marshall Glade deposition (.2).

8/23/18     PJG     0455 Travel time from Atlanta (11.5) (N/C).                     11.50   6,497.50

8/25/18    JLRD     0060 E-correspondence with P. Gurfein regarding edits to        0.20    102.00
                         objection to Debtors' bid procedures motion.

8/25/18    PJG      0055 Review ASCII transcript of Marshall Glade                  3.20    1,808.00
                         examination (.8); draft excerpts from deposition for
                         insert into sale motion and bid procedures objection
                         (2.4).
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  Date      Init     Task             Description of Work Performed                Hours   Amount
                         E-correspondence with P. Gurfein and Equity               0.20    102.00
8/26/18    JLRD     0060 Committee members regarding update on negotiations
                         and request for authority.
8/26/18    JLRD     0060 Review e-mail and edits to objection to bid procedures    0.30    153.00
                         motion received from P. Gurfein.

8/26/18    JLRD     0060 Review e-mail from P. Gurfein and edits to amended        0.40    204.00
                         plan and disclosure statement.
8/26/18    JLRD     0060 E-correspondence with P. Gurfein and J. Brown             0.20    102.00
                         regarding plan negotiations.
                         Work on the draft amended disclosure statement and
                         amended plan (2.4); further draft of response to
8/26/18    PJG      0060 objections to disclosure statement (1.8).                 4.20    2,373.00


8/26/18    PJG      0055 Work on opposition to sale motion bid procedures (1.6).   1.60    904.00

8/27/18    JLRD     0060 Work with P. Gurfein and Akerman firm to finalize         4.20    2,142.00
                         Amended Plan, Amended Disclosure Statement,
                         objection to bid procedures motion, reply to Debtors'
                         objection to Equity Committee's disclosure statement.

8/27/18    JLRD     0060 Revise reply to objection to disclosure statement to      0.20    102.00
                         conform with changes to Amended Plan and Disclosure
                         Statement.

8/27/18    JLRD     0060 Revise Amended Disclosure Statement.                      0.30    153.00

8/27/18    JLRD     0060 Revise Amended Plan to incorporate developments in        0.30    153.00
                         plan negotiations.

8/27/18    JLRD     0060 Conference with P. Gurfein regarding edits to amended     0.20    102.00
                         plan and disclosure statement.

8/27/18    JLRD     0060 E-correspondence with P. Gurfein regarding his edits to   0.10     51.00
                         Amended Plan and Disclosure Statement.




                             
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  Date      Init     Task              Description of Work Performed                  Hours   Amount
                         Review and revise opposition to sale and bid                 2.70    1,525.50
8/27/18    PJG      0055 protections motion (1); confer with J. Brown and J.
                         Meehan re filing of opposition and hearing issues (.1);
                         review M. Glade deposition official transcript (.5); work
                         on inserts to opposition to bid procedures order from
                         Marshall Glade transcript (.5); review additional
                         documents produced by GlassRatner in connection
                         with sale motion discovery (.2); final revisions to
                         opposition to sale (.4).

8/27/18    PJG      0062 Email memo to committee re perspective plan revisions        1.30    734.50
                         (.8); Email exchange with committee members
                         regarding inquiries with respect to plan and disclosure
                         statement amendments (.3); email sale opposition to
                         committee members (.2).
8/27/18    PJG      0060 Telephone call with A. Ettinger re auction issues,           4.40    2,486.00
                         disclosure statement hearing, and declaration for
                         disclosure statement hearing (1); telephone calls
                         Jeremy deKoe re liquidation analysis (.2); review and
                         revise amended plan (1); review and revise amended
                         disclosure statement (.6); confer with J. deKoe re
                         further revisions to liquidation analysis (.4); telephone
                         call H. Siegel re plan amendments (.1); telephone call
                         J. Chubak re plan and disclosure statement
                         amendments (.2); work on response to debtors’
                         objection to disclosure statement (.9).

8/28/18    JLRD     0060 E-correspondence regarding Amended Disclosure                0.80    408.00
                         Statement, Amended Plan and related pleadings,
                         including declaration of A. Ettinger, with P. Gurfein, J.
                         deKoe, J. Brown and K. Fackler.

8/28/18    PJG      0455    Travel time to Jacksonville (11.5) (N/C).                 11.50   6,497.50

8/28/18    PJG      0055 Review J. Feldsher declaration filed in reply to objection   0.20    113.00
                         to sale motion (.2).
                         Further refinements to liquidation analysis and edits to
                         footnotes to same (.6); confer with Teneo and Lincoln
                         re variables for liquidation analysis (.5); telephone call
                         with A. Ettinger re potential changes to auction
                                                                                      3.20    1,808.00
8/28/18    PJG      0060 procedure (.3); confer with B. Murphy and J. deKoe re
                         refined liquidation analysis and related disclosures in
                         footnotes (.6); finalize comments to amended
                         disclosure statement (.6); draft A Ettinger declaration
                         (.4); confer with A Ettinger re revisions to declaration
                         (.1); finalize A Ettinger declaration and forward for
                         execution (.1).
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  Date      Init     Task               Description of Work Performed                  Hours   Amount
                         E-correspondence with P. Gurfein regarding draft              0.10     51.00
8/29/18    JLRD     0060 ballots.

8/29/18    JLRD     0060 Draft ballot for equity interests.                            0.40     204.00

8/29/18    JLRD     0060 Draft ballots for unsecured creditors entitled to vote.       0.40     204.00

8/29/18    JLRD     0060 E-correspondence with P. Gurfein regarding ballots to         0.20     102.00
                         accompany Amended Disclosure Statement.

                         E-mail committee responding to inquiries by committee         1.30     734.50
8/29/18    PJG      0062 members re district court hearing (.3); memo to
                         committee re status of plan and sale issues (1).
                         Organize pleadings, exhibits, and argument outline for
                         hearing on disclosure statements and bid procedures
                         (2.2); e-mail J .Brown re employee issues under plan
                         (.1); confer with J. Brown and C. Laquidare re district
                         court intervention motion (.4); confer with T. Graulich re
                         equity committee amended plan (.2); confer with J.
                         deKoe re updated comparison schedule of distributions
                         (.3); telephone call J. Chubak re museum plan issues
8/29/18    PJG      0060 (.2); work on from of solicitation ballot for plans (.4);
                                                                                       5.90    3,333.50
                         confer with H. Siegel re amended equity committee
                         plan (.1); review creditors committee amended plan and
                         creditors committee amended disclosure statement (.7);
                         e-mail T. Graulich and J. Chubak re description of
                         equity committee plan in creditors committee disclosure
                         statement (.2); meeting with J. Burnett responding to
                         inquiries re equity committee plan (1); meeting with A.
                         Ettinger re auction sale issues (.1).

8/30/18    JLRD     0060 Research regarding [issue of acceptance of plan by            0.80     408.00
                         equity for cramdown purposes].

8/30/18    JLRD     0060 Telephone conference with P. Gurfein regarding                0.20     102.00
                         acceptance of plan by equity.

8/30/18    JLRD     0060 Draft insert to Creditors Committee disclosure                0.50     255.00
                         statement to correct disclosures relating to exit
                         financing for Equity Committee's Amended Plan.
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  Date      Init     Task             Description of Work Performed                 Hours    Amount
                         E-correspondence with P. Gurfein regarding Unsecured       0.20      102.00
8/30/18    JLRD     0060 Creditors Committee's agreement to correct portion of
                         its disclosure statement dealing with exit financing for
                         Equity Committee's Amended Plan.

8/30/18    PJG      0062 Email and text messaging to A. Shapiro re stalking         0.20      113.00
                         horse group offer of settlement (.2).

8/30/18    PJG      0060 Review unsecured creditor committee redline of             0.80      452.00
                         disclosure statement (.4); confer with J. Dalberg re
                         revisions to unsecured creditors committee disclosure
                         statement (.2); e-mail Museum’s counsel re order
                         approving disclosure statements (.2).

8/30/18    PJG      0055 Prep for hearing on sale motion and disclosure             8.90     5,028.50
                         statements (1.4); prep for witness examination and
                         cross examination (.8); organize exhibits for use at
                         hearing (.6); review omnibus reply of debtors to
                         disclosure statement and sale opposition (1); confer
                         with J Brown re hearing strategy (.1); telephone call J
                         Feldsher and S Grossman re proposed settlement of
                         sale and plan issues (.2); attend hearing, argue, and
                         cross examine witnesses re disclosure statements and
                         sale bid procedures (4.7); confer with museum counsel
                         re plan and sale issues (.1).

                         Review opposition to intervention motion filed by          0.70      395.50
8/31/18    PJG      0060 debtors and by DOJ (.6); Email exchange J. Neary re
                         motions to intervene (.1).
                         Memo to committee re August 30 hearing and related         1.80     1,017.00
8/31/18    PJG
                    0062 matters (1.8).



                                                                       Totals       193.00   $105,354.10
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TIMEKEEPER TIME SUMMARY THROUGH 8/31/18

 Initials              Name          Hours              Rate      Amount
   PJG                 Gurfein       141.80            565.00    $80,117.00
  JLRD                 Dalberg       48.70             510.00    $24,837.10
   EM                   Meza          2.50             160.00      $400.00
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 FOR COSTS AND EXPENSES INCURRED THROUGH 8/31/18

 Date       Description                                                                    Amount
8/20/13     Travel: Airfare – District Court Status Conference Hearing in Norfolk, VA.     $823.59

8/23/18     Mailed deposition materials to GlassRatner in Atlanta, GA for deposition       $237.50
            of Marshall Glade to be held on August 24, 2018.

8/23/18     Travel: Airfare and Hotel – Deposition of Marshall Glade in Atlanta, GA.       $757.59

8/24/18     Veritext Legal Solutions; Invoice # FLA3458516.                              $1,734.00

8/28/18     Travel: Airfare and Hotel – Disclosure Statement Hearing in Jacksonville, FL. $991.76

8/31/18     JND Corporate Restructuring (Invoice No. 2574 – August services).             $200.20



                                                            Total Costs & Expenses:      $4,744.64
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Premier Exhibitions, Inc.
RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 8/31/18

                                                                               Hours     Amount
           0055             Asset Disposition                                   64.40    36,386.00

           0060             Chapter 11 Plan                                     106.40   57,437.60

           0062             Committee Communications                            16.50     9,322.50

           0065             Employment & Fee Application                         2.20     1,243.00

           0081             Case Administration                                  3.50      965.00

           0455             Travel                                              55.00    31,075.00
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Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
                                                                   Berger LLP
lgbfirm.com

Billing Inquiries:                                                                       Payment Remittance Address
310-557-0050
                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                        10/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 9/30/18                                       $28,602.50

         Costs and Expenses Through 9/30/18                                                              $122.22
                                                              Total Amount of This Invoice             $28,724.72
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date      Init.    Task               Description of Work Performed                  Hours   Amount
                            Research confirmation issues (.6); draft further
 9/2/18     PJG     0060    amendment to Plan and Disclosure Statement                 1.70    960.50
                            consistent with oral modifications made at hearing
                            (1.1).
                            Further comments and revisions to liquidation analysis
                            (.4); email A. Ettinger re: potential purchasers for
                            assets (.1); review and revise Notice of Errata re: plan
                            and disclosure statement (.3); confer with J. Neary re:
 9/3/18     PJG     0065    withdrawal of Intervention motion (.1); review             1.50    847.50
                            oppositions to Intervention Motion (.5); email to B.
                            Wainger, R. McFarland, K. Porter, re: withdrawal of
                            Intervention Motion (.1).


                            Draft minutes from prior Committee call (.8); draft
 9/3/18     PJG     0062    agenda for Committee Call (.2); email Committee re:        1.40    791.00
                            Committee Call and developments in case (.4).


 9/3/18     PJG     0062    Email memo to Committee re: plan issues and agenda         0.80    452.00
                            for Committee call.

                            Email B. Murphy, J. deKoe re: amendment to Plan and
 9/3/18     PJG     0060    revised liquidation analysis (.2); review and comment      0.50    282.50
                            on revised liquidation analysis (.3).


 9/3/18     PJG     0060    Email exchange J. Neary re: intervention motion.           0.10     56.50

                            E-correspondence with P. Gurfein and J. Brown
 9/4/18     JLRD    0060    regarding draft notice of errata.                          0.10     51.00

                            Review draft notice of errata to Equity Committee's
 9/4/18     JLRD    0060    Disclosure statement (treatment of general unsecured       0.20    102.00
                            claims).


 9/4/18     JLRD    0060    E-correspondence with P. Gurfein regarding revised         0.20    102.00
                            liquidation analysis.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date      Init.    Task               Description of Work Performed                  Hours   Amount
 9/4/18     JLRD    0060    Review revised liquidation analysis.                       0.20    102.00

 9/5/18     JLRD    0060    Conference call with P. Gurfein, members of the Equity     0.90    459.00
                            Committee and J. Brown regarding status of case.

                            Prepare for Committee call (.6); attend Committee Call
                            (1.5); follow-up emails with Committee members re:         2.40    1,356.00
 9/5/18     PJG     0062
                            plan and related case dispositive issues (.3).

 9/5/18     PJG     0060    Research re: impairment under EC Plan (.8); draft          1.30    734.50
                            memo re: research results re: impairment (.5).

                            Review notice of withdrawal of Equity Committee's
                                                                                       0.30    153.00
 9/6/18     JLRD    0060    motion to intervene in admiralty court and related e-
                            correspondence.

                            Email exchanges J. Henshall and R. Charbonneau re:         0.10     56.50
 9/6/18     PJG     0070
                            resolution of EC v. Sellers.

                            Review and finalize Notice of Withdrawal of
 9/6/18     PJG     0060    Intervention Motion (.3); review transcript of August 30   0.90    508.50
                            hearing (.6).

 9/9/18     JLRD    0060    Telephone conference with P. Gurfein, J. Brown, J.         0.50    255.00
                            Meehan regarding pleadings.


                         E-correspondence with P. Gurfein, S. Fox and J. Brown
 9/11/18    JLRD    0060 regarding bankruptcy court's ruling on sale motion and        0.20    102.00
                         approval of Equity Committee's disclosure statement.



                         Conference with P. Gurfein regarding bankruptcy
                         court's order denying approval of Equity Committee's          0.20    102.00
 9/11/18    JLRD    0060
                         disclosure statement, etc.

                         Review bankruptcy court order denying approval of
                         Equity Committee's Disclosure Statement and                   0.30    153.00
 9/11/18    JLRD    0060
                         approving Debtors' sale.

                            Email to Committee re: Court's ruling on disclosure        0.10     56.50
 9/11/18    PJG     0062
                            statements and sale and bid procedures.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date      Init.    Task              Description of Work Performed                   Hours    Amount
                            Review Court order re: sale and bid procedures and
                            disclosure statements (.2); research legal issues raised
                            by Court's September 11 ruling (1.6); confer with J.        2.10    1,186.50
 9/11/18    PJG     0060    Brown re: options for response to Court's ruling (.2);
                            email exchange S. Fox re: Court's ruling and plan and
                            sale issues (.1).

 9/12/18    JLRD    0060    E-correspondence with P. Gurfein regarding                  0.30    153.00
                            "cleansing" provisions in confidentiality agreement.


 9/12/18    JLRD    0060    Conference call with Committee members, J. Brown            1.00    510.00
                            and P. Gurfein.

                            E-correspondence with P. Gurfein regarding draft
                            memo to Equity Committee regarding options for              0.30    153.00
 9/12/18    JLRD    0060    Equity Committee going forward and e-
                            correspondence with P. Gurfein regarding same.

 9/12/18    JLRD    0060    Conference with P. Gurfein regarding strategy going         0.20    102.00
                            forward in light of bankruptcy court's decision.

                            E-correspondence with J. Brown regarding his analysis       0.20    102.00
 9/12/18    JLRD    0060    of strategic options going forward.


 9/12/18    PJG     0055    Email S. Cummings re: purchase of estate assets.            0.10     56.50

                         Memo to Committee re: Court's September 11 ruling on
                         disclosure statements and bid procedures and
                         implications on case (1.3); prepare for Committee Call
 9/12/18    PJG     0062                                                                3.20    1,808.00
                         (.4); Committee Call re: plan, sale, Court's September
                         11 ruling, case status, options for Committee (1.4);
                         email to Committee re: press reports of August 30
                         hearing (.1).

 9/13/18    PJG     0055 Email exchange I. Jacobs and J. Brown re: drafting             0.20    113.00
                         notice of sale process (.2).

                         E-correspondence with P. Gurfein, A. Shapiro, J. Heller        0.20    102.00
 9/14/18    JLRD    0060 and J. Brown regarding entered order from Judge
                         Glenn; strategy going forward and possible additional
                         causes of action.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date       Init.   Task               Description of Work Performed                  Hours   Amount
                            E-correspondence with J. Brown and P. Gurfein
9/14/18     JLRD     0060   regarding entered order by Judge Glenn.                    0.10     51.00

                            Email exchanges with Committee members re:
9/14/18     PJG      0062   response to Court's ruling and sale process claims.        0.40     226.00

                            Telephone call with S. Cummings re: potential; bid for
9/14/18     PJG      0055   assets.                                                    0.50     282.50

9/14/18     PJG      0055   Review and comment on draft notice re: sale process.       0.30     169.50


9/16/18     PJG      B151 Email exchange A. Shapiro re: responses to inquiries         0.20     113.00
                          from equity holders re: plan and sale process.

                            Review and draft revision to notice re: sale process
                            and auction (1.1); email exchanges with J. Brown, A.       1.20     678.00
9/16/18     PJG      0055   Shapiro, and I. Jacobs re: revisions to draft notice re:
                            sale (.1).


9/17/18      EM      0081   Draft August 2018 interim fee request.                     4.00     640.00

 9/17/18    PJG      0065 Review and edit time entries re: August time (1.1);          1.20    678.00
                          issue letter re: interim compensation (.1).


 9/17/18    PJG      0062 Memo to Committee re: notices on website, sale               0.60    339.00
                          process, and case status update.


 9/17/18    PJG      0081 Edit Committees' website re: notice of sale and auction      0.90    508.50
                          process (.3); draft additional insert to website re:
                          Court's ruling on plan and disclosure statement (.6).

 9/18/18    PJG      0055 Confer with Lincoln International re: contacting potential   0.30    169.50
                          bidders for auction (.2); email H. Winsberg re:
                          solicitation efforts for auction (.1).
 9/18/18    PJG      0062 Email memo to Committee re: research relating to             2.00    1,130.00
                          conversion of case to Chapter 7 (1.6); email Committee
                          re: publicizing sale and auction (.4).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date      Init.    Task              Description of Work Performed                    Hours   Amount
                            Email exchange Committee members re sale process
                            and contact results (.3); email exchange Lincoln
9/19/18     PJG     0055    International re: outreach with contacts for sale           0.50    282.50
                            process and report from Glass Ratner (.2).

                            Email exchanges with Committee members re:
9/20/18     PJG     0062    analysis of bankruptcy claims assessment (.5); email        0.80    452.00
                            Committee re: summary of case status and sale
                            support efforts (.3).

9/20/18     PJG     0070    Confer with R. Charbonneau re: Equity Committee v.          0.10     56.50
                            Sellers status conference.
9/20/18    PJG      0055    Telephone call S. Cummings re: interest in sale             1.80    1,017.00
                            process (.2); telephone call M. VanderLey re: sale
                            process and case background (.5); email M
                            VanderLey re: sale related pleadings (.2); email B.
                            Williams re: status of contacts re: sale process (.2);
                            review entered sale and bid procedures order (.7).

                            Review financials filed by Debtors (.4); confer with
9/21/18     PJG     0081    Teneo re: analysis of financials (.2).                      0.60    339.00

                            Email exchange B. Murphy re: status of sale process         0.20    113.00
9/21/18     PJG     0055    and contacts response to inquiries.

9/21/18     PJG     0062    Email memos to Committee re: case status and sale           0.40    226.00
                            issues (.4).

                            Memo to Committee re: status of Museum's interest
                            in sale process and District Court litigation (.4); email   0.60    339.00
9/22/18     PJG     0062
                            exchanges with Committee members re: Museum's
                            status (.2).

                            Telephone call J. McClammy re: status of Museum's           0.60    339.00
9/22/18     PJG     0055
                            interest in sale process and District Court litigation.

                            Email exchange S. Fox re: sale process (.1); confer         0.40    226.00
                            with Lincoln International re: Glass Ratner process
9/24/18     PJG     0055    (.1); review Glass Ratner Matrix re: sale contacts and
                            status (.2).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18
  Date      Init     Task              Description of Work Performed                  Hours   Amount
                         Email exchanges with R. Charbonneau re: status of
                                                                                      0.20    113.00
9/24/18    PJG      0070 adversary proceeding, discovery, and mediation.

                         Memo to Committee re: Equity Committee v. Sellers
9/24/18    PJG      0062 status conference and report from R. Charbonneau re:         0.40    226.00
                         next steps (.4).
                         Review proposed scheduling order re: EC v. Sellers et
9/25/18    PJG      0070 al. (.1); email exchanges R. Charbonneau re: status          0.30    169.50
                         conference and proposed schedule (.2).

                                                                                      1.00    565.00
                         Email memo to committee re: status conference in EC
                         v. Sellers et al. (.4); email exchange committee
9/25/18    PJG      0062 members re: sale process (.2); email memo to
                         Committee re: status of auction sale process and
                         potential bidders (.4).

                         Email exchange B. Murphy re: status of auction (.2);
                         email S. Fox re: status of sale process (.1); email          0.70    395.50
                         exchange S. Cummings re: potential bid for assets (.1);
9/25/18    PJG      0055 email exchange M. VanderLey re: potential bid for
                         assets (.1); email exchange Lincoln International and
                         Teneo re: potential bidders and related sale issues (.2).

                         Confer with Committee’s financial advisors re: potential
                         tax attributes of sale (.2); confer with J. Brown re: sale   0.60    339.00
9/26/18    PJG      0055 hearing and related pleadings (.3); confer with J.
                         Chubak re: sale hearing (.1).
9/27/18    JLRD     0060 Research regarding objection to Debtors' attempt to          1.00    510.00
                         dismiss RMST case.

9/27/18    JLRD     0060 Review proposed sale order filed by Debtors together         0.70    357.00
                         with original sale motion and Asset Purchase
                         agreement in connection with objection to Debtors'
                         attempt to obtain dismissal of the RMST case through
                         the sale order.

9/27/18    JLRD     0060 E-correspondence with P. Gurfein and J. deKoe                0.20    102.00
                         regarding objection to Debtors' attempt to obtain
                         dismissal of RMST case.

9/27/18    JLRD     0060 Telephone conference with P. Gurfein regarding               0.20    102.00
                         objection to Debtors' attempt to obtain dismissal of the
                         RMST case as part of sale order.
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Premier Exhibitions, Inc.
RMS Titanic, Inc.

FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 9/30/18

  Date      Init     Task              Description of Work Performed               Hours     Amount
                         Confer with A. Shapiro re: agenda topics for Committee
                                                                                    0.20     113.00
9/27/18    PJG      0062 call.

9/28/18    JLRD     0060 Draft objection to Debtors' sale order/dismissal of        2.20    1,122.00
                         RMST case without compliance with Section 1112.

9/28/18    JLRD     0060 Telephone conference with P. Gurfein regarding             0.20     102.00
                         objection to Debtors' sale order/dismissal of RMST
                         case.
9/28/18    JLRD     0060 E-correspondence with P. Gurfein regarding Section         0.30     153.00
                         1112; objection to Debtors' sale motion/order regarding
                         dismissal of RMST case.


9/28/18    JLRD     0060 Research regarding objection to Debtors' sale motion       2.60    1,326.00
                         and order.

                         Review and comment on proposed form of scheduling
9/28/18    PJG      0070 order for Equity Committee v. Sellers (.2); email          0.40     226.00
                         exchanges with R. Charbonneau re: prosecution of
                         Equity Committee v. Sellers (.2).

                         Review proposed form of order approving sale (.4);
9/28/18    PJG      0055 confer with J. Brown re: proposed form of sale order       1.40     791.00
                         (.2); confer with J. Dalberg re: proposed form of sale
                         order (.2); email exchange J. deKoe re: financials for
                         RMST (.2); review accounting of RMST as standalone
                         debtor in connection with dismissal of Chapter 11 case
                         per proposed sale order (.4).

                         Email exchange Committee members re: court
9/28/18    PJG      0062 scheduling order and status of case and adversary          0.30     169.50
                         proceeding.

                         Draft objection to Debtors' sale order/dismissal of
9/30/18    JLRD     0060 RMST case.                                                 2.80    1,428.00




                                                                        Totals     55.00   $28,602.50
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Premier Exhibitions, Inc.

RMS Titanic, Inc.


TIMEKEEPER TIME SUMMARY THROUGH 9/30/18

 Initials               Name         Hours             Rate      Amount
   PJG                 Gurfein       35.50            565.00    $20,057.50
  JLRD                Dalberg        15.50            510.00     $7,905.00
   EM                   Meza          4.00            160.00      $640.00
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                                                                       Landau Gottfried & Berger

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 Premier Exhibitions, Inc.
 RMS Titanic, Inc.


 FOR COSTS AND EXPENSES INCURRED THROUGH 9/30/18

 Date       Description                                                                Amount
9/30/18     JND Corporate Restructuring (Invoice No. 2612 – Sept. services).           $122.22



                                                            Total Costs & Expenses:    $122.22
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Premier Exhibitions, Inc.
RMS Titanic, Inc.



TIME SUMMARY BY PHASE AND TASK THROUGH 9/30/18

                                                                               Hours    Amount
           0055             Asset Disposition                                    8.80    4,972.00

           0060             Chapter 11 Plan                                     23.60   12,481.50

           0062             Committee Communications                            14.60    8,249.00

           0065             Employment & Fee Application                         1.20     678.00

           0070             Litigation                                           1.10     621.50

           0081             Case Administration                                  5.50    1,487.50

           B151             Communication with Equity Holders                    0.20     113.00
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Suite 700                                                          Landau Gottfried &
Los Angeles, Ca. 90067
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                                                                                         Landau Gottfried & Berger LLP
                                                                                         1801 Century Park East
                                                                                         Suite 700
                                                                                         Los Angeles, Ca. 90067



         Premier Exhibitions, Inc.                                 Invoice Date                        11/15/18
         Attn: Jessica Sanders, Vice President of Corporate        Submitted by                 Peter J. Gurfein
         Affairs                                                   Direct Dial                   310-691-7374
         3045 Kingston Court
         Suite I
         Norcross, GA 30071



         RE:     RMS Titanic, Inc.



         Fees for Professional Services Rendered Through 10/31/18                                      $25,121.00

         Costs and Expenses Through 10/31/18                                                           $1,975.46
                                                              Total Amount of This Invoice             $27,096.46
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18

  Date      Init.    Task               Description of Work Performed                   Hours   Amount
                            E-correspondence with P. Gurfein regarding edits to
 10/1/18    JLRD    0055    Equity Committee's objection to sale order.                 0.20    102.00

                            Review and revise draft motion from R. Charbonneau
                            re: discovery protocol re: discovery and preservation of
 10/1/18    PJG     0070    records in relation to sale motion (1.1); email exchange    1.30    734.50
                            R. Charbonneau re: discovery protocol (.2).

                            Research and analysis of [confidentiality agreement
                            and disbanding of Committee in response to
                            Committee members’ inquiry] (.8); Draft memo                2.00    1,130.00
 10/1/18    PJG     0062
                            responding to Committee members’ inquiries (.8);
                            email memo to Committee re: sale process update (.4).

                            Telephone call D. Simonds re: sale process, auction
                            schedule, status of debt and issues relating to bid
                            procedure (.4); email D. Simonds re: pleadings relating
                            to bid procedures (.1); telephone call B. Murphy re:
                            sale process, court schedule, and potential bidders
                            (.8); outline response to sale motion for October 18
                            hearing (1); telephone calls S. Fox re: Cedar Bay
 10/1/18    PJG     0055
                            participation in auction (.3); email exchange A. Ettinger   3.10    1,751.50
                            re: potential buyers of estate assets and
                            understanding of Court’s rulings re: sale process (.1);
                            review research re: [limited opposition to dismissal of
                            RMST case] (.3); email S. Fox re: bankruptcy sale (.1).


                            Review and finalize September time for interim fee
 10/2/18    PJG     0065    request (.3); issue interim fee request (.1).               0.40    226.00
                            Telephone call R. Moreno re: sale process and
                            potential bidding (.2); email exchanges with M.
                            VanderLey re: potential purchase options (.1); email
 10/2/18    PJG     0055    exchanges S. Fox re: auction (.2); emails exchanges         1.80    1,017.00
                            D. Simonds re: auction process (.2); review research
                            re: [dismissal issues and re: good faith] (1.1).

                            Prep for Committee call (.6); attend Committee call (.9);
                            follow-up emails with Committee members after call
 10/2/18    PJG     0062    (.1); email exchanges with Committee members                1.70    960.50
                            updating on sale process (.1).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18

  Date      Init.    Task               Description of Work Performed                   Hours   Amount
 10/3/18    JLRD    0055    Review draft reservation of rights and limited objection.   0.30    153.00



 10/3/18    JLRD    0055    E-correspondence with P. Gurfein regarding Equity           0.20    102.00
                            Committee's reservation of rights and limited objection
                            to sale order.
                            Review and revise motion to establish protocol for
                            preservation of assets in light of impending sale of        1.50    847.50
 10/3/18    PJG     0070    estate’s assets (1.4); confer with R. Charbonneau re:
                            hearing on protocol motion (.1).
                            Draft limited opposition and reservation of rights re:      3.20    1,808.00
 10/3/18    PJG     0055    sale to Stalking Horse Bidder (2.8); confer with J.
                            Dalberg and J. Brown re: draft reservation of rights and
                            limited opposition (.4).

                            E-correspondence with P. Gurfein and J. Brown
                                                                                        0.20    102.00
 10/4/18    JLRD    0055    regarding limited objection and review revisions to
                            same.
                            E-correspondence with P. Gurfein regarding status of
 10/4/18    JLRD    0055    potential rival bidders.                                    0.10     51.00

                            E-correspondence with P. Gurfein and J. Brown
 10/4/18    JLRD    0055    regarding 363(m) finding in proposed order.                 0.20    102.00

                            Review revised Equity Committee reservation of rights
 10/4/18    JLRD    0055    and limited objection.                                      0.20    102.00

                            E-correspondence with P. Gurfein regarding additional
 10/4/18    JLRD    0055    comments to Equity Committee's reservation of rights,       0.10     51.00
                            etc.
                         Confer with A. Shapiro re: status of sale process and
 10/4/18    PJG     0062 prospects for auction (.2).                                    0.20    113.00
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18

  Date      Init.    Task               Description of Work Performed                    Hours   Amount
                            Revise draft reservation of rights and limited opposition
                            (.8); telephone calls A. Ettinger re: potential purchaser
 10/4/18    PJG     0055    of assets (.2); telephone call with S. Fox re: sale          1.30    734.50
                            process (.2); confer with Committee financial advisors
                            re: status of sale (.1).
                            Email memo to Committee re: case status, pleadings
 10/5/18    PJG     0062    filed with court re: reservation of rights and limited       1.00    565.00
                            opposition to sale motion (.9); email to committee re:
                            no bids received for auction (.1).
                            Further additions to reservation of rights and limited
                            opposition to sale motion incorporating research and
                            exhibits (1.9); confer with K. Fackler re: research re:      2.70    1,525.50
 10/5/18    PJG     0055    [Code section 363(m)] (.2); finalize reservation of rights
                            and limited opposition to sale motion (.5); email from
                            M. Brooks re: no bids received for auction (.1).

                            Confer with Committee member T. Kraus re: sale
 10/7/18    PJG     0062    issues and Committee issues (.6).                            0.60    339.00
                            Review Notice of Cancelation of Auction etc. (.1); draft     0.30    169.50
 10/8/18    PJG     0055
                            notice for Committees’ website of cancellation of
                            auction (.2).

 10/9/18    PJG     0062    Email memo to Committee re: sale process.                    0.20    113.00
 10/9/18    PJG     0065    Review and revise draft invoice for September 2018           0.20    113.00
                            (.2).
 10/9/18    PJG     0055    Draft Notice for Committee website re: sale of assets        0.30    169.50
                            (.2); email exchange S. Fox re: sale process (.1).

                            Prep for Committee call (.4); Committee call (.6); email     1.30    734.50
10/10/18    PJG     0062
                            exchanges with Committee members re: case status
                            (.1); telephone call T. Kraus re: Case status (.2).

                            Email exchange J. Brown re: Court’s position on sale         0.40    226.00
10/11/18    PJG     0055    hearing process (.2); email Committee’s FAs re:
                            contacts with additional potential purchaser (.2).
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Premier Exhibitions, Inc.
RMS Titanic, Inc.


FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18

  Date       Init.   Task               Description of Work Performed                   Hours    Amount
                            Email exchange A. Shapiro re: responding to inquiries
                            from equity holders (.2); email memo to Committee re:        0.70    395.50
10/11/18    PJG      0062   Court’s direction respecting October 18 hearing (.3);
                            email exchange Committee members re: concerns
                            about Sale hearing process (.2).

10/15/18     EM      0081   Draft September 2018 interim fee request.                    2.50    400.00
                            Prep for Committee call (.4); Committee call (.8);
10/16/18    PJG      0062   respond to post-call inquiries from Committee                1.40    791.00
                            members (.2).
                            Telephone call R. Charbonneau re: claims detail and          0.10     56.50
10/16/18    PJG      0070   related issues.
                            Email exchange S. Fox re: sale of assets (.1); email         0.30    169.50
                            exchange B. Murphy re: NOL (.1) confer with J. Brown
10/16/18    PJG      0055
                            re: evidence submission at sale hearing (.1).

                            Review Sale Order re: potential impact on D&O claims
                            (.5); email memo re: concerns about sale order and
                            D&O claims to R. Charbonneau and J. Brown (.2);
                            draft proposed language to amend Sale Order (.3);            1.50    847.50
10/17/18    PJG      0070   email to H. Winsberg and M. Brooks re: amendment to
                            sale order (.2); review Debtors’ objection to Discovery
                            Protocol Motion (.2); email R. Charbonneau re:
                            objection to discovery protocol motion (.1).

                            Email exchanges with Committee re: utilization of
                            NOLs (.2); email memo to Committee re: District Court        0.40    226.00
10/17/18    PJG      0062
                            jurisdiction and sale hearing (.2).

                            Organize exhibits for sale hearing (.8); review Debtors’
                            reply to Equity Committee’s limited objection (.9);          3.60   2,034.00
                            prepare outline of argument for sale hearing (1.2);
10/17/18    PJG      0055   telephone call W. Sullivan re: potential value from
                            unused NOLs (.2); email Committee professionals re:
                            result of NOL analysis (.2); review research re: sale
                            issues (.3).

10/18/18    PJG      0062   Email A. Shapiro re: inquiry from equity holders re:         0.40    226.00
                            sale status (.1); email Committee re: results of sale
                            hearing (.3).
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18

  Date      Init.    Task               Description of Work Performed                Hours   Amount
                         Prep for sale hearing (.8); telephone call J. Brown re:
                         evidence at hearing (.1); attend sale hearing and argue
10/18/18    PJG     0055 for Equity Committee's interests (1.7); telephone call T.    2.80    1,582.00
                         Graulich re: Museum’s intention re: October 25 hearing
                         (.2).
                         Review proposed revision to sale order re: discovery
                         protocol and D&O claims (.2); email exchanges R.             0.40    226.00
10/18/18    PJG     0070 Charbonneau and J. Brown re: proposed revision to
                         sale order re: D&O claims (.2).
                         Email memo to Committee re: draft letter to Debtors re:
                         Confidentiality Agreement (.3); email exchange               0.40    226.00
10/19/18    PJG     0062 Committee members re: letter to Debtors re:
                         Confidentiality Agreement (.1).
                         Draft letter to Debtors re: Confidentiality Agreement and
                         Equity Committee interests in case (1); confer with J.
10/19/18   PJG      0081 Brown re: draft correspondence with Debtors re:              1.10    621.50
                         Confidentiality Agreement (.1).

                         Review entered order approving sale of substantially all
                         assets to Premier Acquisition Holdings LLC (.2); draft       0.50    282.50
10/19/18    PJG     0055
                         notice for website re: entry of sale order (.3).

                         Email exchange A. Shapiro re: website notice of entry
                         of sale order (.1); email exchange T. Kraus re:              0.30    169.50
10/19/18    PJG     0062 Confidentiality Agreement (.1); email to Committee re:
                         entry of sale order (.1).
                            Email exchange counsel to Museum re: upcoming             0.10     56.50
10/23/18    PJG     0055
                            District Court hearing on approval of sale of RMST
                            stock (.1).
                         Email memo to Committee re: sale issues, the
                         Museum’s position, and upcoming District Court               0.20    113.00
10/23/18    PJG     0062
                         hearing approving the sale of RMST stock (.2).

                         Email and telephone call (voicemail) to Debtors’
                                                                                      0.10     56.50
10/23/18    PJG     0062 counsel re: Confidentiality Agreement and liquidating
                         Chapter 11 plan (.1).
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Premier Exhibitions, Inc.
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 10/31/18
  Date      Init     Task             Description of Work Performed                 Hours    Amount
                         Review and markup proposed form of order re:
                         discovery protocol (.2); review D&O policies in
10/24/18 PJG        0070 response to inquiries from J. Martorella and forward
                         copies of policies to J. Martorella (.3).                  0.50     282.50

                         Email exchange A. Shapiro re: Committee notices re:
10/24/18 PJG        0062 sale hearing (.1).                                         0.10      56.50

                         Review periodic reports filed by Debtors and NOAA
                         report concerning pending sale hearing (.4); review        0.80     452.00
10/24/18 PJG        0055 hearing transcript of October 18 Bankruptcy Court sale
                         hearing (.4).
                         Draft minutes of October 16 Committee meeting (.4);
                                                                                    0.80     452.00
10/25/18 PJG        0062 email memo to Committee re: status of hearing before
                         Judge Smith re: approval of sale of RMST stock (.4).

                         Confer with Museum’s counsel re: sale hearing before
10/25/18 PJG        0055 Judge Smith (.1).                                          0.10      56.50

                         Confer with Museum’s counsel re: District Court sale
10/26/18 PJG        0055 hearing.                                                   0.40     226.00

10/26/18 PJG        0062 Memo to Committee re: District Court sale hearing.         0.80     452.00

                         Email exchange Committee members re: status of sale
                         and issues before District Court (.2); update Committee
10/29/18 PJG        0062 Dropbox with filings before Judge Smith and transcript     0.30     169.50
                         of October 25 hearing (.1).

10/29/18 PJG        0055 Review transcript of October 25 District Court hearing     0.70     395.50
                         before Judge Smith (.5); telephone call K. Porter re:
                         status of District Court sale motion and negotiations
                         among NOAA, Debtors, and Purchasing Group (.2).

10/31/18 PJG        0062 Confer with A. Shapiro re: response to equity holders      0.10      56.50
                         concerning D&O policy inquiries.
                                                                          Totals    46.40   $25,121.00
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Premier Exhibitions, Inc.

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TIMEKEEPER TIME SUMMARY THROUGH 10/31/18

 Initials               Name         Hours             Rate      Amount
   PJG                 Gurfein       42.40            565.00    $23,956.00
  JLRD                Dalberg         1.50            510.00      $765.00
   EM                   Meza          2.50            160.00      $400.00
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 Premier Exhibitions, Inc.
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 FOR COSTS AND EXPENSES INCURRED THROUGH 10/31/18

 Date        Description                                                                 Amount
07/24/18    Transportation re Claim Objection Hearing in Jacksonville, FL.               $11.74

08/10/18    Elevate Services, Inc. Subscription (Service Period 07-10-18 – 08-10-18)    $299.00
            re Troutman Discovery.

08/10/18    Elevate Services, Inc. Subscription (Service Period 08-10-18 – 09-10-18)    $299.00
            re Troutman Discovery.

08/20/18    Parking re Status Conference Hearing in Norfolk, VA.                          $76.78

08/21/18    Meals re Status Conference Hearing in Norfolk, VA.                           $118.10

08/24/18    Transportation re Glass Ratner Deposition in Atlanta, GA.                     $23.49

08/24/18    Parking re Glass Ratner Deposition in Atlanta, GA.                            $41.78

08/24/18    Meals re Glass Ratner Deposition in Atlanta, GA.                               $9.69

08/28/18    Parking re Disclosure Statement Hearing in Jacksonville, FL.                  $21.21

08/29/18    Transportation re Disclosure Statement Hearing in Jacksonville, FL.           $11.81

08/30/18    Transportation re Disclosure Statement Hearing in Jacksonville, FL.           $19.36

09/10/18    Elevate Services, Inc. Subscription (Service Period 09-10-18 – 10-10-18)     $299.00
            re Troutman Discovery.

10/10/18    Elevate Services, Inc. Subscription (Service Period 10-10-18 – 11-10-18)     $299.00
            re Troutman Discovery.

10/19/18    Court Call (ID No. 9377934) re Motion to Establish Document Retention         $58.00
            Protocols.

10/31/18    JND Corporate Restructuring (Invoice No. 2644 – Sept. services).             $387.50



                                                           Total Costs & Expenses:     $1,975.46
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Premier Exhibitions, Inc.
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TIME SUMMARY BY PHASE AND TASK THROUGH 10/31/18

                                                                               Hours    Amount
           0055             Asset Disposition                                   23.90   13,421.00

           0062             Committee Communications                            13.00    7,345.00

           0065             Employment & Fee Application                         0.60     339.00

           0070             Litigation                                           5.30    2,994.50

           0081             Case Administration                                  3.60    1,021.50
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                    EXHIBIT B
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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION
                                       www.flmb.uscourts.gov

In re:
                                                                     Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                    Chapter 11
           Debtors. 1
                                                 /                  (Jointly Administered)


                  ORDER ALLOWING COMPENSATION AND
       REIMBURSEMENT OF EXPENSES OF LANDAU GOTTFRIED & BERGER LLP

           THIS CASE is before the Court on the Fifth Application (the "Application") (Doc.                 )2 of

Landau Gottfried & Berger LLP ("LGB") for the allowance of compensation for services rendered

and reimbursement of expenses. The Court having reviewed the Application and there being no

objection after proper notice to interested parties pursuant to Local Bankruptcy Rule 2002-4 on

December 7, 2018, it is

           ORDERED:

           1.       The Application is approved.

           2.       LGB is allowed compensation of $547,492.10 for professional services rendered

and $16,615.92 for the reimbursement of expenses incurred during the period from January 1,

2018 through October 31, 2018.




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.

2
    Defined terms from the Application are incorporated herein.


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         3.    The Debtors are authorized and directed to pay LGB all fees and expenses allowed

by this Order and not previously paid.

         4.    All interim fees and expenses allowed by this Order are subject to review by

parties in interest and this Court. No determination is made at this time as to reasonableness of

the fees and on any pending objections to the Application. Fees and expenses awarded pursuant

to this Order may be subject to disgorgement.

         5.    This Order is without prejudice to the rights of LGB upon further application to

this Court to seek further allowance and payment of additional compensation and reimbursement

of expenses, including any such amounts incurred during this interim compensation period for

which approval has not previously been sought and denied.

        Dated: _________________, 2018, at Jacksonville, Florida.




                                            ______________________________
                                            Paul M. Glenn
                                            United States Bankruptcy Judge



Attorney Jacob A. Brown is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




{40172866;2}                                    2
